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                         Company Code          Loe/Dept           Number Page                       Earnings Statement
                         RA/46A22303671 011                       ~ 1 of1
                         Grill Enterprises LLC
                         1450 Brickell Ave Suite 2080                                               Period Starting:     01/03/2019
                         Miami, FL33131                                                             Period Ending:       01/16/2019
                                                                                                    Pay Date:            01/18/2019




                    Taxable Marital Status:       Single
                    Exemptions/Allowances:           Tax Override :                                             Erik Chavez
                         Federal:     o                 Federal:
                          State:      o                 State:                                                  2130 SW 122Ave
                          Local:      o                 Local :                                                 Miami, FL 33175
                    Social Security Number:       XXX-XX-XXXX


   Earnings                         rate      hours/units             this period    year to date           Other Benefl1s and
                                                                                                            Information                            this period       year to date
   Tipped hours               5.2300               71.60                   374.47        745.90
   Cash tips                                                                 0.00       1988.94             Tip Credit                                 231.27            460.66
   Cash Tips owed                                   0.00                  1955.67       1955.67             Total Hours Worked                          71.60            142.62

                     Gross Pay                                        $2,330.14      $4,690.51


                          Statute    Deductions                       this   riod    year to date
                          Federal Income                                  - 321.19       512.05
                          Social Security                                 - 144.47       290.81
                          Medicare                                          -33.78        68.01

                          Net Pay                                     n   s30.10




                                                                                                           Your federal taxable wages this period are $2,330.14




                                                                                                                                                             63-8655/2660
                     Grill Enterprises LLC
                     1450 Brickell Ave Suite 2080
                     Miami, FL 33131
                                                                                                    Payroll Check Number: 51413
                                                                                                    Pay Date:             01/18/2019


Pay to Ille
ordllrof                Erik Chavez
Thls amount
                                                                                                                                                        $1,830.70



 Citibank NA                         Erik Chavez
                                     2130 SW 122 Ave
                                     Miami, FL 33175
                                                                                                                                                                  EXHIBIT


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                     Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 2 of 128
                     Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 2 of 128




       Payroll Report                                                                                                                                           LOS PARRJLLEROS
       Parameters: 1/3/2019 04:00:00 AM#-1/1712019 04:00:00 AM                                                                                         Prmted: 1l1711.<n9 6:24:09AM
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               Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 3 of 128
               Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 3 of 128



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JOSE ROMERO            $  322.00               S        140.00 I $           40.00
JOSE HERNANDEZ                      $ 319.00                     $          175.00
IVAN t.locL (i.t~'\L                $   52.00 I$         1s.oo I s         .100.00 Is  36.00 I $ 45.oo
JAIME
                                                                  $         115.oo I S 57.oo
MIGUELNAVA                                                                           $ 45.00

GERARDO                $    81.00 $ 75.00 $              63.00    $        16s.so $ 40.15          s 20.00      s 447.6s    + ,s-5_ ,y-= a,z~~-....-
 MANUEL                $    59.00 $ 28.00 $              55.00    $         90.oo S s.oo                        s 240.00      l~. St>.
 GALLEGO               $    21.00 $ 28.00                                                                       $   49.00
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 4 of 128
Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 4 of 128


                                                                                             Declared    djysted Total TiQ.
 TSID        ~hif1 Start           Shift End                Hfil!Il      Rate      ~           Tips      Tips                  ~
                                     Shift/Break Total        126.48             $1,201.59        $.00      $.00        $.00      $.00
                                               Job Total      126.48             $1,201.S9        $.00      $.00        $.00      $.00
                                        Employee Total        126.48             $1,201.59        $.00      $.00        $.00      $.00
  CARRILLO, VANESSA                                        Payroll fD:
         Manager
          Shifts
 30139       1/3/2019 8:00:00 AM 1/3/2019 2:00:00 PM            6.00      $.00
 30139       1/3/2019 2:00:00 PM   1/3/2019 4:00:00 PM          2.00      $.00
             1/3/2019 8:00:00 AM 1/3/2019 4:00:00 PM            8.00                  $.00        $.00      $.00        $.00      $.00
 30197       1/5/2019 8:00:00 AM 1/5/2019 4:00:00 PM            8.00      $.00
             1/5/2019 8:00:00 AM 1/5/2019 4:00:00 PM            8.00                  $.00        $.00      $.00        $.00      $.00
 30237       1/7/2019 8:00:00 AM 117/2019 4:00:00 PM            8,00      $.00
             1/7/2019 8:00:00 AM 1/7/2019 4:00:00 PM            8.00                  $.00        $.00      $.00        $.00      $.00
 30285       l/9/2019 8:00:00 AM   l/9/2019 4:00:00 PM          8.00      $.00
             1/9/2019 8:00:00 AM 1/9/2019 4:00:00 PM            8.00                  $.00        $.00      $.00        $.00      $.00
 30339       l/11/2019 8:00:00     l/l 1/2019 4:00:00 PM        8.00      $.00
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 30389       l/13/2019 8:00:00     1/13/2019 4:00:00 PM         8.00      $.00
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 30428       1/15/2019 8:00:00     1/15/20 19 4:00:00 PM        8.00      $.00
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 30451       1/ 16/2019 4:00:00    1/17/20 19 4:00:00          24.00      $.00
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                                     Shift/Break Total         80.00                  $.00        $.00      $.00        $.00      $.00
                                               Job Total       80.00                  $.00        $.00      $.00        $.00      $.00
                                        Employee Total         80.00                  $.00        $.00      $.00        $.00      $.00
  CHAVEZ, ERIK                                             Payroll ID:
         Server
          Shifts
 30147       1/3/2019 10:31:25     1/3/20 I 9 5:36:40 PM        7.09     $1.00
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 30162       1/3/2019 5:36:42 PM   l/3/2019 10:55:53 PM         5.32     $1.00
             1/3/2019 5:36:42 PM 1/3/2019 10:55:53              S.32                $5.32         $.00   $139.32    $139.32    $892.30
                                 PM
 30177       1/4/2019 10:47:46   1/4/2019 5:07:38 PM            6.33     $1.00
             AM
             1/4/2019 10:47:46     1/4/2019 5:07:38 PM          6.33                $6.33        $.00    $333.03    $333.03 $1,594.1
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 30187       1/4/2019 5:07:40 PM   1/4/2019 10:51:39 PM         5.73     $1.00
             1/4/2019 5:07:40 PM t/4/2019 10:51 :39             S.73                $S.73        $.00    $239.07    $239.07 $1,243.5
                                 PM

             First Data                                                                                                  Page 9 of25
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 5 of 128
Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 5 of 128


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 I£ID           Shift Start            Shift E nd               H2l!..a.      Rate       fu          Tips             I.ms                   ~

 30206          1/5/201912:1 4: IOPM 1/5/2019 11:24:19 PM           11.17     $1.0 0
                1/5/2019 12:14:10      1/5/2019 11:24:19            11.17                $11.17         $,00          $274.30     $274.30 $1, 230.5
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 30321          1/10/2019 10:53:54     l/ 10/20195:30:21 PM          6 .6 1   $ 1.00
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 30332          l/ 10/20l95:30:24 PM l/10/20191 1:15:17              5.75     $1.00
                                     PM
                1/10/2019 5:30:24      1/10/2019 11:15:17            5.75                 $5.75          $.00          $83.08      $83.08    $511.73
                PM                     PM
 3 0347         1/ 11/2019 10:38:41    1/11/2019 7:46:09 PM          9.1 2    $1.00
                AM
                1/11/2019 10:38:41     1/11/2019 7:46:09             9.12                 $9.12          $.00         $547.23     $547.23 $2,631.7
                AM                   PM
 3 0361         1/11/2019 7:46:21 PM 1/11/2019 11:03:47              3.29     $1.00
                                     PM
                1/11/2019 7:46:21      1/11/2019 11:03:47            3.29                 $3.29          $.00         $232.87     $232.87 $1,073.6
                PM                     PM
 30378          1112/20 19 12:12:30    1/ 12/2019 I I :23:34        11.18      $ 1.00
                PM                     PM
                1/ 12/2019 12:12:30    l/12/201911:23:34            11.18                $11.18          $.00          $24.80      $24.80    $420.10
                PM                     PM
                                         Shift/Break Total          71.60                $71.60          $.00 $2,334.86          $2,334.86 $12,058.
                                                    Job Total       71.60                $71.60          $.00 $2,334.86          $2,334.86 $12,058.
                                            Employee Total          71.60                $71.60          $.00 /          '4.86   $2,334.86 $12,058.
  DIAZ, LEONEL                                                  Payroll TD:


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 30 412         1/ 14/2019 10:11:32    1/14/2019 11:00:46           12.82      $1 .0 0
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                AM                     PM
 3 0435         1/15/2019 10:40:42     1/1 5/2019 5:28:08 PM         6.79      $ 1.00
                AM
                1/ 15/2019 10:40:42    1/15/2019 5:28:08             6.79                 $6.79          $.00         $224.14     $224.14 $1,407.2
                AM                     PM
 3 04 43        1/15/2019 5:37:30 PM   1/15/2019 10:53:35            5.27     $1.0 0
                                       PM
                1/15/2019 5:37:30      1/15/2019 10:53:35            5.27                 $5.27          $.00         $215.89     $21?,89 $1,480.6
                PM                     PM
 3 0459         1/ 16/2019 10:56:36    1/16/2019 3:03:01 PM          4 .11     $ 1.0 0
                AM
                1/ 16/2019 10:56:36    1/16/2019 3:03 :01            4.11                 $4.11          $.00         $139.26     $139.26 $815.48
                AM                     PM
                                         Shift/Break Total          28.99                $28.99          $.00         $891.15     $891.1S $5,414.7
                                                    Job Total       28.99                $28.99          $.00         $891.15     $891.1S $5,414.7
                                            Employee Total          28.99                $28.99          $.00         $891.15     $891.15 $5,414.7
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 3 0 2 46       1/7/2019 10:32:03      1/7/2019 2:41:48 PM           4. 16     $ 1.00
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                ln/2019 10:32:03       ln/2019 2 :41:48 PM           4.16                 $4.16          $,00          $57.63      $57.63    $335.80
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                First Data                                                                                                            Page 10 of 25
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Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 6 of 128


                                                                                               Earnings Statement
                                                                                                                                                   ~
                       Company Code               Loe/Dept    Number Page
                       RAt 46A22303671            011         3013445 1 ot 1
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                            Period Slarting.        01/ 1712019
                       Miami, FL 33131                                                         Period Ending:          01/30/2019
                                                                                               Pay Date:               02/01/2019




                 Taxable Marital Slatus:       Single
                 Exemptions/Allowances:           Tax Override:                                            Erik Chavez
                      Federal:    0                  Federal:
                      State:      0                  State:                                                2130 SW 122Ave
                      Local:      0                  Local:                                                Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                       rate       hours/units             thispelliod   yeartodatv             Other Boneflti and
                                                                                                       lnfOll11ation                           this period      year Iodate
Tipped hours               5.2300                72 .55              379.44        1125.34
Cash tips                                                              0.00        1988.94             Tip Credit                                   234.34          695.00
Cash Tips owed                                   0.00               1794.00        3749.67             Total Hours Worked                            72. 55         215 .17

                  Gross Pay                                       $2,173 . 44   $6,863.95
                                                                                                       Deposits
                                                                                                       account number                         transiVABA            amount

                        Statutorx Deductions                      this ~riod    1ear lo date           XXXXXX0207                            xxxxxxxxx             1720. 46
                        Federal Income                              - 286.71        798.76
                        Social Security                             - 134. 7S       42S.S6
                        Medicare                                      -31.S2         99.S3

                        Net Pay                                   $1, 720 .46




                                                                                                      Your federal taxable wages this period are   $2,173.44




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                               Pay Date:                     02/01/2019



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                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
                                                                                        Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 7 of 128




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Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 7 of 128




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Payroll Report                                                                                                                                         LOS PARRILLEROS
Parameters: 1117/2019 04:00:00 AM#-1131/2019 04:00:00 AM                                                                                        Printed: 1/31/2019 5:05:52 AM
          Employee                Payroll ID Periods               Regular                 -       0ver11. . -            --      Tips
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       DISHWASHER                                                      $9.50    $1593.59
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           CastJo                AJeandro2'l-\ .?1; 1 f11Pe2.'38       $1.00     $82.38             1 .94     $2.91            $.00            $.00       $85.29           $..00

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  rl       Cmerware LLC.
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 9 of 128
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                                                                                            Declored   Adjusted Totot Tips
 I£.ID       ~ hift Start          Shift End                Hours        Rate     ~          Tips       Tips                 ~

 30754       1/28/2019 8:24:29     1/2812019 4:10:40 PM         7.77     $9.50
             AM
             1/28/2019 8:24:29     1/28/2019 4:10:40            7.77               $73.81       $.00        $.00      $.00     $.00
             AM                    PM
 30782       1/29/2019 8:34:24     1/29/2019 4:50:42 PM         8.27     $9.50
             AM
             1/29/2019 8:34:24     1/29/2019 4:50:42            8.27               $78.58       $.00        $.00      $.00     $.00
             AM                    PM
                                     Shift/Break Total         84.24              $800.25       $.00        $.00      $.00     $.00
                                               Job Total       84.24              $800.25       $.00        $.00      $.00     $.00
                                        Employee Total         84.24              $800.25       $.00        $.00      $.00     $.00
 CARRILLO, VANESSA                                         Payroll ID:
      Manager
          Shifts
 30484       1117/2019 8:00:00     1/17/2019 3:00:00 PM         7.00      $.00
            AM
            1/17/2019 8:00:00      1/17/2019 3:00:00            7.00                 $.00       $.00        $.00      $.00     $.00
            AM                     PM
 3054 1      1/19/2019 8:00:00     1/1 9/2019 3:00:00 PM        7.00      $.00
             AM
             1/19/2019 8:00:00     1/19/2019 3:00:00            7.00                 $.00       $.00        $.00      $.00     $.00
            AM                     PM
 30583       1/21/2019 8:00:00     1/21/20 19 3:00:00 PM        7.00      $.00
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             1/21/2019 8:00:00     1/21/2019 3 :00:00           7.00                 $.00       $.00        $.00      $.00     $.00
             AM                    PM
 30630       1/23/2019 8:00:00     1/23/2019 3:00:00 PM         7.00      $.00
            AM
            1/23/2019 8:00:00      1/23/2019 3:00:00            7.00                 $.00       $.00        $.00      $.00     $.00
            AM                     PM
 30683       1/25/2019 8:00:00     1/25/2019 3:00:00 PM         7.00      $.00
            AM
            1/25/2019 8:00:00      1/25/2019 3:00:00            7.00                 $.00       $.00        $.00      $.00     $.00
            AM                     PM
 30733       1/27/2019 8:00:00     1/27/201 9 3:00:00 PM        7.00      $.00
             AM
            1/27/2019 8:00:00      1/27/2019 3:00:00            7.00                 $.00       $.00        $.00      $.00     $.00
            AM                     PM
 30800       1/30/2019 4 :00:00    1/31/2019 4:00:00           24.00      $.00
             AM                    AM
            1/30/2019 4:00:00      1/31/2019 4:00:00           24.00                 $.00       $.00        $.00      $.00     $.00
            AM                     AM
                                     Shift/Break Total         66.00                 $.00       $.00        $.00      $.00     $.00
                                               Job Total       66.00                 $.00       $.00        $.00      $.00     $.00
                                        Employee Total         66.00                 $.00       $.00        $.00      $.00     $.00
 CHAVEZ, ERIK                                              Payroll ID:
      Server
       Shifts
 30492       1/17/2019 10:34 :42   1/17/20 I 9 10:29:58        11.92     $1.00
            AM                     PM
             1/17/2019 10:34:42    1/17/2019 10:29:58          11.92               $11.92       $.00    $376.47    $376.47 $2,320.2
            AM                     PM
 305 19     1/18/2019 10:46:40     1/18/2019 11:39:45          12.88     $ 1.00
            AM                     PM
             1/18/2019 10:46:40    1/18/201911:39:45           12.88               $12.88       $.00    $344.07    $344.07 $2,376.8

             First Data                                                                                                Page 9 of 26
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                                       128

                                                                                             Declared    AdjuU~d Total TigB
 nm         Shift Start             Shift End               H.2.l!ll      Rate      ~         Tips        Tips                  ~
            AM                      PM
 30543      1/19/2019 11:40:00      1/19/2019 11 :23:44         11.73     $1.00
            AM                      PM
             1/19/201911:40:00      1/19/2019 11:23:44          11.73               $11.73        $.00    $453.83     $453.83 $2,181.4
             AM                     PM
 30667       1/24/2019 II :06:37    1/24/2019 10:41:03          11 .57    $1.00
             AM                     PM
             1/2412019 ll:06:37     1/24/2019 10:41:03          11.57               $11.57        $.00     $500.71    $500.71 $2,763.6
             AM                     l'M
 30691       1/25/2019 10:35:03     1/26/2019 12:14:51          13.66     $1.00
             AM                     AM
             112512019 10:35:03     1/26/2019 12:14:51          13.66               $13.66        $.00     $820.85    $820.85 $3,472.5
             AM                     AM
 30720       1/26/2019 12:23:30     1/26/20 I 9 11:09:59        10.77     $1.00
             PM                     PM
             l /26/201912:23:30     1126/2019 11 :09:59         10.77               $10.77        $.00     $504.66    $S04.66 $2,967.5
             PM                     PM

                                      Shift/Break Total         72.55               $72.55        $.00 $3,000.59 $3,000.59 $16,082.
                                                Job Total       72.55               $72.55        $.00               $3,000.59 $16,082.

                                         Employee Total         72.55               $72.55        $.00               $3,000.59 $16,082.
  DIAZ, LEONEL                                              Payroll ID:




                                                                                                1        I 1-crt{
         Server
          Shifts                                                                                                          TfPJ
 30556       1119/2019 4:54:52 PM 1/19/2019 11:52:14             6.96      $ 1.00
                                    PM
             1/ 19/2019 4:S4:S2     1/ 19/2019 11:52:14          6.96                $6.96        $.00     $312.17    $312.17 $1,866.5
             PM                     PM
 30589       1/21/2019 10:07:24     1/21/2019 2:30:34 PM         4.39      $1.00
             AM
             1/21/2019 10:07:24     1121/2019 2:30:34            4.39                $4.39        $.00      $59.48     $59.48 $335.80
             AM                     PM
 30596       1/21/2019 2:30:43 PM 1/21/2019 5:46:33 PM           3.26      $1.00
             l/21/2019 2:30:43      1/21/2019 5:46:33            3.26                $3.26        $.00     $150.07    $150.07   $843.29
             PM                     PM
 30602       1/2 1/2019 5:54:58 PM 1/21/2019 10:47:12            4.87      $1.00
                                    PM
             1/U/2019 5:54:58       1/21/2019 10:47: 12          4.87                $4.87        $.00     $208.53    $208.53 $934.00
             PM                     PM
 306 15      1/22/2019 10:59: 10    1/22/2019 6:17:27 PM         7.30      $LOO
             AM
             1/22/201910:59:10      1/22/2019 6:17:27            7.30                $7.30        $.00     $187.38    $187.38 $1,032.3
             AM                     PM
 30625       1/22/2019 6:47:17 PM l/22/201911:05:39              4.31      $ 1.00
                                    PM
             1/22/ 2019 6:47:17     1/22/2019 11 :05:39          4.31                $4.31        $.00     $247.99    $247.99 $1,307.2
             PM                     PM
 30640       1/23/2019 I 0:48: 58   1/23/2019 2:41:46 PM         3.88      $ 1.00
             AM
             1/2312019 10:48:58     l /23/2019 2:41:46           3.88                $3.88        $.00      $56.60     $56.60   $386.90
             AM                   PM
 30725       1/26/2019 4:56:56 PM 1/26/2019 11 :22:38            6.43      $1.00
                                  PM
             l/26/2019 4:56:56      1/26/2019 11:22:38           6.43                $6.43        $.00     $212.20    $212.20 $1,786.4
             PM                     PM
 30758       1/28/2019 10:22:04     1/28/2019 2:42:55 PM         4.35      $1.00
             AM
             1/28/2019 10:22:04     1/28/2019 2:42:55            4.35                $4.35        $.00     $105.00    $105.00 $564.90
             AM                     PM

             First Data                                                                                                   Page 10 of 26
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                                       128
                      Company Code               Loe/Dept     Number Pa~                          Earnings Statement
                      RA/ 46A 22303671           017          3039850 1 o
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                                Period Starting:      01/31/2019
                                                                                                  Period Ending:        02/13/2019
                      Miami,   FL33131
                                                                                                  Pay Date:             02/15/2019




             Taxable Marital Status:           Single
             Exemptions/Allowances:               Tax Override:                                              Erik Chavez
                  Federal:    O                      Federal:
                   State:     0                      State:                                                  2130 SW 122 Ave
                  Local:      0                      Local:                                                  Miami, Fl 33175
             Social Security Number:           XXX-XX-XXXX


Earnings                       rate      hours/units              this peiriod    year to date            other Benefits and
Tipped hours              5.2300               71.18                 372.27          1497.61              Information                            lhis period     year to date
Cash tips                                                              0.00          1988.94              11p Credit                                 229.91          924.91
Cash 11ps owed                                  o.oo                1557. 40         5307.07              Total Hours Worked                           71.18         286.35

                 Gross Pay                                        $1,929 .67      $8 , 793 . 62
                                                                                                          Deposits
                                                                                                          account number                        transit/ASA          amount

                       Statuto!J( Deductions                      this l?;!riod   veartodate
                                                                                                          XXXXXX0207                            xxxxxxxxx           1548. 96
                       Federal Income                               -233.09          1031.8S
                       Social Security                              - 119.64          545. 20
                       Medicare                                       -27.98          127. 51

                       Net Pay                                    Sl,54S.96




                                                                                                         Your federal taxable wages this period are $1,929.67




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080
                 Miami, FL 33131
                                                                                                  Pay Date:                    02/15/2019



                 De    'led to the account                                                                                                                      amount
                 Checking DirectOeposit                                                                                                   xxxxxxxxx             1548.96




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 12 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 12 of
                                       128
     J
Payroll Report                                                                                                                                                                       LOS PARRILLEROS
P8f'8ffleters: 1/J1/1019 04:00:00 AM#2/141201P 04:00:00 AM                                                                                                                    Printed: 2114/201'1 P:37:48 AM
           Employee                  Payroll ID Pertoda _                                             'Regular     _            _    Overtime     _
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 13 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 13 of
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 14 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 14 of
                                       128

                                                                                             Di:clared   Adjusti:d T2t11I Tips
 '.I.S..m      Shift Start            Shift End                H.!!.lill    Rate    ~          Tips        I.iJll                Sfilll
                                           Employee Total          68.00              $.00        $.00         $.00       $.00      $.00
  CHAVEZ, ERIK                                                Payroll ID:
         Server
            Shifts
 30841         1/31/2019 10:57:17     1/31/2019 10:38:49           11.69    $1.00
               AM                     PM
              1/31/2019 10:57:17      1/31/2019 10:38:49           11.69            $11.69        $.00     $388.23     $388.23 $2,200.6
               AM                     PM
 30865         21112019 10:50:02      2/l/20191l:19:28 PM          12.49    $1.00
               AM
               21112019 10:50:02      211/201911:19:28             12.49            $12.49        $.00     $434.86     $434.86 $2,877.1
               AM                     PM
 30894         212/2019 I :07:26 PM   212/2019 11 :20:09 PM        10.21    $1.00
               2/212019 1:07:26 PM 212/2019 1J :20:09              10.21            $10.21        $.00     $232.42     $232.42 $1,936.6
                                      PM
 31009         21712019 10:55:53      217/2019 10:30:51 PM         11.58    $1.00
               AM
               217/2019 IO:SS:53      2nl2019 10:30:51             11.58            $11.58        $.00     $485.73     $485.73 $2,535.7
               AM                     PM
 31032         218/2019 10:32:16      2/8/2019 11:44:47 PM         13.21    $1.00
               AM
               21812019 10:32:16    2/8/2019 II :44:47             13.21            $13.21        $.00     $412.94     $4U.94 $2,649.0
               AM                   PM
 31064         2/9/2019 12:00:01 PM 2/9/2019 I 1:59:37 PM          11.99    $1.00
               2/9/2019 12:00:01      2/9/2019 11:59:37            11.99            $11.99        $.00     $166.82     $166.82 $1,195.6
               PM                     PM
                                        Shift/Break Total          71.18            $71.18        $.00   $2,121.00    $2,121.00 $13,394.
                                                  Job Total        71.18            $71.18        $.00   $2,1121.00   $2,121.00 $13,394.
                                           Employee Total          71.18            $71.18        $.00   $2,!121.00   $2,121.00 $13,394.
  DIAZ, LEONEL                                                Payroll ID:
         Server
            Shifts
 30898         212/2019 4:54:56 PM 2/2/2019 I I :05:47 PM            6.18   $1.00
               21212019 4:54:56 PM 212/2019 11 :05:47                6.18            $6.18        $.00     $169.60     $169.60 $1,328.8
                                      PM
 30934         2/4120 I 9 I 0:54:50   2/4/2019 2:22:16 PM            3.46   $1.00
               AM
               214/2019 10:54:50      2/4/2019 2:22:16 PM            3.46            $3.46        $.00      $84.S2      $84.52   $492.10
               AM
 30938         2/4120 I 9 2:22:54 PM 2/4/2019 4:48:48 PM             2.43   $1.00
               2/4/2019 2:22:54 PM 2/4/2019 4:48:48 PM               2.43            $2.43        $.00      $68.54      $68.54   $278.62
 30941         2/4/2019 4:50:41 PM    2/4/2019 8:56:21 PM           4.09    $1.00
               214/2019 4:50:41 PM 2/4/2019 8:56:21 PM               4.09            $4.09        $.00      $54.06      $54.06   $293.05
 30956         2/5/2019 10:38:25      2/5/2019 5:47:00 PM            7.14   $1.00
               AM
               2/5/2019 10:38:2S      2/5/2019 5:47:00 PM            7.14            $7.14        $.00     $350.06     $350.06 $1,829.1
              AM
 30966         2/5/2019 6:17:07 PM 2/5/2019 9:17:14 PM               3.00   $1.00
               2/5/2019 6:17:07 PM 2/5/2019 9:17: 14 PM             3.00             $3.00        $.00      $42.00      $42.00   $271.58
 30980        2/6/2019 10:44:55       2/6/20193:16:11 PM            4.52    $1.00
              AM
               2/6/2019 J0:44:S5      2/6/2019 3:16:11 PM            4.52            $4.52        $.00     $211.65     $211.65 $1,115.6
               AM

               First Data                                                                                                   Page 9 of 24
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                                       128
                       Company Code           Loe/Dept        Number ~                          Earnings Statement
                       RA/ 46A22303671 01/                    3067124 rofl
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                             Period Starting.     02/14/2019
                       Miami, FL33131                                                           Period Ending:       02/27/2019
                                                                                                Pay Date:            03/01/2019




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                             Erik Chavez
                       Federal :  0                  Federal:
                       State:     0                  State:                                                 2130 SW 122 Ave
                       Local:     0                  Local:                                                 Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                        rate       hours/units            this period    year to dale           Other Benefits and
Tlpped hours                5.4400               72.23               392 . 93       1890. 54            Information                            this   period     year to date
Cash tips                                                              0 . 00       1988.94             Tip Credit                                    218 .13       1143.04
Cash Tips owed                                   0 . 00             2064.39         7371. 46            Total Hours Worked                             72 .23        3S8.58

                  Gross Pay                                       $2,457.32      $11,250.94
                                                                                                        Deposits
                                                                                                        account number                        tranait/ABA            amount

                        Statutory Deductions                      lllisperiod    year to date           XXXXXX0207                            xxxxxxxxx             1920.16
                        Federal Income                              - 349.17        1381.02
                        Social Security                             - 152 . 36       697 . 56
                        Medicare                                      - 35.63        163 . 14

                        Net Pay                                   $1,920.16




                                                                                                       Yourfaderal taxable wages this period are   $2,457.32




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080                                                  Pay Date:                    03/01/2019
                  Miami, FL 33131




                  De    ited to the account                                                                                                                     amount
                  Checking Direct.Deposit                                                                                                                       1920.16




                                   Erik Chavez
                                   2130 SW 122Ave
                                   Miami, FL 33175
          Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 16 of 128
            Case 1:20-cv-22603-MGC
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                                           PM Document 65-7 Entered on FLSD Docket 08/23/2021 Page 16 of




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                                  Olnerware, Inc.                                                                                                                             Page 9 of26




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            Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 17 of 128
              Case 1:20-cv-22603-MGC Document 65-7 Entered on. FLSD Docket 08/23/2021
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                  AUGUSTO ERIK                MIGUELN. IDELFONSO LEONEL) JAIME
                                                                                         •
                                                                                                        MANUEL TOTAL
                   $   268.00    $    90.00    $   125.00    $           30.00       $   160.00 $ 30.00        $ 703.00
JOSE ROMERO        $   210.00                  $    70.00                            $   150.00    $     20.00                     S 450.00
JOSE HERNANDEZ     $   115.00    $ 365.00      $    60.00    $          110.00       $    50.00                       $   70.00    $   ff0.00
IVAN                             $ 90.00       $    70.00                                                                          $   160.00
JAIME                                                        $          125.00       $   110.00                                    S 235.00
MIGUEL NAVA                                                  $           25.00       $    20.00                                    $    45.00

GERARDO            $   tos.oo I $ 10s.oo I $        60.00   I$          65.oo    I$     200.00    I$    47.00
MANUEL
MARIAN~
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TOTAL              s   803.00    I s 755.00 I s                                          ~        I s 97.00 I s           10.00

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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 18 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 18 of
                                       128
                       Company Code          LOCIDept          Number        ~
                       RA/ 46A 22303671 01/                    3093160       for 1                  Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                 Period Starting:     02/28/2019
                       Miami, FL33131                                                               Period Ending:       03/13/2019
                                                                                                    Pay Date:            03/15/2019




                 Taxable Marital Status:        Single
                 Exemptions/Allowances:            Tax Override:                                                Erik Chavez
                      Federal:    o                   Federal:
                      State:      o                   State:                                                    2130 SW 122Ave
                      Local:      O                   Local:                                                    Miami, FL 33175
                 Social Security Number:        XXX-XX-XXXX

Earnings                       rate       hours/units              this period       year to date           Other Benefits and
Tipped hours                5 .4400             73.10                 397.66            2288.20             lnfonnatioo                            tllis period    year to date
Cash Ups                                                                0.00            1988.94             Tip Credit                                  220.76        1363. 80
Cash Tips owed                                   o.oo                1757.95            9129.41             Total Hours Worked                            73.10        431 .68

                  Gross Pay                                        S2,15S.61         $13,406.55
                                                                                                            Deposits
                                                                                                            account number                         transit/ASA         amount

                        Statutonr: Deductions                      this e!!riod      year to date
                                                                                                            XXXXXX0207                            xxxxxxxxx           1707. 92
                        Federal Income                               - 282.79           1663.81
                        Social Security                              -133.65             831.21
                        Medicare                                       - 31.25           194.39

                        Net Pay                                    Sl,707.92




                                                                                                           Your federal taxable wages this period are $2,155.61




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080                                                       Pay Date:
                 Miami, FL 33131
                                                                                                                                 03/15/2019




                  De   sited to the account
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                 Checking DirectDeposit                                                                                                     xxxxxxxxx             1707.92




                                  Erik Chavez
                                  2130 SW 122 Ave
                                  Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 19 of 128
  Case 1:20-cv-22603-MGC
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           31543           3/1/2019 10:36:25       3/112019 ll:OO:l7PM             12.40     $1.00
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           31575           31212019 12:08:16 PM 3/?/l019 ll:24:4SPM                11.28     Sl.00
                           3/2Jl019 ll:08:l6       312/201911:24:48                11.28
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           31684           3/1/2019 10:43:30       Jn/2019 3: 17:59 PM
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           316&9            Jn/2019 3:18:01 PM     Jn/2019 8:07:56 PM               4.83     Sl.00
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                            Olnerware, lnc.                                                                                                              Page 9 of24




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           31718           31!112019 3:26:59 PM    J/812019 6:56:27 PM              3.49     S l.00
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           31731           J/812019 6:56:40 PM     3/812019 11:JS:22 PM             4.31     SI.OD
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                                                                JobTolal          73.10               S73.10      S.00    $2,189.60             $1,1119,60    SU,795.
                                                         Employee Total           73.10               S73.J0      s.oo    $2,189.60             $2,)89.60     Sll,795.
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          31582           J/2/2019 5:14:20 PM     3/2/2019 11:26:57 PM             6.21     S1.00
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          31612           l/41201910:10:37        3/412019 10:24:53 PM            12.24     $1.00
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          31637           3/S/2019 10:36:14       3/5/2019 S:33:04 PM              6.95     SI.CO
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               Case 1:20-cv-22603-JG
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                                                                        Docket 08/23/2021Page 2020
                                                                                           Page  of of
                                                                                                    128
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                  AUGUSTO ERIK       MIGUELN.                                                 IDELFONSO          LEONEL JAIME            MANUEL TOTAL
C ESAR I          $ 124.00           $   115.00                                                $   240.00        $ 140.00                        S 619.00
JOSE ROMERO        $ 346.00          $   125.00                                                $   125.00        $ 100.00                              S 696.00
JOSE HERNANJ}EZ -           $ 400.00                                                           $   135.00        $   30.00                             S 565.00
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 21 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 21 of
                                       128
                       Company Code           Loe/Dept       Number Page                        Earnings Statement
                       RA/ 46A 22303671 01/                  3119538 1 of 1
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                             Period Starting:     03/14/2019
                       Miami, FL 33131                                                          Period Ending:       03/27/2019
                                                                                                Pay Date:            03/29/2019




                 Taxable Marital Status:      Single
                 Exemptions/Allowances:          Tax Override:                                              Erik Chavez
                       Federal:   o                 Federal:
                       State:     0                 State:                                                  2130 SW 122Ave
                       Local:     0                 Local:                                                  Miami, FL 33175
                 Social Security Number:      XXX-XX-XXXX



EaminQs                        rate       hours/units            this period    year to date            Other Benefits and
                                                                                                        Information                            this period     year to date
Tipped hours               5.4400              71.07                386.62         2674.82
Cash tips                                                             0.00         1988.94              Tip Credit                                 214.63         1578.43
Cash Tips owed                                   o.oo              1631.00        10760 . 41            Total Hours Worked                          71. 07         502 . 75

                  Gross Pay                                      $2,017.62      Sl5 ,424 . 17
                                                                                                        Deposits
                                                                                                        account number                        transit/ABA          amount

                        Statu~ Deductions                        this~riod       ear to date            XXXXXX0207                           xxxxxxxxx            1610.84
                        Federal Income                             - 252.43        1916.24
                        Social Security                            - 125 . 09       956 . 30
                        Medicare                                     - 29.26        223.65

                        Net Pay                                  Sl,610.84




                                                                                                       Your federal taxable wages this period are $2,017.62




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                Pay Date:                    03/29/2019



                  De   sited to the account                                                                                                                   amount
                  Checking DirectDeposit                                                                                                                      1610.84




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 22 of 128
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                                       128




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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 23 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page
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                                        Shift/Break Total          17.93               $170.33       S.00          s.oo ·        S.00·    S.00
                                                  Job Total                            $170.33       $.00          S.00          $.00     s.oo
                                          Employee Total                              Sl70.J3        $.00          $.00          S.00     $.00
 CASTRO, WILMER
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          Shifts
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 32129      3/25/2019 5:00:37 PM 3/2S/2019 11:07:37                6.12      $9.50
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                                                  Job Total                            $58.11       S.00         $.~           s.oo      S.00
                                          Employ. Total                               $511.11       S.00         S.00          $.00      S.00
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 31853    3/ 14/201910:23:14        3/14/201 9 10:49:35           12.44     $1.00
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 31881      3/IS/201910:47;54       3/JSf.20191 t :03:SI          12.27     $1.00
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 32023      3/21/2019 I 0:44:3 I    3/21/20192:S9:S6 PM           4.26     $1.00
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32051      3/21./201 9 10:34:06    3/22/2lll9 l l:34:-0l      13.00 .      $1.00
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32082       3/23t.2019 12:08:25    J/23/2.01911:15:52         I I.12       $1 .00
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   I       Dlneiware, Inc.                                                                                                   Page 10 of25
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 24 of 128
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                                       128
                      Company Code          Loe/Dept           Number Pa~e                       Earnings Statement
                      RA/ 46A 22303671 01/                     3144869 1 o 1
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                               Period Starting:      03/28/2019
                      Miami, FL 33131                                                            Period Ending:        04/10/2019
                                                                                                 Pay Date:             04/12/2019




             Taxable Marital Status:            Single
             Exemptions/Allowances:                Tax Override:                                             Erik Chavez
                  Federal: 0                          Federal:
                  State:      o                       State:                                                 2130 SW 122Ave
                  Local:      0                       Local:                                                 Miami, FL 33175
             Social Security Number:            XXX-XX-XXXX


Eamings                        rate      hOur.i/units              this period     veartodate            Other Benefrts end
Tipped hours                                                                                             lnfonnation                            this period     year to date
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Cash tips                                                               0.00         1988.94             lip Credit                                 217.S0         1795.93
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                 Gross Pay                                         Sl,989.05       $17,413.22
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                       Statuto!}'. Deductions                      this !!!!riod   vearto date           XXXXXX0207                            xxxxxxxxx           1590.74

                       Federal Income                                 -246. lS       2162 . 39
                       Social Security                                - 123.32       1079.62
                       Medicare                                         -28 .84       252.49

                       Net Pay                                     Sl, 590 . 74




                                                                                                        Your federal taxable wages this period are $1,989.05




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080
                 Miami, FL33131
                                                                                                 Pay Date:                     04/12/2019




                 De   sited to the account                                                                                                                     amount
                 Checking DirectDeposit                                                                                                  xxxxxxxxx             1590.74




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 25 of 128
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      'JOSE ROMERO                  s    315.00                        s       120.00 $                        55.00
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      JOSE HERNANDEZ                                  $      290.00                        $                  120.00            s      30.00                                                   ~

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      JAIME                                                                                $                  245.00 $                 55.00
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                         4/4/2019   $     349.32
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                  TOTAL             $   2,642~7'7         $ 1,928.89    $ ·   4,571.66·     s                2,l85.83


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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 28 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 28 of
                                       128
                      Company Code               Loe/Dept     Number Pa~e                       Earnings Statement
                      RA t 46A 22303671          011          3170718 1 o 1
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                              Period Starting:     04/11/2019
                      Miami, FL 33131                                                           Period Ending:       04/24/2019
                                                                                                Pay Date:            04/26/2019




                 Taxable Marital Status:       Single
                 ExempUons/Allowances:            Tax Override:                                              Erik Chavez
                      Federal:    0                  Federal:
                       State:     0                  State:                                                  2130 SW 122Ave
                      local:      0                  local:                                                  Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                       rate      hours/units              lhispelliod     vearto date           Other Benefits and
Tipped hours               5.4400              71.19                  387. 27       3453 .88            lnfonnation                            this period     year to date
Cash tips                                                                o.oo       1988.94             Tip Credit                                 214 . 99       2010.92
Cash Tips owed                                  0.00                 1493.16       13850.83             Total Hours VVorked                         71.19          645.96

                  Gross Pay                                       $1,880.43       $19,293.65
                                                                                                        Deposits
                                                                                                        account number                        transit/ASA          amount

                       Statu!2!}'. OeducUons                      this period     veartodate            XXXXXX0207                           xxxxxxxxx            1514.32
                       Federal Income                                - 222.25       2384.64
                       Social Security                               -116.59        1196.21
                       Medicare                                        - 27.27       279.76

                       Net Pay                                    $1, 5141 . 32




                                                                                                       Your federal taxable wages this period are $1,880.43




                 Grill Enterprises llC
                 1450 Brickell Ave Suite 2080                                                   Pay Date.:                    04/26/2019
                 Miami, Fl 33131




                              the account
                                                                                                                              ~ctt
                                                                                                                              ~          transit/ASA          amount
                 Checking DirectDeposit                                                                                                 xxxxxxxxx             1514.32




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
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           CHAVEZ, ERIK                                             Payroll ID:

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           32563
                      AM                                                                                       $161.26    $161.26 $839.65
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           32579       4111/2019 8:11 :49 PM 4111/2019 8:59:38 PM          .80    $1.00
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           32636       4/13/2019 12:06:14    4/1412019 12:07:14          12.02    S1.00
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           32760       4/1812019 10:36:32   4118/2019 11:37:47           13.02    $1.00
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                                                        Job Total                         $71.19        $.00              1,961.33 $11,906.
                                                 Employee Total                           $71.19        $.00                         $11,906.
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                  BUSSER                                                                                         l lf &f3. f f;_
                   Shifts
          32646      4/13/2019 S:29:54 PM 4/1412019 12:31:44              7.03    Sl.00
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                     4/13/2019 5:19:54      4114/2019 12:31t44            7.03              $7.03       $.00       s.oo       $.00       $.00
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    ?;    32677      4/15/2019 10:30:25     4/IS/2019 3: 10:00 PM        4.66     Sl.00
                     AM
                     First Data                                                                                               Page 12 of 28
                         Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 31 of 128
~-,, ,,     -   ....       Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 31 of
                                                                128
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                                   AUGUSTO ERIK       MIGUEL N. IDELFONSO LEONEL                               TOTAL
            CESAR                  $  160.00          $      50.00               $ 230.00                       s 590.00    +2.0.3+ =[G..10.~iJ
            JOSE ROMERO            $  325.00          $     150.00        70.00                                s   545.00
            JOSE HERNANDEZ                   $ 255.00                    230.00                                $   485.00
            JAIME                                                        275.00 $     95.00                    S   370.00
            MIGUEL NAVA                                                          $     70.00                   s    70.00
            YONATHAN                         $  95.00               $     90.00 $      75.00                   $   330.00
            ROGER                                            20.00 $      40.00 $      20.00                   s    80.00     1.0'-/ ==. It l ·O</li/
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            GERARDO
            MANUEL
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            MARIANA                 $  65.00 $  65.00 $      20.00                                             $   150.00     ~ Jl-11".s,        =-l2'11:.50~
            TOTAL                   s 680.00 $ 54S.OO $   '•33(U)Q ;s r1~0Qs.oo· S · (;65.00                   S 3,225.00
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            NOTA: CESAR TIENE UN CIERRE CON PROPINA PORQUE ATENDIO EN TABERNA



            A.JUSTE Q;E:.AUGY,~TO P~OEf'lZA Y ERIK CHA~Z ,
                                                                                                           io so .z..s
                                    AUGUSTO              ERIK          TOTAL       50% C/U
                       FECHA
                          4/11/2019 $  319.31       $      464.13    $    783.44 $     391.72
                                       447.14       $      472.21    $    919.35 $     459.68
                          4/12/2019 $
                                       339.51       $      304.17    $    643.68 $     321.84
                          4/13/2019 $
                                                           329.31    $    754.23 $     377.12
                          4/18/2019 $  424.92       $
                                          329.90 $         272.11    $    602.01 $     301.01
                          4/ 19/2019 $
                                          519.46 $         119.40 $    638.86 $          319.43
                          4/20/2019 $
                                                             ~ . •• 4,341.S:7 $ ·.•· l,,1-70~79
                       TOTAL         $ 2,380.Z~ _$ l,961.33l
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                                              2.0116. ~
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 32 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 32 of
                                       128
                       Com~ny Code
                       RAJ     AXXXXXXXX
                                                 Loe/Dept
                                                 011
                                                              Number Page
                                                              3196465       1 or 1
                                                                                                     Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                  Period Starting:      04/25/2019
                       Miami, FL 33131                                                               Period Ending:        05/08/2019
                                                                                                     Pay Date:             05/10/2019




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                                  Erik Chavez
                      Federal:    o                  Federal:
                       State:     o                  State:                                                      21 30 SW 122 Ave
                      Local:      0                  Local:                                                      Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                       rate       houra/units             this period        year to date            other Benefits and
Tipped hours                 5.4400            72.40                  393.86            3847.74              Information                            this period     vearto date
Cash tips                                                                o.oo           1988.94              Tip Credit                                  218.65        2229.S7
Cash Tips owed                                   o.oo               1729.42            1S580.25              Total Hours Worked                           72 .40        718. 36

                  Gross Pay                                       $2,123 .28         $21,416.93
                                                                                                             Deposits
                                                                                                             aooount number                        transit/ASA          amount

                        Statu!e!Y Deductions                      this e!!riod       ~ear to dal!!
                                                                                                             XXXXXX0207                            xxxxxxxxx           1685.17
                        Federal Income                              -275 .68            2660.32
                        Social Security                             - 131.64            1327. 8S
                        Medicare                                      -30. 79            310. 5S

                        Net Pay                                   $1, 685.17




                                                                                                            Your federal taxable wages this period are $2,123.28




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                     Pay Date:                    05/10/2019




                  De   sited to the account                                                                                                                        amount
                  Checking DirectDeposit                                                                                                     xxxxxxxxx             1685.17




                                  Erik Chavez
                                  2130 SW 122 Ave
                                  Miami, FL 33175
    Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 33 of 128
      Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 33 of
r                                          128




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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 34 of 128
  Case 1:20-cv-22603-MGC               Document 65-7
           516121'9 5:U:J9 PM 517/2019 11:19:58   6.61 Entered on  FLSD Docket
                                                                $62.75   S.00  08/23/2021
                                                                                S.00    S.00 Page
                                                                                               S.0034 of
                              AM                       128
      33264      sn/20l9S:01:2& PM sn12011111 :19:30 PM                       6.53        $9.50
                 517/2019 5:07:111 PM S/7/1019 l1 :J9:l0                      6.53                   562,07       S.00           S.00         S.00       S.00
                                      PM
      33292       51812019 5:03:JI PM S/8/2019 11 : 13:30 PM                  6.17        S9.50
                  5N'2019 S:OJ:JI PM S/8/2019 II : U:lO                       6.17                   $58.58       S.00           s.oo         S.00       $.00
                                               PM
                                                Shift/Break Total                                   $633.70       s.oo           S.00        s.oo        s.oo
                                                            Job Total                               $633.70       S.00           S.00        S,00        s.oo
                                                    Employee Total                                  $633.70       s.oo           S.00        S.00        S.00
        CHAVEZ, ERIK
               Server
                Shifts
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       )2941          4125/2019 10:-44:34      4/2512019 10:51 :50            l2. l2      $1.00
                      AM                       PM
                      4/l.512Gl9 10:44:34      4/25fl019 10:51 :SO            12.12                  512.IZ       s.oo        $195.97     $195.97 Sl,472.8
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        32971         4/26'2019 10:S0:29       4/2li/2019 11 :28:04           12.63       $1.00
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                      412"10!9 10:S0:29        4126/2019 11 :18:CM            12.63                  512.63       s.oo        $390.70     $390. 70 52,191.7
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                       First Data
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          ISJ.12         Sltlfl5tact                Shift End                Ihm           Bm        fax        Tim    :r.w                           S.alt.t       u
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          33009          4ll7/20l9 12:59:13         4127/2019 11 :30:IO         10.52      Sl.00
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                          PM                        PM                                                                                                          •
           33134          51212019 10:45:55         5/2/2019 11 :04:51 PM       12.32      S !.00
                          AM
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                          AM                        PM
           33165          5/J/2019 I0:~2:21         S/J/20193 :01 : 14 PM        4.15      $1.00
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                          5/312019 10:51:21         513/2019 J:01:14 PM          4.1S                  $4.IS       s.oo       $171.58     $171.58    5849.0S
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              33168       S/312019 l :01 :JO PM S/3/2019 6:27:29 PM              3.4]      $1.00
                          S/l/2019 J:01:JO PM 51.J/lOI ~ 6:27:29 PM              3.43                  $3.43       s.oo        $90.68     $90.68     $821.30
              )3178       S/3/2019 6:27:33 PM 5/4/2019 12:04:21                  5.61      SI .CO
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              33190       S/4/201912:17:ll PM S/4/201911 :54:31 PM              11.62      $1.00
                          5/.C/201912:17: 11        S/4/l019 II :54:JJ          11.62                 $11.62       S.00       $233.31    $233.31 $1,354.5
                          PM                        PM
                                                      Shirt/Break Tobi          72.40                 $72.40       5.00 St,932.S7       Sl,932.57 S11,134.
                                                                Job Total       72.40                 572.40      S.00                   1,932.57 511,134.
                                                         Employre Total         72.40                 $72.40        .00   s       .S7 Sl,93~f $11,134.
              DEL VALLE, YONATHAN                                           Payroll ID:
                 BUSSER                                                                                                   [·-=t-2..."~,:;,
                       Shifts
              32987       4/26/20196:16:13 PM 4/26/2019 11:34·17                 S.30      $1.00
                                              PM
                          4/26/1019 6:16: IJ  412612019 11:34:17
                          PM                        PM
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           33014          412712019 5:28:23 PM 4127/2019 11 :40: 13              6.20      Sl.00
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           330,6          4129/2019 10;30: IS   4/29/2019 J:04:28 l'M            4.57      $1.00
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           33060          4/29/l0 19 S:34:04 PM 4/29f2019 I0:35:13               S.02      $I.OD
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           33090          4/30/2019 S:38:09 PM 4/30/2019 10:37:ll                4.98      SI.DO
                                                PM
    Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 35 of 128
      Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 35 of
                                           128                                     -1•:cl


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                    AUGUSTO ERJK                            MIGUEL N. IDELFONSO LEONEL TOTAL
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                    $       445.00   I                      $     190.00 $          85.00                   $    720.00                            1
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                                         $        297.00                    $     340.00                    S 637.00               -
                                                                            s     155.oo I s       110.00 I s 26s.oo
MIGUEL NAVA                                                                                   s     60.00 I s  60.oo
,YONATHAN                                $         90.00   Is      55.oo   Is       80.-00   Is-    95.oo I s 320.00

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,!MARIANA               $     45.00 $              45.00                                                    $     90.00   z.q.. -; , 1/:j,   J:,

lTOTAL                  $    784.00 $

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 AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

                        AUGUSTO                   ERIK           TOTAL          50%C/U
      FECHA                                                                        354.99
                            514.00       $         195.97    $     709.97 $
            4/25/2019   $
            4/26/2019   $   461.36           s     390.70    $     852.06 $        426.03                   -q-~~ '
            4/27/2019   $   648.27       $         194.44    $     842.71   s      421.36
                                                   569.46    $    1,102.61 $       551.31
             5/2/2019   $   S33.15           $
                                                   348.69    $      728.91 $       364.46
             5/3/2019   $   380.22           $
                                                   233.31$          753.28 $       376.64
             5/4/2019   $   519.97           $
         TOTAL          S 3,056.97           S I.'132.57 s        4,989.54 $      2,494.77
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                             3-4~ _1s
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 36 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 36 of
                                       128
                       Compa~ Code                Loe/Dept      Number ffilje                       Earnings Statement
                       RAJ 4622303671             01/           32222ss ,on
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                 Period Starting:     05/09/2019
                       Miami, FL 33131                                                              Period Ending:       05/22/2019
                                                                                                    Pay Date:            05/24/2019




                 Taxable Marital Status:        S ingle
                 Exemptions/Nlowances:              Tax Override:                                               Erik Chavez
                       Federal:   o                    Federal :
                       State:     0                    State:                                                   2130 SW 122Ave
                       Local:     0                    Local:                                                   Miami, FL 33175
                 Social Security Number.        XXX-XX-XXXX


Earnings                       rate       hours/units               this period      vear to dale           Other Benefits and
                            5 . 4400                                    390.81         4238.55              Information                            this   period     year to date
Tipped hours                                    71.84
Cash tips                                                                 0.00         1988.94              Tip Credit                                    216. 96       244 6. 53
Cash Tips owed                                   0 . 00                1660.05        17240.30              Total Hours Wofi<ed                            71.84         790 . 20

                  Gross Pay                                         $2,050.86        $23,467.79
                                                                                                            Deposits
                                                                                                            account number                        transit/ASA            amount

                        Statulor,: Deductions                       this l!!!riod    ~ear to date           XXXXXX0207                           xxxxxxxxx              1634.23
                        Federal Income                                 - 259.75         2920.07
                        Social Security                                - 127.15         1455.00
                        Medicare                                         - 29 . 73       340.28

                        Net Pay                                     $1,634.23




                                                                                                           Your federal taxable wages this period are $2,050.86




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                                                                                                    Pay Date:                     05/24/2019
                  Miami. FL 33131




                  De   sited ID the account                                                                                                                         amount
                  Checking DirectDeposit                                                                                                                            1634.23




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
        ,,,
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 37 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 37 of
                                       128                                          I

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                  NOMBRES                                                       TOTAL




               WILMER CASTRO                    41   z,   .::;c:;   Ll / 3°?   e3 0f?        .~
                 ERIK CH A YEZ                  _¾,a\               ~ S.53     7- \. 8'--\
                                                                       1

                 LEONELDIAZ                     33.~-z,             'j0 0B     G3,'1o v
                  JAIME DIAZ                    27 04               I q e>o    '-t I 0~ '
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•
              FERNANDEZ--GUSTAVO                3~./2')
              FERNANDEZ GeRA.TIDO 6v.Jwv        ":fl' l/t'
                HERNANDEZ JOSE                  ?i't 3B
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                LAHUAD ROGER
               MORENO IDELFONSO
                 NAVA MIGUEL
                 PINTO MARIANA
               PROENZA AUGUSTO
                RETE EMMANUEL
               RODRIGUEZ MARCO
                  ROMERO JOSE
                 SANCHEZ ANGEL
                                                ?f-1 41
               VELASQUEZ ANGEL
                                                38, 05
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       Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 38 of 128
         Case 1:20-cv-22603-MGC                    PM Document 65-7
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                                                                              Entered on FLSD Docket 08/23/2021 Page 38 of
                                                                                          / , 10    .)'l,.l\l


                     S/ll/2019 4:10:50             S/21/1019 1h20:40     7.16 128     $68.06 s.oo  S.00   s.oo s.oo
                               PM                           PM
                   33671       1'2212019 S:15;01 PM 5122/2019 11:04:SZ                    5.83      $9.50
                                                    PM
                               5/l2/Ztl9 5:15:01    5/ll/JOl9 ll:04:5l                    5.83                    S55.39     s.oo       $.00       $.00       s.oo
                               PM                   PM
                                                              ShlR/Break Total           83.88                   S796,87     s.oo       S.00       s.oo       s.oo
                                                                                                                             s.oo       s.oo


                                                                                                                '(,;? z
                                                                       Job Total         83.88                   $796.87                           $.00       S.00
                                                                                                        /
                                                                 Employee To!AI          83,88      I                        $,00       s.oo       s.oo       $.00
                    CHAVEZ. ERIK                                                     Payroll ID:
                           Server                                                                                             qi
                   33316
                            Shifts
                              5/9/201910:33:30     519/2019 3: 19:◄6 PM                   4.77      $1.00
                                                                                                                             6
                              AM
                              51911019 10:33:30    519/2019 3:19:46 PM                    4.77                     $4.77     s.oo    $169.11    $169.11    $928.15
                              AM
                   33323      519/2019 J:19:.l2 PM 519/2019 6:17:49 PM                    2.97      $1.00
                              519/?0l9 3:19:52 PM S/9/2019 6:1':49 PM                     2.97                     $1,97     $.00    5114.75    5114.75 $69<;,35
                   33334      S/9/2019 6:57:52 PM S/9/2019 11:26:05 PM                    4.47      $1.00
                              S/9/2019 6:51:52 PM 519/201ll 11:26:0S                      4.47                     $4.47     s.oo    $185.49    $185.49 $629.110
                                                            PM
                   33348      S/10/2019 10:38:52            S/10/2019 3:35:46 PM          4.95      $1.00
                              AM
                              5/10/1019 10:31:52            5110/1019 3:35:◄6             4.95                     $4.95     $.00    5274,21    Sl74,?l $1,447.7
                              AM                            PM
                   33379      S/11/2019 12:04:21            S/11/2019 11:37:53           11.56      $1.00
                              PM                            PM
                              !/11/1019 ll:04:21            5/ll/l0l9 11:37:53           11.S6                    Sll.56     S.00    $283.00    $183.00 Sl,6SS.S
                              PM                            PM
                   33408      Sll}/2019 12:30:16            5112/2019 8:06:12 PM          7.60      Sl.00
                              PM
                              5/IV201912,30: 16             5/12/20198106:!2              7.60                     $7.60     S.00       $.00       s.oo       s..oo
                              PM                            PM
                   33509      S/1612019 9:52:10             5/16/2019 7:56:42 PM         10.08      Sl.00
                              AM
                              5/16/2019 9:52:10             5116/2019 7:56:41            10.08                   510.08      $.00    $217.16    $217.16 $1,205.S
                              AM                            PM
                   33525      S/16/20197:56:45 PM S/16/201911 : IS:30                     3.31      Sl.00
                                                  PM
                               5/16/l019 7:S6:45            5/1612019 11:15:30            3.31                     $3.31     $.00    $215.82    $215.82 Sl,275.7
                               PM                           PM
                   33538       S/17/2019 9:40:47            S/17/2019 4:09:43 PM          6.48      Sl.00
                               AM
                               5/17/l019 9:40:47            5117/2019 4:09:43             6.48                    $6.48      $.00    5116.87    $116.87    S78l>.OS
                               AM                           PM
                   33544       5/17/2019 4:09:SO PM         5/1712019 6:38:lS PM          2.48      Sl.00
                               S/l?/l019 4:09:SO    S/17/l0l9 6:38:35                     2.,s                     $2.48     5.00    $109.00    $109.00    5667,9S
                               PM                   PM
                   33S57       S/17/2019 6:38:41 PM S/17/2019 1 l:2.S:19                  4.78      $1.00
                                                    PM
                               5117/2119 6:38:41    5/17/l019 ll!25:19                    4.78                     $4.78     $.00     $76.19     $76.19 $694.00
                               PM                   PM
                   33570       5/18/201911:36:46    S/ 18/2019 4:SJ;JS PM                 5.27      Sl.00
                               AM




                   ..          First Data                                                                                                          Page 11 of27



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                     33570       5118/20194:53:15 PM S/18/20 19 8:00:45 PM                 3.13         $1.50
                                 S/1112019 II :36:46          5/1811019 8100:45            8.40                     $9.96     S.00    $246.26    S146.26 $1,144.8
                                 AM                           PM
                                                                 Shift/Break Total        71.84                    $73.40     $,00 $2,007.86 $1,007.86 $11,134,
                                                                         Job Total        71.84                    $73,40     $.00 52,007.86 $2,007.86 $11,134,
                                                                   Rmployee Total         71.84                    $73.40     S.00 $2,007.86 $2,007.86 511,134.,
                        DELVALLE, YONATffAN                                           Payroll ID:
                             BUSSER
                              Shifts
                     33389          S/11/2019 5:30:04 PM 511212019 12:0◄:35                6.58         $1.00
                                                         AM
                                    5111/2019 5:30:04    5/111:1019 12104135                6.58                    S6.58     $.00       s.oo       $.00        S.00


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                     )3426          S/ll/2019 10:33:28   5/13/2019 2:46:05 PM               4.21        $1.00
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                   Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 39 of 128
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                      Case 1:20-cv-22603-MGC
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                   AUGUSTO ERIK       MIGUELN.                                 IDELFONSO LEONEL TOTAL
                   $  135.00          $   146.00                                $   130.00 $ 115.00 $,I 526.00                                 ~yO.SS                    "
 ~➔SE ROMERO
   1SE HERNANDEZ ✓
                   $ 377.00           $
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                                           85.00                               $        70.00                            $V 532.00             F-~~,s .: 15<f-l-.4
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JAIME                                                                          $       190.00      $       65.00         $al' 255.00 1                              '·
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YONATHAN           v1                     I$       110.00    $        70.00    $        75.00      $       80.00         $V 335.00
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GERARDO            ti" $       120.00                                                                    155.00 $;' 605.00 ~•~- .__ =ftl-8S. -
ROGER              ✓       $    55.00
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MARIANA                    $    60.00         $     60.00                                                       $                                 185":!.:
TOTAL                      $   747.00         $    578.00    s       496.00    $     1,022.00 $          505.00 $ 3,348.00

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AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

        FECHA              AUGUSTO                ERIK            TOTAL             S0¾C/U
            5/9/2019       $   292.61         $    469.35    $        761.96   $        380.98
           5/10/2019       $   415.55         $    274.21    $        689.76   $        344.88
           5/11/2019       $   405.96         s    283.00    $        688.96   $        344.48
                                                                                        446.63
           5/16/2019       $   460.28         $    432.98     $       893.26   $
           5/17/2019       $   309.28       $      302.06     $       611.34   $        305.67
                                                                      864.77   $        432.39
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           5/18/2019       $   618.51       $      246.26     $
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 40 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 40 of
                                       128
                       Company Code              LocJOept     Number Pa~e                        Earnings Statement
                       RAi46A22303671 01/                     3248896 1 0 1
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                              Period Starting:      0S/2312019
                       Miami, FL 33131                                                           Period Ending:        06/05/2019
                                                                                                 Pay Date:             06/07/2019




              Taxable Marital Status:          Single
              Exemptions/Allowances:              Tax Override:                                             Erik Chavez
                   Federal:    O                     Federal:
                    State:     0                     State:                                                 2130 SW122Ave
                   Local:      0                     Local:                                                 Miami, FL 33175
              Social Security Number:          XXX-XX-XXXX


Eamillgs                       rate      hours/units              this period     year to date           Other Benefits and
"Tipped hours              5.4400              73.67                  400. 76        4639.31             lnfomiation                             this period     year to date
Cash Ups                                                                 o.oo        1988.94             "Tip Credit                                 222 .48         2669.01
Cash "Tips owed                                  0.00               1510.83         1875l.. 13           Total Hours Worked                           73.67           863.87

                  Gross Pay                                       Sl, 9U.59       $25,379.38
                                                                                                         Deposits
                                                                                                         account number                         transit/ASA           amount

                        Statulo!Y Deductions                      this l!!!riod   year to date           XXXXXX.0207                           xxxxxxxxx             1536. 24
                       Federal Income                               -229.11          3149.18
                       Social Security                              -118.52          1573.52
                       Medicare                                      -27. 72          368.00

                        Net Pay                                   Sl, 536.24




                                                                                                        Your federal taxable wages this period are $1 ,911 59




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                 Pay Date:                    06/07/2019



                  De    ited to the account                                                                                                                     amo unt
                  Checking DirectDeposit                                                                                                  xxxxxxxxx             1536 . 24




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, Fl 33175
    Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 41 of 128
      Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 41 of
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                               ERIK CHAVEZ                      _           ?)G,~'?>                  ~'1-, 1 !>       -=, ~16 ~    ' t.,.,'"
                           YONATIIANDEL VALLE                                 \3,e3                   25, lo          38.Q8          r.---
                                LEONEL DIAZ                                   l9.~~                   "3(,S'I          51,4~       ~II>

                                 JAIME DIAZ                                   l~,-S~                  22, 't~          ~81 PZ..      t.-

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Case 1:20-cv-22603-JG Document                     ....... 98-765-7
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            33807         5128/2019 5:40:04 ~M 5128/2019 8:23:49 PM                    2.73       $1.00
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            33918         6/112019 5:-45:06 PM 6/112019 I 1:53:14 PM                    6 . 14    Sl.00
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                     YONATHAN                                                       $        95.00 $      75.00 $         30.00 $   30.00 S 230.00                      \ :>
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                  ,GERARDO                                          $    100.00     $       100.00 $            20.00 $        95.00 $       85.00 S    400.00 +lf#S,OL::: ,515, 1l_                        it
                  !ROGER                                            $     50.00     $        50.00 $           115.00 $       130.00 $       50.00 S    395.00    +-               I  _           ~-/83. i,
                   MARIANA                                          $     60.00     $        60.00                      $      15.oo $       15.oo s    150.00 ~6z..31            =fZIZ ·"          ~]
                     1   TOTAL                                      S    642.00     $       623.00      $      410.00 S       715.00    $   450.00   $ 2,840.00                                   ~
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                         AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ                                                                                +'-q,1
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                                            FECHA                   AUGUSTO               ERIK              TOTAL         50%C/U
                                                        5/23/2019   $  238.46       $       356.49      $      594.95   $      297.48
                                                        5/24/2019   $  347.01       $       294.92      $      641.93   $      320.97
                                                        5/25/2019   $  182.58       $       288.40      $      470.98   $     23S.49
                                                        5/30/2019   $  624.67       $       479.05      $    1,103.72  $       551.86
                                                        5/31/2019   $ 476.32        $       284.42      $      760.74  $       380.37

                                            TOTAL
                                                         6/1/2019   $  548.70
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 44 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 44 of
                                       128
                            Company Code          Loe/Dept                    Number Pa~e                          Earnings Statement
                            RA 746A 22303671 017                              3274799 1 o 1
                            Grill Enterprises LLC
                            1450 Brickell Ave Suite 2080                                                           Period Starting:     06/06/2019
                            Miami, FL 33131                                                                        Period Ending:       06/19/2019
                                                                                                                   Pay Date:            06/21/2019




                    Taxable Marital Status:              Single
                    Exemptions/Allowances:                  Tax Override:                                                      Erik Chavez
                         Federal:    O                         Federal:
                          State:     o                         State:                                                          21 30 SW 122 Ave
                         Local:      0                         Local:                                                          Miami, FL 33175
                    Social Security Number:              XXX-XX-XXXX


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Tipped hours            5. 4400                        73 . 50                         399 . 84        5039.15             lnformatioo                             this period     year to date
Cash tips                                                                                  O. 00       1988.94             Tip Credit                                  221.97         2890.98
Cash Tips owed                                            O. 00                      13 70. 06        20121.19             Total Hours Worked                           73 . 50        937.37

                      Gross Pay                                                 $1,769.90           $27,149 . 28
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                                                                                                                           account number                         transit/ASA          amount

                             Statutory Deductions                                this penod         year to date           XXXXXX0207                            xxxxxxxxx            1436.56
                             Federal Income                                         - 197 . 94         3347.12
                             Social Security                                        - 109. 74          1683. 26
                             Medicare                                                 -25 .66           393.66

                             Net Pay                                            Sl, 436 . S6




                                                                                                                          Your federal taxable wages this period are $1 ,769.90




                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080
                      Miami, FL 33131
                                                                                                                   Pay Date:                    06/21/2019



                      De     sited to the acccunt                                                                                                                                 amount
                      Checking DirectDeposit                                                                                                                xxxxxxxxx             1436.S6




                                         Erik Chavez
                                         21 30 SW 122Ave
                                         Miami, FL 33175
    Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 45 of 128
      Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 45 of
                                           128




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       (                       NOMBRES                     al                     TOTAL
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                           HERNANDEZ JOSE
                            LAHUAD ROGER
                          MORENO lDELFONSO
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                            PINTO MARIANA
                          PROENZA AUGUSTO
                           RETE EMMANUEL
                             ROMERO JOSE
                           SANCHEZ ANGEL
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 46 of 128
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                                       128




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          6/1812119 5:51:18    6/18/201911:27:44                  5.61
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           6/19/1019 4:55:01   6/1912019 11:26:58                  6.53
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                                     Shift/Bruk Total
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         Shifts
            6/612019 10:51:08       6/612019 I I ·09:39 PM        12.31         $1.00
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             AM
                                                                                         $12.31           S.00        $139.50      $139.50    $826.28
             6161'2819 10:51 :08    6/612019 ll:09:J9             12.31
             AM                     PM
             617/2019 10:53:26      617/201911:29:46 PM            12.61        $1.00
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             AM                     PM
             6f712IJl9 11 :49:24 PM 6nl2019 11 :49:38 PM                .00     $1.00
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             6/812019 12:22:10 PM 6/812019 I 1·35:57 PM            11.23        $1.00
             6/snGJ912:22:10        6/8/2019 11 :JS:S7             11.23                  SI 1.23             s.oo    $169.25       $169.25 $1,205.3
             PM                     PM
            6/13/2019 I 0:39:06     6/13/2019 11 :36:34            12.96        $1.00
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            6/14/2019 LI :02:41     6/14/2019 11:28:04             12.42        $1.00
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            6/l4/20l9 11:02:41      6/1412019 11 :28:04            12.42                  $12.42              s.oo    $343.59       $343.59 $2,402.9
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                                        Shift/Break Total          73.50                  573.50              $.00                 $1,432.76 58,913.3
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            First Data                                                                                                                  Page 11 of26
               Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 47 of 128
                 Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 47 of
                                                      128

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                                    GUSTO ERIK       MIGUELN.                          IDELFONSO LEONEL               TOTAL
                                                  -
                                  $  166.00                                            $       205.00 $      160.00   s   531.00
                                  $ 330.00           $   155.00                        $        55.00 $       15.00   s   555.00
     JOSYBERNANDEZ                $   35.00 $ 245.00 $    74.00                        $       240.00                 s   S94.00
                                                                                                                                        ✓
     JAIME                                                                             $       155.00 $      115.00   s   270.00
     MIGUELNAVA                                                                                          $    60.00 $      60.00
     YONATBAN                                         $        85.00    $      80.00 $           50.00 $      85.00 s     300.00        ,/
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     GERARDO                      $       120.00 $             110.00 $        30.00 $          170.00 $     160.00 s 590.00 ..         _,gt.-=
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     'ROGER                       $        30.00 $              30.00 $       125.00 $          160.00 $      40.00 $ 385.00 ►)1-1.1.f =1,4(.f.\! ✓
     MARIANA                      $       $0.00       $         45.00                                                s 95..00          +9_\f : 1<&.~
     TOTAL                        S. ' 731.0Q         s        515.00 $       ~.oo s         1,03~.oo s      635.00• S 3,380.00

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     AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

             FECHA                AUGUST()                ERIK              TOTAL          5011/o C/U
                   6/6/2019       $       339.10      $        139.50   $     478.60   $        239.30
                   6/7/2019       s       411.90'     $        349.62   $     761.52   $        380.76
                                                                                                390.06
                   6/8/2019       $       610.86      $        169.25   $     780.11   $
                  6/13/2019       $       459.01      $        297.48   $     756.49   $        378.25
                  6/14/2019       $       367.49      s        343.59   $     711.08   $        355.54
                  6/15/2019       $       488.30      $        132.72   $     621.02   $        310.51
             TOTAL                $ 2,676.66          S 1,432.16        s    4,108.82 $       2,054.41




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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 48 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 48 of
                                       128
                      Company Code          Loe/Dept         Number Pa~e                      Earnings Statement
                      RA/ 46A 22303671 01/                   3302764 1 o 1
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                            Period Starting:      06/20/2019
                      Miami, FL33131                                                          Period Ending:        07/03/2019
                                                                                              Pay Date:             07/05/2019




                 Taxable Marital Status:      Single
                 Exemptions/Allowances:          Tax Override:                                            Erik Chavez
                       Federal:   0                 Federal:
                       State:     0                 State:                                                2130 SW 122 Ave
                       Local:     o                 Local:                                                Miami, FL 33175
                 Social Security Number:      XXX-XX-XXXX


Eamngs                                   hours/units             this period   year to data           Other Benefits and
                                                                                                      lnfonnation                            this period     year to date
Tipped hours               5. 4400              72.80               396.03        5435 . 18
Cash tips                                                             0 . 00      1988.94             1ip Credit                                 219 . 86       3110.84
Cash Tips owed                                  o.oo               1566 . 64     21687.83             Total Hours \/Vorked                        72.80         1010.17

                  Gross Pay                                      Sl,962.67     $29,111.95
                                                                                                      Deposits
                                                                                                      account number                         transit/ABA         amount

                       Statutory Deductions                      this period   year to date           XXXXXX0207                            xxxxxxxxx           1572, 18
                       Federal Income                              -240.35        3587 .47
                       Social Security                             - 121.68       1804.94
                       Medicare                                      -28.46        422.12

                       Net Pay                                   $1,572.18




                                                                                                     Your federal taxable wages this period are $1,962.67




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080
                 Miami, FL 33131                                                              Pay Date:                      07/05/2019




                 De     ited to the account                                                                                                                 amount
                 Checking DirectDeposit                                                                                                                     1572 .18




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
     Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 49 of 128
       Case 1:20-cv-22603-MGC Document 65-7 Entered!) on:; FLSD Docket 08/23/2021 Pageii
                                                                                       49 of
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 50 of 128
  Case 1:20-cv-22603-MGC     Document
                       Shift/Brak Toe.I 65-7  Entered on FLSD Docket 08/23/2021 Page 50 of
                                        66.67                     s.oo    s.oo s.oo
                                              128 $633,39   S.00
                              Job Total 66,67                                                  5633.39       5.00       $.00        $.00        s.oo
                                               Employer Total             66.67                5633.39       s.oo       s.oo        $.00        s.oo
       CHAVEZ, EROC                                                   Payroll ID:
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      3438S    6120/2019 10:37:37         6120/2019 11:09:41              12.53      $ 1.00
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                 6120/2019 10:37:37       6120/2019 11:09:41              l2,53                 S12.53       5.00   S414.32      S414.3l Sl,;J8J.J
                 AM                       PM
       34407     6/21/2019 10:23:16       6/21/2019 10:'.23:S7            12.0l      $1.00
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       34437     6W2019 ll :5J:3 1        G1221'2019 11:44:07             11.84      Sl.00
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                  First Date                                                                                                        Page 10 of26




                  Shlft51!1d               Shift End                    llwD         Rm        flX        IiJ!J     I.1111                   §lkl
                   6121/2019 U :SJ:31      6/?l/2019 11:44:07              ILIW                 Sll.84       5.00   $136.09      SL16.09    5899.30
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        34554      6/27/Ull910:S3:19        6/2711019 3:3,:l l PM           4.76      51.00                                                            .,
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                   6117/2019 JO,!IJ:19      6127/lil\9 3'39t2J              4.76                 $4.76       $.00   5194.86     Sl.94.8' $1,123.4
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        34560      6/l7/20l9 3:39:24 PM 6127/2019 B:33:lB PM                4.90      51.00
                   6127/2019 3:39:Z~    6127/201911:33:28                   4.!10                $4..90      s.oo    596.95       ~.95 $467.05
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        34570      6127/1019 8:33:30 PM 6127/2019 10:S7:JO                  2.40      $1.00
                                            PM
                   6127/20191:33:30         6127/201910:5'7:30              2.40                 $2.40       S.00    $70.00      $70.00    S353.90
                   l'M                      PM
        34571      6127/2019 IO:S7:34       6127/2019   IO: S7 :◄9            .00     S1.00
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        34585      6l28/2019 10:JS:20       6f2&12019 3:21:07 PM            4.78      $1.00
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                   fi/28/ZOJ9 10:35:241 6lllll2019 3:12:07                  4,78                 54.78       s.oo   $201.19     5200.19 St,121.l
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        3459 1     6128/2019 3:22:12 PM 6f2&120l9 , ,,o:42 PM               2.48      Sl.00
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         34598     6fllV2019 5:53:40 PM 6128/2019 11 :38:26                 5.75      Sl.00
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        34618      6119/2019 12:05:59       6129/2019 6:38:30 PM            6.54      $1.00
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        34629      6/2.9/2019 6:38:33 PM 6129/2019 11:26:0l                 4.79      Sl.00
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                                               Shlft/BNMk Total            72.80                $72.110      S.00                          $10,772.

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                                                 Employee Total            7L80                 $72.80       s.oo              SJ,1185.08 $10,772.

         DEL VALLE, YONATHAN
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                                                                                                                             Docket 08/23/2021Page 5151
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                                                            6/20/2019                       $        413.51                     $         414.51                     $                828.02                  $               414.01
                                                            6/21/2019                       $        269.94                     $         253.29                     $                523.23                  $               261.62
                                                            6/22/2019                       $        557.64                    s          136.09                     $                693.73                  $               346.87
                                                            6/27/2019                       $        592.77                    $          361.81                     $                954.58                  $               477.29
                                                        6/28/2019 $                                  398.04                    $          390.38                     $                788.42                  s               394.21
                                                        6/29/2019 $
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 52 of 128
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                                       128
                       Company Code          Loc/Oepl         Number Page                      Earnings Statement
                       RA, 46A 22303671 011                   3325348 1 ot 1
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                            Period Starting:      07/04/2019
                       Miami. FL 33131                                                         Period Ending:        07/17/2019
                                                                                               Pay Date:             07/19/2019




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                            Erik Chavez
                      Federal: O                     Federal:
                      State:      O                  State:                                                2130 SW 122Ave
                      Local:      O                  Local:                                                Miami, FL 33175
                 Social Security Number;       XXX-XX-XXXX


Earnings                       rate       hours/units             this period   vearto date            Other Benefits and
                                                                                                       lnfoonatioo                             this period     year to date
Tipped hours               5.4400                59.78               325.20        5760.38
Cash tips                                                              0.00        1988.94             Tip Credit                                  180.54         3291. 38
Cash Tips owed                                   0.00                958.14       22645.97             Total Hours VVorked                           59.78        1069.95

                  Gross Pay                                       Sl,283.34     $30,395.29
                                                                                                       Deposits
                                                                                                       account number                         transit/ABA          amount

                        Statulo[X Deductions                      this period   year to date           XXXXXX0207                            xxxxxxxxx            1056.16
                        Federal Income                              -129.00        3716.47
                        Social Security                              -79.57        1884.51
                        Medicare                                     -18 . 61       440.73

                        Net Pay                                   Sl,056.16




                                                                                                      Your federal taxable wages this period are $1 ,283.34




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                               Pay Date:                     07/19/2019




                  De   sited to the account
                                                                                                                             cclt
                                                                                                                             ~           transiVABA           amount
                  Checking DirectDeposit                                                                                                xxxxxxxxx             1056.16




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
         Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 53 of 128
           Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 53 of
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                                     HERNANDEZ JOSE
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   Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 54 of 128
     Case 1:20-cv-22603-MGC
                 PM       PM Document 65-7 Entered on FLSD Docket 08/23/2021 Page 54 of
                           Shirt/Break Total 56.03 128 $532.2' s.oo s.oo  s.oo s.oo
                                                                    Job Total           56.03      7'         SS32.l4     $.00        s.oo        s.oo           s.oo
                                                          Employee Total                s6.o3 V               $532.24     s.oo        $.00        $.00           s.oo
             CHAVEZ, ERIK                                                           Payroll ID:
                 Server
                     Shifts
             34734      7/5/2019 10:39:SO           7/512019 3:03:30 PM                  4.39       $1.00
                        AM
                        7/S/101910:39:50            1/5/1019 3:03:30 PM                  4.39                   54.39     S.00      $43.00     $43,00 $289.05
                        AM
             34742      7/S/2019 3:04:03 PM 7/S/2019 6:48:2:iPM                          3.74       $1.00
                         7/512019 3:04:03 PM 7/S/2019 6:48122 PM                         3.74                  SJ,74      s.oo     $71.00      $71.00 $600.40
             34755       7/512019 6:48:26 PM 7/512019 10:31:41 PM                        3.72       $1.00
                         7/Sll019 6:48:16 PM 7/5/2019 10:31:41                           3.72                  $3,72      $,00     $65.88      $65.88 $647.25
                                                       PM
             34757       7/S/2019 10:39: 11 PM 7/512019 10:39:24 PM                        .00 '    $1.00
                         7/5/1019 10:39:11             7/512019 10:39:24                   .oo                  $.00     $.00        s.oo        $.00       S.00
                         PM                             PM
              34769      7/6/2019 12:00:39 PM 7/612019 10:56:41 PM                      10.93       Sl.00
                             7/611019 11:00~9           7/612019 10:56:41               10.93                 $10.93     $.00    $141.48     5141.48 $733.98
                             PM                         PM
              34&90          7/1112019 10:59:17         7/1112019 3 :44:59 PM            4.76       $1.00
                             AM
                             7/ll/101910:59:17          7/11/2Dl9 3:44:59                4.76                  $4.76     S.00    5139.51     5139.SJ     $613.10
                             AM                         PM
              34892          1/1112019 3:45:04 PM 7/1112~19 6:52:25PM                    3.12       $1.00
                             7/11/1019 3:45:04          7/11/2019 6:51:15                3.12                  $3.12     S.00     SS4.00      S54.00 $469.4S
                             PM                         PM
               34902         7/1112019 6:52:28 PM 7111/2019 11 :40:20                     4.80      $1.00
                                                        PM
                             7n111019 6:51:18           7/l l/2019 11:.0:20               4.80                 $4.80     S.00    $173..83    $173.-83 $848.10
                             PM                         PM
               34921          7/12/2019 10:46:47        7/1212019 11:08:39               12.36      $1.00
                              AM                        PM

                              First Data                                                                                                         Page 9 of 24




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                 34946            7/13/2019 12:18:43       7114/201912:IS:17              11.94      Sl.00
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                                  7/131291912:18:◄l        7/141201912:IS: 11             11.94                Sll.94     S.00    $352.44    S3S2.44 52,381.5
                                  PM                       AM
                                                              Shift/Break Total           59.78                $59.78     $.00                    .54 $8,896.6
                                                                       Job Total          S9,?8                S59.78     s.oo                          $8,896.6
                                                                  Employee Total          59.78                S59,78     S.00                          $8,896.6
                     DELVALLE, YONATBAN                                               Payroll ID:
                        BUSSER
                              ShiO.
                     34751        71512019 5:32:19 PM 7/S/2019 11:11:11 PM                 5.6S      $1.00
                                  7/~ 1, $:31:191111 7/5n019 li:11:ll
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                     34775         7/6/20J9S:18:l l PM 716/l019 ll:00:39 PM                5.54      $1.00
                                   7/61)619 5:28:ll PM 7/6/201911:to:39
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                     34808         7/812019 10:36:18         7i8/20l9l:ll:JO PM            3.75      $1.00
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                                   7/ll/2019 10:3,:18        7/812019 2121,30 PM
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                     34819         7/11/2019 5:32:38 PM 7/812019 8:291l7 PM                2.94      Sl.00
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                     34845         7/9!2019 S:38:i>' PM 719/2019 11127:28 PM               5.82      $1 .00
                                   7/9/2019 5138:05 PM 7/911019 11:27t28                   S.82                 SS.82    S.00
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                     34875         7/10/2019 S:36:18 PM 7/1 11201912:41:IS                  7.08     Sl.00
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                                   1/10/2'19 5:36:11    711112019 12:41: 15                7.08                 $7.08    S.00       s.oo
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                     34953         1/1312019 5:30:17 PM 711412019 12:19:31                 6.82      $1.00
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                      34990         7/1512019 10:39:30       7/1512019 3:10:13 PM           4.51     $1.00
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              Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 55 of 128
                Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 55 of
                                                     128

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                      AUGUSTO ERIK                        MIGUELN. IDELFONSO LEONEL TOTAL
CESAR                 $   95.00 $    -                    $      - $    115.00 s 160.00 $ 370.00 ti
JOSE ROMERO            $ 189.00 $    -                    $    75.00 $   80.00 s    -   $ 344.00
JOSE HERNANDEZ         $    - $ 183.00                    $    75.00 $  100.00 $    -   s 358.00 l--
JAIME                  $    -   $    -                    $      - $    175.00 s 180.00 s 355.00.,.
MIGUEL NAVA            $    -   $    -                    $      - $       - $ 90.00 s 90.00
YONATHAN               $  20.00 $ 110.00                  $    90.00 $   65.00 s  50.00 $ 3!S.00 ~
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GERARDO                   $    85.00 $            90.00 $         15.00 $         130.00 s          155.00 $   475.00 ~ ~12.s·,         = 88=¼ s~v
ROGER                     $    45.00 $            40.00 ·$       115.00 $         150.00 $           50.00 s   400.00       88. 15 :;::    -           -   588.'l 5.✓
MARIANA                   $    25.00 $            25.00 $           -     $          -                     s so.oo          -~1)   ;;     5"1 .1<> .
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TOTAL -                   $   459.00 s           448.00 s       370,00    $       815,;00   $       68s~oo S 2,717.00
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.A.JUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

     FECHA            AUGUSTO                   ERIK          TOTAL            50% C/U                 J

           7/4/2019       s       -   ,S            -     $          -    s           -         /
           7/5/2019       $    188.86 $          179.88   $      368.74   $        184.37   !


                               159.74 $          141.48   $      301.22   $        150.61
           7/6/2019       $
          7/11/2019       $    250.86       s    367.34   $      618.20   $        309.10
                                                                                   467.93
          7/12/2019       s    479A6        $    456.40   $      935.86    $
                                                                          ,$       343.29
          7/13/2019       $    334.13       $    352.44   $      686.57
                          S 1,413.05        S 1,497.54    $   • 2,910.59 • $     1,455.30
     TOTAL




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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 56 of 128
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                                       128

                      Company Code          Loe/Dept         Number Pa~e                          Earnings Statement
                      RA/ 46A 22303671 01/                   3350850 1 o 1
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                                Period Starting:     07/18/2019
                      Miami, FL 33131                                                             Period Ending:       07/31/2019
                                                                                                  Pay Date:            08/02/2019




             Ta)(able Marital Status:         Single
             Exempijons/Allowances:              Tax Override:                                               Erik Chavez
                   Federal:    O                    Federal:
                   State:      o                    State:                                                   2130 SW 122Ave
                   Local:      O                    Local:                                                   Miami, FL 33175
             Social Security Number:          XXX-XX-XXXX


Earnings                      rate       hours/units             this period      year to date            Other Benefits and
                                                                                                          lnfonnation                             this period      ):ear to date
Tipped hours              5.4400              71.38                  388.31          6148.69
Cash tips                                                              0.00          1988.94              Tip Credit                                    215 .57       3506.95
Cash Tips owed                                  0.00                1554 . 10       24200 . 07            Total Hours Worked                             71.38        1141.33

                 Gross Pay                                       Sl,942.41        $32,337.70
                                                                                                          Deposits
                                                                                                          account number                         transit/ASA           amount

                       Statuto!X Deductions                      this !!!J!riod   ):ear to date           XXXXXX0207                            xxxxxxxxx             1557.92
                       Federal Income                               - 235.89         3952.36
                       Social Security                              -120 .43         2004.94
                       Medicare                                       -28.17          468.90

                       Net Pay                                   $1,557 .92




                                                                                                         Your federal taxable wages this period are   $1,942.41




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080                                                     Pay Date:                    08/02/2019
                 Miami, FL 33131




                 De   siled to the account
                                                                                                                               -c~
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                                 Erik Chavez
                                 2130 SW 122 Ave
                                 Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 57 of 128
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                                       128



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                                 RESUMEN PAYROLL
          NOMBRES Y APELLIDOS           ~. 18-/'i /-::, -2..'1-1°'1        =l--z.5 ·II\ )=:,.'?,I-I °I    TOTAL
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         LAHOUD ROGER                        '?;'?,,so                        o'l,oq                     ~,SCI
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     Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 58 of 128
"      Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 58 of
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                                                       Job Total                                5309.82         S.00          S.00       S.00       S.00


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                                                Employee Total                                  $309.82         S.00          S.00       S.00       S.00
         CHAVEZ, ERIK                                                Payroll ID;
             Server
                 Shifts
         35070      7/18/2019 10:47·51     7/1 8/2019 6: 15:36 PM         7.46       $1,00
                   AM
                    7/18/2019 10:47:51  7/18/2019 6:15:36                 7,46.                                 S.00
                                        PM
                                                                                                  S7.46                 S2l2.7S       $212.75 Sl,212.6
                    AM
         35085      7/18/20196:15:4I PM 7/18/2019 10:28:44                4.22       $1.00
                                        PM
                    7/18/2019 6:15:41   7/18/2019 10:28:44                4.22                    S4.22         $.00         $97.16    S97.16    $897.1S
                    PM                     PM
         35086      7118/2019 l 0:'2&:55   7118/2019 I0:30:42               .03      $1.00
                    PM                     PM
                    "7/ 18/201910:28:SS    7/18/2019 10:J0:42               .03                    $.03         S.00           S.00       S.00      S.00
                    PM                     PM
         35098      7/19/2019 10:29:42     7/19/201910:50:57             12.35       $1.00
                    AM                     PM
                    7/19/2019 10:29:42     711912019 I O:S0:57            12.35                  S ll.35        $.00    $264.40       $264.40 $1,378.8
                    AM                     PM
         35127      7/2012019 12:26:37     7/20/2019 11:54:37             11.47      $1.00
                    PM                     PM
                    7/20/2019 12:26:37     7/20/2019 I 1:54:37            11.47                  $11.47         S.00    S362.6S       S362.6S Sl,173,6
                    PM                     PM
         35241      71251201910:41 :52     7/25/2019 1025·42              11.73      $1.00
                    AM                     PM
                    7/lS/201\l 10:41 :52   7/2~/2019 10:25:42             11.73                  SI t.73        S.00    S496.l2       S496.12 $2,069.3
                    AM                      PM
         35270      7/26/2019 10:39:31      7/26/2019 J : 14:28 PM         4.58      $1.00
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                    7n6/2ot9 10:19:31       7/26110 19 3:14:28             4.58                   $4.58         S.00    SIS9.87        $159.87   $842.85
                    AM                    PM
         35276      7/2612019 l :14:30 PM 7/26/20197:23:54 PM              4.16      $1.00
                    7/26/2019 3:14:JO       7/26/2019 7:lJ:S4              4.16                   S4.l6         $.00     $120.65       $120.65   $951.00
                    PM                   PM
         35287      7/26/2019 7:23:57 PM 7/2612019 11:20:48                3.95      $1.00
                                         PM
                    7126/20 19 7:23:57      7/26/2019 11 :20:41!           3.95                   $3.95          S.00        $78.00     578.00   $491.45
                    PM                      PM
         35289      ?n.612019 11 :25:26     7/26/2019 11 :25:35              .00     $1.00
                    PM                      PM
                    7/26/2019 IJ:lS:26      7/26/2019 11:lS:J!I              .00                    $.00         $.00          $.00       $.00      s.oo
                    PM                      PM
         35306      7(27/2019 12:19:50      7127/2019 11 :45:35           11.43       $1.00
                    PM                      PM
                    7/2712019 12:19:S0      7/27/2019 11 :4SiJS           11.43                  $11.43          s.oo    $14S.3I       5145.31   $87S.20
                     PM                     PM
                                              Shift/Break Total           71.38                  $71.38          s.oo                            $9,902.0
                                                        Job Total         71.38                  $71.38          S.00                            $9,902.0

                                                 Employee Total           71.38                   $71.38         $.00   SI            Sl,936.91 $9,902.0
          DEL VALLE, YONATHAN                                         Payroll ID:
                 BUSSER                                                                                                       \ ~SL\ . \0•
                 Shills
         35134      7/20/2019 5:48:04 PM 7/21/2019 12:12:31                6.41       $1.00
                                            AM

                     First Data                                                                                                            Page 11 of 27
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                           Case 1:20-cv-22603-JG
                             Case                 Document
                                  1:20-cv-22603-MGC        98-765-7
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     1t                                        AUGUSTO ERIK       MIGUELN. IDELFONSO LEONEL GERARDO     TOTAL
           CESAR                               $  16LOO $     - s        - $    220.00 s 110.00 $ 25.00 $ SJC>.00
           JOS£ROMERO                          s 400.00 $ 10.00 s l J0.00 $      95.00 $    -   s   - s 615.00
           JOSE HERNANDEZ                       $   5.00 s 287.00 $   115.00 s   95.00 s    -       - s SOl.00                s
           JAIME                                $        -
                                                         $    -   s      -   s  185.00 s  80.00 $   - s 265.00
           MIGUEL NAVA                         s         -      $       -      $         -     $           -     $    30.00 $      - Is        30.00
             YONATRAN                          $         -      $     80.00    $       90.00   $         80.00   $   110.00   s    - s        360.00

             GE.lURDO                          s       l00.00   s    100.00 $          20.00   $        140.00 $     140.00   s    -      s   S00.00 ' 7'-")-f 8U.O:,
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             ROGER                             $        65.00   s     65.00 $         140.00   $        )55.00   s   25.00    s   15.00   s   465.00 .z.,~.JII:: t '-82-''f
             MARIANA                           s        30.00   $     30.00    $         -     s           -     $      -     $    -      s    60.00   ,1.t.q4:J.I.&¥       ::.
               TOTAL                           s            s sn.oo s 475.00 s
                                                       761.00                       970.00 s 495.00 s      40.00                          S 3.313.00

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               AJUSTE DE AUGUSfO PROENZA Y £JU)( CHA V£Z

                           FECHA               AUGUSTO              ERIK           TOTAL           50o/o C/U
                                   7/18/2019   $       37Q.74   s    309.91    $      680.65   $        340.33
                                   7/19/2019   s       582.61 $      264.40    s      847.01   $        423.51
                                   7/20/2019   $       693.90   s    362.65    s    1,056.SS   $        528.28
                                   7/25/2019   $       442.76   s    496.12    s      938.88   $        469.44
                                   7/26/2019   $       300.62   s    358.52    s      659.14   $        329.57
                                   7/27/2019   $       356.W    s    145..31   s      501.66   $        250.83
                          TOTAL                $ 2,146.98       S 1,936.91     s    4.683.89   s     2,341.95

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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 60 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 60 of
                                       128
                      Company Code
                      RA/ 46A 22303671
                                                 Loe/Dept
                                                 011
                                                              Number Pa~e
                                                              3376095 1 o 1
                                                                                               Earnings Statement
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                             Period Starting:     08/01/2019
                      Miami, FL 33131                                                          Period Ending:       08/14/2019
                                                                                               Pay Date:            08/16/2019




             Ta.x able Marital Status:         Single
             Exemptions/Allowances:               Tax Override:                                           Erik Chavez
                    Federal:    0                    Federal:
                    State:      o                    State:                                               2130 SW 122 Ave
                    Local:      0                    Local:                                               Miami, FL 33175
             Social Security Number.           XXX-XX-XXXX


Earnings                      rate       hours/units              this period   year to date           Other Benefits and
Tipped hours              5.4400               68.50                 372.64        6521. 33            lnformallon                             lliisperiod     year to date
Cash tips                                                              0.00        1988 . 94           Tip Credit                                  206. 87        3713. 82
Cash Tips owed                                  0 .00               1572.69       25772.76             Total Hours Worked                           68.50         1209.83

                 Gross Pay                                        Sl,945. 33    $34,283.03
                                                                                                       Deposits
                                                                                                       account number                         transit/ABA          amount

                       Statutory Deductions                       this period   year to date           XXXXXX0207                            xxxxxxxxx            1559.99
                       Federal Income                               - 236.53       4188 . 89
                       Social Security                              -120. 61       2125.SS
                       Medicare                                       -28.20        497.10

                       Net Pay                                    $1,559.99




                                                                                                      Your federal taxable wages this period are $1 ,945.33




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080                                                  Pay Date:                    08/16/2019
                 Miami, FL 33131




                 De                      uni                                                                                                                  amount
                 Checking DirectOeposit                                                                                                 xxxxxxxxx             1559.99




                                 Erik Chavez
                                 2130 SW 122 Ave
                                 Miami, FL 33175
     Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 61 of 128
       Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 61 of                                                    w
                                            128
              .NOMBRES Y APELLIDOS                       8 _\ - \°I          AL 6 - :, · •"f B-B-1~ AL8 -1«-t-1c;                TOTAL
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         DEL VALLE YONATHAN

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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 62 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 62 of
                                       128


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               &/1/2019 IO:lb-19     Kll/2019 9:36:33 PM              11.34     $1.00
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              1/1/lalt 11:14; 19     111 /2119 ,-.l6:.lJ P:\1         11.34             SI 1.34      S.00    $263.67        5263,67 51.,562.1
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    35456     &1212(11"9 10:38:01    ll/2/2019 10:1~:59 PM            11.63     $1.00
              AM
              112121It 11:Jl:tI      &tl/201; lt:IS:~                 11.63             $11.63       $.00   Sl77JJ          S177.l3 $2,064.6
               AM                   PM
    35487      S/3/201912:11:37 f'M 8/3/2019 10:49:~ PM               10.64     $1.00
              llllf2t1, 11:ll:J7     8/llU19 11:..9:5,a               10.64             StO..M       S.00   $216.25         $216.25 SJ,077.0
              PM                     PM
    35593     1,1/2019 10:33:29      &1812019 9:16:25 PM              10.72     $1.00
               AM
              11/B/lalt 11:lJ:.19    8/ll/211t 9:1'::25 P~l           10.72             SI0.72       S.00   Slll.30        Slll.30 $712.25
              AM
    35622     "12019 10:37:23         81912019 11:11 :JO PM           12.57     $1.00
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              &19'2119 IO:J7:lJ      819/2019 II : IL :J-0            12.57             SU.57        S.00   SW.67          $243.67 $1..371.l
              AM                     PM
    35649     1110!2019 12:18:16     &/10/2019 11:5-1:29              11 .60    Sl.00
              PM                     PM
              l/llf.Jtl9 ll:11:16    8/(0/2119 11:54:29               ll.60             Sll.60       s.oo   $167.86        $267.86 $1.525.5
              PM                     PM
                                       Shift/Break Total              68.50             $68.50       S.00 $1,302.08 Sl,.30?.08 $8,312.7
                                                  Jo,t, T1;1tal       ~.$0              S68..SO      S.00                 Sl,JO:J.08 $8,,)12.7
                                          Employee Total              68.50             s,uo         S.00                 $1,302.08 $8.,312.7
    DEL VALLE. YONATHAN                                           Payroll TD:



   35493
           BUSSER
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              8/3'20195:34:16 PM 8/412019 12:03:25                     6.49     $1.00
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   35S2S      8/5/2019 I 0:53:28  8/5/2019 J:25:12 PM                  4.53     Sl.00
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   35531      8/512019 5:38:27 PM 8/5/2019 8:35:42 PM                 2.95      $1.UO
             &'Sll019 5:J8:27 Pllf l/~019 8:3~:42 PM                  2.95               $1.95       s.oo      S.00            S.00      S.00
   35553      816/l019 S:SO:S2 PM 8/6/2019 IO:S2: 11 PM                5.02     Sl.00
             8Nlll9 5:51:52 PM 8/6/2019 IO:Sl: II                     5.02               SS.01       s.oo      S.00            S.00      S.00
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   35579      IVl/2019 .5:....:3.5 J>M 8/7/2019 IO:«:J 7 PM           5.00      Sl.00
              &n/2019 5:44:35 PM &n/2019 11:44: 17                    5.00               $5.00       S.00      S:00            s.oo      S.00
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   35656      8/10/2019 S:43:19 PM 8/IOf.2019 11:.55:29               6.20      SLOO
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              8/I0/2119 5:43:29     l/lf/101911~:29                   6.20              S6.20        S.00      s.oo            $.00      S.00
              PM                    PM
   35685      8/12/2019 10:47:07    8/12/2019 3:00: 16 PM             422       $1.00
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              8/12/2019 10:47:07    8/12/2019 3:00: 16                4.22              S4.2l        $.00      S.00            S.00      S.00
              First Data                                                                                                       Page 10 of 2-4
                  Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 63 of 128
                    Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 63 of
                                                         128

r       CESAR
        JOSE ROMERO
                           AUGUSTO ERIK
                           $
                           $
                              155.00 $                  -
                                                            MIGUELN. IDELFONSO LEONEL
                                                            $     -   $
                                                                                          GERARDO TOTAL
                                                                           45.00 $ 142.00 $   65.00 s 407.00
                              315.00 $                  -   $   60.00 $    80.00                    $ 455.00
       JOSE HERNANDEZ          $        l].QO   $    198.00 $   69.00 $   110.00                    $ 394.00
       JAIME                   $         -      $        -       $          -     $       145.00 $      145.00                  $   290.00
       MIGUEL NAVA             $         -      $        -       $          -     $          -      $    80.00                  $    80.00
       YONATHAN                $         -      $    100.00 $            45.00    $       100.00    $    70.00                  s   315.00
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        GERARDO                $       80.00 $          60.00 $           9.00 $          130.00 $      150.00               429.00 t-P{f;.!.i-,1{, Z.$'}:,-:
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        ROGER                  $       80.00 $          80.00 $         100.00 $          140.00 $       40.00 $   20.00 $ 460.00 ~ Gf]. ~ =- f668-'fO
        MARIANA                $       50.00 $          50.00 $            -      $          -      $    20.00           $
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       I                   l
        AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

             FECHA             AUGUSTO              ERIK             TOTAL            SO% C/U
                   8/1/2019 $          275.20   $    288.67      $       563.87   $       281.94
                   8/2/2019 $          647.61   $    324.08      $       971.69   $       485.85
                   8/3/2019 $          492.17   $    216.25      $       708.42   $       354.21
                   8/8/2019 $          501.25   $    133.30      $       634.55   $       317.28
                  8/19/2019 $          503.79   $    243.67      $      747.46    $       373.73
                  8/10/2009 $          570.47   $    267.86      $      838.33    $       419.17
             TOTAL             S 2,990.49       S 1,473.83       $    4,464.32    s     2,232.16

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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 64 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 64 of
                                       128
                      Com.panv Code         Loe/Dept         Number       ~
                                                                                               Earnings Statement
                      RA/ 46A 22303671 01/                   3401lOO 1011
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                             Period Starting:     08/15/2019
                      Miami, FL 33131                                                          Period Ending:       08/28/2019
                                                                                               Pay Date:            08/30/2019




               Taxable Marital Status:        Single
               Exemptions/Allowances:            Tax Override:                                            Erik Chavez
                    Federal:    0                   Federal:
                     State:     o                   State:                                                2130 SW 122Ave
                    Local:      0                   Local:                                                Miami, FL 33175
               Social Security Number.        XXX-XX-XXXX


Earnings                      rate       hours/units             thispeliod     vear to date           Other Benefits and
                                                                                                       lnf6mlation                             this period     year to date
Tipped hours              S.4400              71.98                 391. 57        6912.90
Cash tips                                                              0 . 00      1988.94             Tip Credit                                  217.38         3931.20
Cash Tips owed                                  0.00               1395.64        27168.40             Total Hours Worked                           71.98         1281.81

                 Gross Pay                                       $1,787.21      $36,070.24
                                                                                                       Deposits
                                                                                                       account number                         transit/ASA          amount

                       Statutory Deductions                      this period    year to date           XXXXXX0207                            xxxxxxxxx            1448. 75
                       Federal Income                              -201. 74        4390.63
                       Social Security                             -110.80         2236.35
                       Medicare                                      -2 S. 92       523.02

                       Net Pay                                   $1,448.75




                                                                                                      Your federal taxable wages this period are $1 ,787.21




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080
                 Miami, FL 33131
                                                                                               Pay Date:                    08/30/2019



                 De   sited to the ccou
                 Checking DirectDeposit
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                                                                                                                            £v xxxxxxxxx transit/ASA          amount
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                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 65 of 128
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                                       128




                  HOMBRES Y APELLIDOS                    8/15 AL8}c.\                  a/ic...    AL    el'Z8                 TOTAL
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                        GABRIEL GALARZA
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                        HERNANDEZ JOSE
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                            LAHOUD ROGER
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                      LEONARDO CASTANO
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                      MORENO IDELFONSO
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                       PROENZA' AUGUSTO
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                       RAMIREZ JOSEFINA
                                              I                      ~1,'3"f              31-LS\                              ¾,3S
                       PABLO RODRIGUEZ
                                                                 \t,, 'b \                 9,&~                               -z~Jqe
      '                     ROMERO JOSE
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                            SUPPLYS JACOB
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 66 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 66 of
                                       128



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   nm          Sb!ftStact            Shift End                Hww          Rm       .t.l.\'.    IJsll       I.mi                   ~

    CHAVEZ, ERIK                                             Payroll 10:
           Server
            Shifts
                                                                                               ~ \10 \1'I
   35765       8/1512019 10:28:31    811512019 10:03:05          11.58     $1.00
               AM                     PM
               811512019 10:28:31    8/15/2019 10:03:05          11.58               Slt.58         $.00    $221.SS    $221.SS $1,495.3
               AM                     PM
   35792       8/1 6/2019 10:26:27   8116/2019 11 :07:57         12.69     $ 1.00
               AM                     PM
               8116/2019 10:26:27    8/16/ 2019 lt:07:57         12.69               $12.69         $.00    $262.20    S262.20 $1,613.7
               AM                    PM
   35820       811712019 12:15:50    8/18/20 19 12:21:57         12.10     $1.00
               PM                    AM
              8/17/201912:15:50      8/18/2019 12:21:57          12.10               $12.10         s.oo    $209.19    5209.19 $1,299.3
               PM                    AM
   35925       8/2212019 9:39:57     8/2212019 8:52:07 PM        11.20     SJ.00
              AM
              8/22/2019 9:39:57      ll/22/2019 8:52:07          11.20               $11.20        $.00     $186.17    S186.17 $1,086.9
              AM                     PM
   35951      812312019 I 0:35 :09   8/23/2019 11 :21 :25        12.77     $1.00
              AM                     PM
              8/23/1019 10:35:09     8/2312019 11:21:25          12.77               $12.77        s.oo     $508.64    $508.64 $2,926.S
              AM                     PM
   35977      8/24/2019 12:04:38     8/24/2019 11:42:SS          I J.64    $1.00
              PM                     PM
              8/24/10)9 12:04:38     8/24/2019 II :42:5S         11.64              $11.64         $.00     $214.40    $214.40 Sl,496.8
              PM                     P!\t

                                       Shift/Break Total         71.98              $71'98         $.00 St,602.IS     $1,602.15 $9,918.7
                                                 Job Total       71.98              $71.98         S.00                 ,602.15 $9,918.7

                                           Employee Total        71.98               571.98        s.oo                            $9,918.7
   DELVALL~YONATHAN                                          Payroll ID:
                                                                                                                        4
  35830
       BUSSER
           Shifts
              8/1712019 5:33:38 PM 811812019 12:31 : 10
                                     AM
                                                                  6.96     $1.00
                                                                                                   t       f 3q5. "==

              8/17120)9 5:33:38      8118/2019 12:31:10           6.96                $6.96        $.00        $.00         S.00      s.oo
              PM                     AM
  35860       8/1912019 10:31 :23    8119/2019 2:45:27 PM         4.23     $1.00
             AM
             8/19/2019 10:31:23      8/19/2019 2:45:27            4.23                $4.23        s.oo        s.oo         S.00      s.oo
              AM                     PM
  35866       8/19/2019 S:29:04 PM 8/19/2019 9:58:09 PM           4.48     $1.00
             8119/2819 5:29:04       8/19/2019 9:58:09            4.48                $4.48        $.00        S.00         S.00      $.00
              PM                     PM
  35887       8/2012019 5:29:04 PM 8/2012019 9:40: 11 PM          4.19     $1.00
              8/2011019 5:29:04      8/2012019 9:40:11            4.19                $4.19        $.00        $.00         $.00      s.oo
              PM                     PM
   35913      8/21/2019 5:32:40 PM 8/2112019 11 :29:10            5.94     $1.00
                                     PM
              8/2112019 5:32:40    8Jl11201911:29:IO              S.94                SS.94        s.oo       $.00        S.00        $.00
              PM                   PM
   35986      8/24/2019 S:33:24 PM 8/2512019 12:12: 10            6.65     $1.00
                                   AM
              8/2412019 5:33:14
              PM
                                   8125/2019 U.112:10
                                   AM
                                                                 6.65                 $6.65        s.oo       s.oo        S.00        S.00

   36017      8/26/2019 I0:33:49   8/2612019 3:02: 11 PM          4.47     SJ.OD

               First Data                                                                                                 Page 10 of 27
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                                                       128
                             ;~




                       AUGUSTO ~RIK'"                             MIGUELN. IDELFONSO
                                                                ::=r                                      LEONEL TOTAL
CESAR                   $ -~ «(f. $                           -   $      - $     10.00                    $   50.00         s
                                                                                                                      108.004
JOSE ROMERO .         ,;$ ...- 291.00 $                       -   $    98.00 $  125.00                    $     -     514.00s
JOSE HERNANDEZ          $       75.00 $                    232.00 $    42.00 $   80.00                    $   40.00 s 469.00
JAJME                  $                   -        $         -   $      - $    235.00                    $ 100.00 $ 335.00
MIGUEL NAVA            $                   -        $           -        $        -        $          -   $   40.00    40.00s
YONATHAN               $                   -        $        85.00 $           105.00 $           - 50.00 $   40.00 $ 280.00

GERARDO                $              100.00        $      100.00        $      60.00 $            205.00    $   155.00 $   620.00 ~, l&l/ .'8 = 80l/ · ~
ROGER                  $               80.00        $       80.00        $      95.00 $            110.00    $    40.00 s   405.00 ~ fg::j_l:5~ - -
~A              ..      $              30.00        s       30.00        $        -        $        20.00    $      - $ 80.00 ~ GJ .. ~.: 8'1.~
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                                                    s      527.00        $     400.00      $       835.00    $   465.00 $ 2,851.00
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        FECHA          AUGUSTO                          ERIK                 TOTAL             50%C/U
           8/15/2019
           8/16/2019
                       $
                       $
                          306.51
                          412.12
                                                    $
                                                    $
                                                           221.56
                                                           262.20
                                                                         $
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                                                                               674.32
                                                                                           $
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                                                                                                    264.04
                                                                                                    337.16
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           8/17/2019   $  571.26                    $      209.19$             780.45      $        390.23
           8/22/2019   $  265.93                    $      186.17$             452.10      $ -·     226,05
           8/23/2019   $  277.14  $                        508.64$. .          785.7'8_1
                                                                               $                    392.89
           8/24/2019 $     629.10 $                       214.40 $             $
                                                                               843.50               421.75
        TOTAL          S 2,462.06 S                     1,602.16         s
                                                                      4,064.22 $                  2,032.11
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 AJUSTE DE IDELFONSO MORENO Y MIGUEL NAVAS

        FECHA                TOTAL
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                                                    50%C/U
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           8/18/2019 $                620.00 $        310.00
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 68 of 128
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                                       128
                       Company COde
                       RA/ 46A 22303671 01/
                                              Loe/Dept        Number Pa~e
                                                              3425578 1 o 1
                                                                                               Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                            Period Starting:     08/29/2019
                       Miami, FL33131                                                          Period Ending:       09/11/2019
                                                                                               Pay Date:            09/1312019




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                           Erik Chavez
                       Federal:   o                  Federal:
                       State:     0                  State:                                               2130 SW 122Ave
                       Local:     0                  Local:                                               Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


E.amings                        rate      hours/units             this period   veartodata             Other Benefits and
                                                                                                       Information                            this period    year to date
Tipped hours                5. 4400            34. 5S                 187.9S       7100.85
Cash tips                                                               0.00       1988.94             Tip Credit                                 104.34        4035. 54
Cash Tips owed                                   0.00                 827.22      27995.62             Total Hours Worked                          34.55        1316.36

                  Gross Pay                                       Sl,015.17     $37,085 . 41
                                                                                                       Deposits
                                                                                                       account number                        transit/ABA         amount

                        Statutory Deductions                      this period   year to date           XXXXXX0207                           xxxxxxxxx            840.68
                        Federal Income                                - 96.82      4487 . 45
                        Social Security                               - 62.95      2299 . 30
                        Medicare                                      - 14.72       537 .74

                        Net Pay                                     $840.68




                                                                                                      Your federal taxable wages this period are $1,015.17




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080                                                 Pay Date:                    09/13/2019
                  Miami, FL 33131




                  De    sited to Iha account                                                                                                                 amount
                  Checking DirectDeposit                                                                                                                     840.68

                                                                      \
                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
  Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 69 of 128
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                                         128




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           n   Ji I ALEJANDRO C CHEF                 ~          . 40        ~~.3B+ ~·~ · ,f.11": -~3,jlf
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               CONSULTORA LATINOAMERICANA Tl

                 T&S SUPPLIES SERVICES
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                     JACOB SUPPLVS
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                     LUX PRO DETAIL

                 AT YOUR FINGERTIPS 81

                     HEDIXON BUENO
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                   CASTANO LEONARDO
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                   CASTRO ALEXANDER
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                       CHAVEZ ERIK
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                  DELVALLE YONATHAN
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                       DIAZ LEONEL
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                        DIAZ JAIME
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                  FERNANDEZ GERARDO
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                  FERNANDEZ GUSTAVO

                    GABRIEL GALARZA
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                     PINTO MARIANA
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                    PABLO RODRIGUEZ
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                      ROMERO JOSE
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 70 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 70 of
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                                     9/~/2019 I l;l4:2S PM         6.30        $9.50
             9/511019 5:06:20 PM 9/5/2019 11 :24:25                6.30                 $59.86       s.oo       $.00       S.OQ         $.00
                                     PM
             .919/2019 5:0S:29 PM 9/1012019 12:04: 19              6.98        $9.50
                                     AM
             919/2019 5:~:29 PM 9/lDn019 12:04:19                  6.98                 $66.32       5.00       $.00       S.00         $.00
                                  AM
   36423     9/11/2019 S:04:39 PM 9/11/2019 11:02: 16              5.96        $9.50
                                     PM
              9111/2019 5:04:39
              PM
                                     9/11/2019 11:02: 16           5.96                 $56.62       $,00       s.oo       S.00         s.oo
                                     PM
                                       Shift/Break Total          35.26                $334.95       $.00       S.00       .$,00        S.OI>
                                                  Job Total                            $334.95       s.oo       $,00       s.oo         s.oo
                                             Employee Total
                                                                  35.26 ) /
                                                                  35.26 •              5334.95       $.00      $.00        $.00         S.00
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   CHAVEZ, ERIK
        Server
                                                              Payroll ID:
                                                                                                                                                     l
         Shifts
   36107    8/2912019 10:23:44        8/2912019 9:S8:S8 PM        I l.59       $1.00
              AM
              811912019 10:13:44      8/2912019 9:58:58           11.59                Sll.59       $.00     $66.78     $66.78 $912.05
              AM                      PM
   36141       8/30/2019 10:44: 18    8/30/2019 7: 10:26 PM        8.44        Sl.00
               AM
              8/30/2819 10:44: 18     8/3012019 ?:10126            8.44                 $8.44       $.00     $54.58     554.58 $336.10                    I
   36153
              AM                      PM
               8/30/2019 7: 12: 1I PM 8/30/2011110:34;31           3.37       .$1.00                                                            !. I
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               8/30/2019 71ll1lt
                                      PM
                                      8/30/2019 10:3':31           3.37                 $3.37       $.00    5147.7S    $147.75 $856.15
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               PM                     PI\I
   36169       8131/201912:11:23      8/31/2019 11:20:17          11.15       .$1.00
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              PM                      PM
               8/31/201912:11:23      8131/2019 11:20,17          11.15                $11.15       $.00     $55;80     $55.80 $729.25
               PM                     PM
   36277       9/S/2019 3:21 :40 PM 9/512019 3:2 1:49 PM            .00       '$1.00
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               915/2019 3:21:.C0 PM 9/S/2019 3:31:49 PM             .00                  s.oo       $.00       $,00       $.00        s.oo
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                                        Shift/Break Total         34,5S                534.55       $.00    $324.91    .$324.91 $2,833.5        ~
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                                                  Job Total       34.55                534.55       s.oo                           $2,833.5
                                             Employee Total       34.55                S34.SS       $.00                           S2,833.S
    DELVALLE, YONATHAN
           BUSSER
            Shifts
                                                              Payroll ID:
                                                                                                      i     il.~                                r

   36110      8129/2019 10:28:03     8/29/2019 3:01:26 PM          4 .56      $1.00
              AM
              8129/1019 10:28:03     8/l9120193:0l:l6              4.56                 $4.56       s.oo       $.00       $,00        s.oo
              AM                     PM
   36138       8130/2019 10:26:IS    8130/2019 3:18:13 PM          4.87       $1.00
               AM
               8f.3et2019 l0:26tlS
               AM
                                  I/J0/2019 3:18:13
                                  PM
                                                                   4,87                 $4.87       $.00       s.oo       s.oo        s.oo
   36176       8/31120J9S:29:08PM 81311201911:30:31                6.02       $1.00
                                     PM
              8131/2019 5:29:08
               PM
                                     8/3lnOl9 ll:30:31
                                     PM
                                                                   6.02                 $6.02       $.00       s.oo       $.00        s.oo
   36255      9/412019 .S:32:38 PM 91412019 10:30:12 PM            4.96       SJ.00
               First Data                                                                                                 Page 11 of24
                            Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 71 of 128
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                                      AUGUSTO · ERIK      MIGUELN. IDELFONSO                                LEONEL         GERADO TOTAL
               JOSE ROMERO            $   217.80 $  24.50 $   101.50 $  105.00                              $   34.00      $     - $ 482.80
               JOSE HERNANDEZ         $    107,50      s
                                                    87.50 $   136.50 $  130.00                              $ 114.00       $  100.00 s 675.50
                                              -       -                          -                          $ 125.00       $     . $ 360.00
               JAIME
               MIGUELNAVA
               YONATHAN
                                      $
                                      $
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                                          223.30 $
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               GE~O                   $      60.00 $         40.00 $            15.00 $         80.00 $             115.00 $         .         $       310.00
                                                                                                                                                                l1-S.~   ,,~_,.5,.U
               ROGER                  $     120.00 $         50.00 $           140.00 $        140.00 $              75.00 $     30.00         $       SSS.00    I ~ .11     1"T32 ..f'
               MARIANA                $      15.00 $         15.00 $              -   $           -   $                - $           -         $        30.00
               TOTAL                  $


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                                            743.60 s
                                                1,2.
                                                            268.00 $
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                                                                               453.00 $        760.00 $

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                                                                                                                    617.00 $    130.00

                                                                                                                          r,zs.~z              S 2,971.60


                                                                                                                                                   /
                                                                                                                                                                $ 2,971.60




               AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

                       FECBA            AUGUSTO      ERIK                 TOTAL            50%C/U
                           8/2/2019   $     355.42 $   66.78          $      422.20    $       211.10
                          8/30/2019   $     472.83 $  202.33          $       675.16   s       337.58
                          8/31/2019   $     230.48 $   55.80          $       286.28   $        143.14
                           9/5/2019   $     400.24 $     -            $      400.24    $           .
                           9/6/2019   $     445.33 $     -            $      445.33    $           -
                           9/7/2019
                       TOTAL
                                      $     457.00 $
                                      s· .2~LJ0 $ 324,91
                                                         -            $
                                                                      $
                                                                             457.00
                                                                           2,686,21
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 72 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 72 of
                                       128
                      Company Code                 Loc/Oept     Number Pag~                        Earnings Statement
                      RA/ 46A 22303671 011                      3450011       Ton
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                                 Period Starting:     09/12/2019
                      Miami, FL 33131                                                              Period Ending:       09/25/2019
                                                                                                   Pay Date:            09/27/2019




                 Taxable Marital Status:         Single
                 Exemptions/Allowances:             Tax Override:                                             Erik Chavez
                      Federal: O                       Federal:
                      State:      o                    State:                                                 2130 SW 122 Ave
                      Local:      0                    Local:                                                 Miami, FL 33175
                 Social Security Number:         XXX-XX-XXXX


Earnings                       rate      hours/units                this period     year to date           Other Benefits and
Tipped hours               5.4400                71. 79                 390. 54        7491. 39
                                                                                                           lnfonnation                            lhis period     year to date
Cash tips                                                                  o.oo        1988.94             Tip Credit                                 216.81         4252.35
Cash Tips owed                                    0.00                1647. 40        29643.02             Total Hours Worked                           71. 79       1388.15

                  Gross Pay                                         $2,037.94       $39,123.35
                                                                                                           Deposits
                                                                                                           account number                         transit/ASA         amount

                       Statuto!)i'. Deductions                      thiSl1!!riod    year to date           XXXXXX0207                            xxxxxxxxx           1625 .14
                       Federal Income                                 - 256.90         4744.35
                       Social Security                                -126.35          2425.65
                       Medicare                                         -29. 55         567.29

                       Net Pay                                      $1,625.14




                                                                                                          Your federal taxable wages this period are $2,037.94




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                   Pay Date:                    09/27/2019



                  Dep0sited to the account                                                                                                                       amount
                  Checking DirectDeposit                                                                                                   xxxxxxxxx             162S.14




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 73 of 128
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                                       128
         NOMDRES Y APELLIDOS                                                                                         TOTAL
                                        9 - I Z. -   1'1 AL'\ - l 8 · 19   9 -19    -l9AL 9-Z.:5-J°J                                       '
   ALEJANDRO C CHEF
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   CONSULTORA LATINOAMERICANA
                                               : , ~ 10·:,                       ~Cf . e~                           -ii,'s,
   T&S SUPPLIES SERVICES
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   JACOB SUPPivs
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   LUX PRO DETAIL
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   GLOBAL CASTEL
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   AT YOUR FINGERTIPS 81
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   LEONARDO CASTANEDA
                                                35.-z..,                                                                  3C\,q'1
   CASTRO ALEXANDER
                                                 \6 ,8-Z...                         2 _Lf, '$""':>                   y ~ ::, S     I

   CHAVEZ ERIK
                                                ?:>$, 1'l                          ·:,G,01                          --=l 1•➔q
   DEL VALLE VONATHAN
                                                36,ss                             :h,o°I                                  Z.16<-i
   DIAZ LEONEL
                                                3Z185                              ~5     SC\                       G8 1Y'-I
   DIAZ JAIME
                                                J'-1109                            -Z.81 :;,":,:,                   $i ,Y(1
   FERNANDEZ GERARDO
                                                ·J.;3 s,                           3-z.~~                           6GI '-f,
   FERNANDEZ GUSTAVO
                                               31,1~                               )9, b'i                          "16,qz.
   GALARZA GABRIEL
                                                36,s,                              ~qcYB                            16, 7'9
   HERNANDEZ JOSE
                                          ~     YG,c;.3                        ~ Y 6,s'-1                             93           1   1b
   LAHOUO ROGER
                                                :~:l-L$~                            --J..l·:.1 :\ b                  ~l.6~
   MORENO IOELFONSO
                           .                    :A, oC\                            ·3,, ,-:,                         --=1 G.               z,
   NAVA MIGUEL
                                                -Z. ~,~~                           -;~-y 1~0                        L\8                11
   PINTO MARIANA
                                               ?...9,of.                            7J:\ ~-~-                       CS'::/, 8B
   PROENZA AUGUSTO
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   RODRIGUEZ PABLO
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                                                                                       -?                            90.,,1
   ROMERO JOSE                                                                                                                      '
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   SANCHEZ ANGEL
                           (q- ,~ -19) - ~ Lt\1..~v                        l        30.s~                             "°Y:),5y
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 74 of 128
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                                       128


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   r.s..m.   SbiftSt1&:1            Shift End               Hww.          Rm       till'.        Iim        Dill                  Slki
             9/19/2019 5:04:12    9119/2019 11:19:06            6.15                559.36          S.00       s.oo        5.00      5.00
             PM                   PM
   36759     9/2312019 4:58:17 PM 9123/2019 11:23:04             6.41     $9.50
                                  PM
             9/2312019 4:58:17    9/2312019 II :23:04            6.41               $60.92          $.00        s.oo       5.00      s.oo
             PM                   PM
   36782     9/2412019 S:06:40 PM 9/24/2019 I 1:30:25            6.40     $9.50
                                  PM
             9/2◄12019 5:06:40    9/2412019 II :30:?S            6.40               560.76          S.00        s.oo       s.oo      $.00
             PM                   PM
   36813     9/2512019 5:18:37 PM 9/l.S/2019 10:47:03            S.47     $9.SO
                                  PM
             9/1Sll019 5:18:37    9/2511019 10:47:0J             5 .47              $S2.00          s.oo        $.00       S.00      s.oo
              PM                   PM
                                      Shift/Break Total         43.35              $411.82          5.00        $.00       5.00      $.00

                                                Job Total       43.35              $411.82          S.00        s.oo       S.00      $.00

                                          Employee Total        43.35              $411.82          $.00        $.00       $.00      S.00

    CB.AVEZ. ERIK                                           Payroll ID:
        Server
         Shifts
    36455     9/12/2019 10:25:SO    9/12/2019 10:18:27          11.88     Sl.00
              AM                    PM
              9/12/1019 10:15:SO    9/12/2019 10:18:27          11.88               $11.88          $.00    $450.03     $4S0.03 $2,181.S
              AM                    PM
    36486     9/13/2019 10:40:33     9/1312019 6:43:13 PM        8.04     $1.00
              AM
              ,mnou 10:'4G;J;,     ,mnot9 ~:4):U                 8.04                 $8.04         $.00    $480.41     $480,41 $2,162.5
              AM                   PM
    36499     9/13/2019 6:43:23 PM 9/13/2019 11:25:20.           4.70     $1.00
                                     PM
              9/13/2019 6:43:23      9/13/2019 11:15:20          4.70                 $4.70         S.00    $266.13     $266.13 $1,073.4
              PM                     PM
    36S15     9/14/201912:40:18      9114/2019 11 :50:13        11.17     Sl.00
              PM                     PM
              9/1412019 12:40: 18    9/14/2019 ll :S0:13        11.17               Sll.17          S.00    $168.67     $168.67   $974.85
              PM                     PM
    36642     9/1912019 10:08:SS     9/19/2019 6:09:33 PM         8.01    $1.00
              AM
              9/19/2019 10:08:SS 9/19/2019 6:09:33               8.01                 S8.01         s.oo     $85.03      $85.03   583).56
              AM                   PM
    36659     9/19/2019 6:09:35 PM 9/191201910:02:27              3.88    $1.00
                                     PM
              9/19/201116:09:35      9/111/2019 10:02:27         3.88                  $3.88         5.00    ~0.94       $60.94   $494.45
              PM                     PM
    36676     9120/2019 I0;3 S:22    9/20/2019 S:43:08 PM         7.13    $1.00
              AM
              9/20/2019 10:35:22   9/20/2019 5:43:08              7.13                 $7.13         s.oo    $151.%     $151.96 S876AO
              AM                   PM
    36688     9/20/2019 5:43:11 PM 9/20/2019 11 :14:IS            5.52    $1.00
                                   PM
              9/20/2019 5:43:U     9/20/201911:14:IS              S.S2                 SS.S2         S.00    $150.34    $150.34   5792.70
              PM                     PM
    36706     9/2112019 12:08:46     9/21/201911:36:S2           11.47     $1.00
              PM                     PM
              11/21/1019 11:08:4'    9/21/2019 ll:36:S2         11.47                Slt.47          $.00                         $1,363.1
              PM                     PM
                                       Shirt/Break Total         7 1.79               $71.79         $.00                         $10,750.


              First Data
                                                                                               t \b~1'- f                   Page 12 of 30
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                                                                         128

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   ;5_                                         AUGUSTO !ERIK                              MIGUELN. lDl£LFONSO LEONEL                                                   GERARDO         TOTAL
  JOSE ROMERO                                  $          ·359_00 I $            20.00 $              104.~0                         $        60.00                    ·$              $   543.50
  JOSE HERNANDEZ                                                         $      330.00    $               65.00                      $       235.00      $    110.00    $      25.00   $   765.00
  JAIME                                                                                                                              $       220.00      $    145.00    $              S   365.00
  MIGUELNAVA                                                                          -                                                                  $     40.00    $              S    40.00
  YONATHAN                                     $.             137.oo     I$     101.00 I $                 83.00. 1 $ .                       40.oo    I s.   120.00    $              $   481.00

  GERARDO                     .                $    120.00               $ . 120.~o $                  3~.oo $. : , 165.00 $                                  13?..oo $           -    s   570.00   #2. 1.3.2=4
 1ROGER                  ..               l     $ . 6S.00                $ .·    65.00    $           140.00 $ .    100.00 $                                   p5.00 $         .. 15.00 $ 450.00    t21~~ .
 IMARIANA                                     r $ . · 30.00              s       30.00                                                                                s             -   s   60.00           .....,
  TOUL                                        l s.·       111.00         I s 666.-00 Is 42~_.sq I s· : sio.o•; I s 6!_s.oo 1s                                               . . 40~00 1s 3,214.so

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   AjusiE »E·AUGUSTO PRO;ENZAY.ERIK CHA:-VEZ · ·'·:\ v;.t,;/.':/~
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                                                                                                                                                                              113-z-i_:t
                FECHA
                    9/12/2019
                                               AUGUSTO
                                               .$
                                                                               ERIK
                                                       363.90 $ .· 450.03 $ · 813.93 $
                                                                                              TOTAL                                      50% C/U
                                                                                                                                             406.97
                                                                                                                                                                            - f =1-~B .,!!L
                   9/13/2019                    $      565.96            s-
                                                                   746.54 $ · 1,312.50 $                                                     656.25
                   9/14/2019                   $      491:23 $     ;1.68.67 $   665.90 $                                                     332.95
                    9/19/2oi9                  $      340.73 $     145.97 $     486.7Q . $                                                   243i3S
                    9/20/2019                  $      4.1,1.52 $   302.30 $     713.82 $                                                     3,56.91
                   9/21/2019                   $      560.73 $     262.71 $     823.44 $                                                     4,11.72
                TOTAL                          $    2,740.07 $ i,076,.22 $ ·4,816iZ~ $                                                     2,408~1$:::



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                                       128

                      Comp~ Code                 Loe/Dept    Number fa~                           Earnings Statement
                      RA/ 4      22303671
                      Grill Enterprises LLC
                                                 011         3474290  o        1
                      1450 Brickell Ave Suite 2080                                                Period Starting:     09/26/2019
                      Miami, FL 33131                                                             Period Ending:       10/09/2019
                                                                                                  Pay Date:            10/11/2019




                 Taxable Marital Status:      Single
                 Exemptions/Allowances:          Tax Override:                                                Erik Chavez
                      Federal:    O                 Federal:
                      State:      O                 State:                                                    2130 SW 122Ave
                      local:      O                 Local:                                                    Miami, FL 33175
                 Social Security Number:      XXX-XX-XXXX


                               rate      hows/units              this period       year to date           Other Benefits and
                                                                                                          lnfonnation                            this period     year to date
Tipped hours               5.4400             70.97                 386.08            7877 .47
Cash tips                                                              o.oo           1988.94             Tip Credit                                 214. 33        4466.68
Cash Tips owed                                   0.00              1347 .00          30990.02             Total Hours Worked                          70.97         1459.12

                  Gross Pay                                      Sl,733.08         $40,856.43
                                                                                                          Deposits
                                                                                                          accct1nt number                       1ransit/ABA          amount

                       Statutory Deductions                      this period       year to dete
                                                                                                          XXXXXX0207                           xxxxxxxxx            1410.66
                       Federal Income                              - 189.84           4934.19
                       Social Security                             - 107 .45          2533 .10
                       Medicare                                      -25 .13           592.42

                       Net Pay                                   Sl,410.66




                                                                                                         Your federal taxable wages this period are $1,733.08




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                  Pay Date:                    10/11/2019




                  Oe sited to the account
                                                                                                                               w=C,tt(.
                                                                                                                               . \~        Ire siVABA           amount
                  Checking DirectDeposit                                                                                                  xxxxxxxxx             1410.66




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
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                                       128




                              CONTROLPAYROLLSEMANAL

                                 9/26/19 AL
     NOMBRES Y APELLIDOS                       10/3/19 AL 10/9/19        TOTAL
                                   10/2/19
     ALEJANDRO C CHEF               43.11            39.02                   82.13
     CONSULTORA LATl...             37.87            35.82                   73.69
     JACOB SUPPLVS                  29.48            27.21                   56.69
     LUX PRO DETAl L                23.85            23.25                     47.1
     GLOBAL CASTEL                  38.22             37.3                   75.52
     AT YOUR FINGERTIPS 81          39.95             ~8.7                   78.65
     H_EDIXON BUENO            -i 40.84         #      41                    81.84
                                                                                    -
     CASTRO ALEXANDER               24.53            23.07                     47.6
     CHAVEZ ERIK                   34.87             36.11                   70.98
     DEL VALLE YONATHAN          ~ 45.49            37.14                    82.63
     DIAZ LEONEL                    38.2            39.68                    77.88
     DIAZ JAIME (SERVER)           14.97            15.34                    30.31
     DIAZ JAIME (BUSSER)           10.68             6.15                    16.83
     GERARDO{BARTENDER)            30.47            23.56                   54.03
     GERARDO ( SERVER)                               6.51                     6.51
     FERNANDEZ GUSTAVO             39.54            40.01                   79.55
     GALARZA GABRIEL            if 41.19          ~ 45.78                   86.97
     HERNANDEZ JOSE             ~ 42.79             39.87                   82.66
     LAHOUD ROGER                  32.91            37.83                   70.74
     MAVARE TIRSON                  35.56            35.18                  70.74
     MORENO IDELFONSO               14.34              0                    14.34
     NAVA MIGUEL                    30.61            26.67                  57.28
     PINTO MARIANA                   28.4             25.2                    53.6
     PROENZA AUGUSTO                34.95            35.63                  70.58
     RODRIGUEZ PABLO                40.59            37.21                    77.8
     ROMERO JOSE                      38             25.33                  63.33
     SANCHEZ ANGEL                  28.68             15.3                  43.98
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          JOl7fl019 S: •
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    37148     lO/                     PM          ,P,;\17:2J             4.71
                 8/2019 4:36:49 PM l           . ;,•.
                                      P ~01 ? 11:os: 11                 6.52           $9.SO
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              PM          . .        ~ft/8/2(11911!08:·U
    37182                                                                                                                                $.00
             10/9120 19 ◄:J1>·54 PM M
                                                                        6.52                           $61.97           $.00
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                                                                        5.53          $9.50
             111/9/201, 4:39154
             PM                      ~:/2019 IO:ll:◄1                                                                                                                $.00
                                                                        5.S3                           $52.53           $-. 00           $.00          $.00

                                       Sblft/Break Total               47.60                       $452. 16             s.oo             s.oo          $.00          s.oo
                                                  Job Total            47.60                       S452.16              s.oo             s.oo          $.00          s.oo
                                                                                 /
                                         Employee Total                47.60   v                   $452.•16             s.oo             S.00          s.oo          s.oo
                                                                  Payroll ID:

              First Data
                                                                                                                                                       Page 10 of 28




                       9/l6/ltl9 1.:36:23    9/26/2019 8:49:33                 10.22                       S10.22                s.oo
                       AM                    PM
            36862      9127/2019 10:43:35    9127/2019 11:38:53                 12.92         $1.00
                       AM                    PM
                       9127/2019 10:43:35    9/27/l019 ll:38:53                 \2.92                      $12.92                S.00    S3S2.69       $3S2.69 $1,704.2
                       AM                    PM
            36893      9/281201912:03:35     912l!/20l9 11:47:13                11.73         Sl.00
                       PM                    PM
                       9121/2019 12:03:35    9/1112019 ll:47:U                  11.73                      $11.73                S.00    $166.76       $166.76       $981.30
                       PM                    PM
            37017      10/3/2019 10:30:33    10/3120194:07:20 PM                 5.61         $ 1.00
                       AM
                       10/3/2019 11:30:33    Jt/3/2019 4:07,20                   5.61                         $5.61              $.00     $151.57      $151.57       $845.95
                       AM                    PM
            37023      10/31l0194:07:26PM 10/31201910:46:31                      6.65         SI.OD
                                             PM
                       10/3/1019 4:07:26     10/312019 10:46:31                  6.65                         $6.65              $.00      $85.27       $85.17       $534.25
                       PM                    PM
            37045      11114/2019 10:36:40   10/412019 7:34:08 PM                8.96         $1.00
                       AM
                       tol"2019 10:36:40 lf/4/2019 7:34:08                       8.96                           $8.96            s.oo     $253.62      $253.62 $1,132.7
                       AM                    PM
            37060      10/412019 7:34: ll PM 10/4/201910:53:IO                   3.32         $1.00
                                             PM
                       10/4/2019 7:34:11     10/41101!110:53:IO                  3.32                           $3.31            s.oo     $329.98       $329.98 Sl,S42.9
                       PM                    PM
            37062      I0/4/2019 10:59:48    I0/412019 II :00:02                     .00      SI.OD
                       PM                    PM
                       10/4/Ztl!I I0:59t48   l0/4/l019 tl :00:02                     .00                         S.00            s.oo           S.00          $.00          s.oo
                       PM                    PM
            37077      10/5/2019 12:03:56    10/512019 11:37:44                 JI.S6         $1.00
                       PM                    PM
                       10/5/ltl9 12:0J,56    10(512019' 11 :37:44               11.56                       Sll.56                $.00     $143.31      $143.31 Sl,037.3
                       PM                    PM
                                               Sblft/Break Total                70.97                       $70.97                s.oo   $1,661.77     Sl,661.77 $8,817.1
                                                           Job Total            76.97      ti               $70.97                s.oo   $1,661.17     $1,661.77 $8,817.1

                                                  Employee Total                70.97                       $70.97                s.oo   $1 ,661.77    $1,661.77 $8,817.1
            DEL VALLE, VONA.THAN



            36831
                    BUSSER
                     Shifts
                       9126/2019 10:27:14    9126/2019 4:00:27 PM
                                                                         Payroll ID:



                                                                                 s.ss          Sl.00
                                                                                                           t l?>'-t~
                       AM
                       9/l6ll01910:27:I◄     9/l6/201!11 4100:17                 5.55                           $5,55             s.oo          s.oo          $.00          $.00
                       AM                    PM
            36860      9/27/2019 10:26:49    9/27/20193:34:13 PM                 5.12          $1.00
                       AM
                       9/l?/2019 10:16149    9127/lOll' 3:34:13                  S.12                           $5.12             s.oo          $.00          $.00       $.00
                       AM                    PM
            36900      91'28/2019 5:29:10 PM 9/28/2019 11:5~:lS                  6.48          $1.00
                                             PM
                       9/11/1019 5:19: 10    9/l8/l01!111:58:15                  6.48                           $6.48            $.00           S,00          s.oo      $.00
                       PM                    PM
             36035      913ll'2019 10:)1:16  9130/20\9 3:07:20 PM                4.60          $1.00
                        AM
                          Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 79 of 128
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                                 j&¾1--~                                                                                                       \Mrl€-~     CN.,t,11~
                      AUGUSTO ERIK                  MIGUELN. IDELFONSO LEONEL GERARDO JAIME                                    IT.OT.AL   ~   ·1,t ~-~
                      $.        186.50              $   140.00 $   40.00 $ 72.00 $  10.00                                      '$   44&50
  I.JOSE BERNAND) $              45.00   $   299.00 $    50.00 $   60.00 $ 145.00 s 18.00 S 58.00                              I s 675.00
  !JAIME                                                                 $ 115.00 $                                             S   f15.00
      MIGUEL NAVA                                                                                        $                      s
      YONATBAN        $         144.50 $      88.00    $      185.00                          $ 102.00               $ 54.00   I $.. S73.SO

  !GERARDO                $      85.00 $     100.00 $          S0.00 $               20.00 $ 145.00 $                            S 400.00
      ROGER               $      65.00 $      80.00 $         165.00 $               40.00 $ 95.00 $         20.00   s   60.00 I s 525.00
      MARIANA         $          30.00 $      30.00                                                      $                       S  60.00
  TOTil               $         556.00   $   597.00    i      590.00     s          160.00    S 674.00   s   48.00   s 112.00 I s· 2,797.oo




CALCUW AUGUSTO~ERIK

                                ERIK                       TOTAL                 50%C/U
        FECHA .     AUGUSTO
                                 178.57                $       634.82        $      317.41
          9/26/2019 $  456.25 $
                                 352.69                $       842.09        $       421.05
          9/27/2019 $  489.40 $
..:                              166.76                $       490.33        $       245.17
 r        9/28/2019 $  323.57 $
                                 236.84                $       474.79        $       237.40
          10/3/2019 $  237.95 $
                                 583.60                $     1,193.24        $       596.62
          10/4/2019 $  609.64 $                                                      165.63
                                 143.31                $       331.26        $
          10/5/2019 $  187.95 $
                                                            ~53              $     1,983.27
- :~TOTAL-. ,;        $       2,304.16. vs 1,661.77    $
                                                            - -              .


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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 80 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 80 of
                                       128

                      Com~anv Code                Loe/Dept     Number ~~                         Earnings Statement
                      RA/ 6A22303671 01/                       3497984      ron
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                               Period Starting:     10/10/2019
                      Mi.;imi, FL33131                                                           Period Ending:       10/23/2019
                                                                                                 Pay Date:            10/25/2019




                 Taxable Marital Status:        Single
                 Exemptions/Allowances:            Tax Override:                                             Erik Chavez
                       Federal:   0                   Federal:
                       State:     O                   State:                                                 2130 SW 122Ave
                       Local:     0                   Local:                                                 Miami, FL 33175
                 Social Security Number:        xxx-xx-xxxx

Earnings                       rate      hours/units               this period    year to date           Other Benefits and
                           5.4400                                     171. 36        8048.83             Information                            this period   year to date
Tipped hours                                    31.50
Cash tips                                                               0.00         1988.94             Tip Credit                                  95.13       4561.81
Cash Tips owed                                   0.00                 536.37        31526. 39            Total Hours Worked                          31.50       1490.62

                  Gross Pay                                          $707.73      $41,564.16
                                                                                                         Deposits
                                                                                                         aocount number                        transit/ASA        amount
                       StalulO!J! OeduC'lions                      this period    year to date           XXXXXX0207                           xxxxxxxxx           593 . 66
                       Federal Income                                 -59.93         4994.12
                       Social Security                                - 43.88        2576.98
                       Medicare                                       -10.26          602.68

                       Net Pay                                       $593.66




                                                                                                        Your federal taxable wages this period are $707.73




                 Grill Enterprises LLC
                 1450 Brickell Ave Surte 2080
                 Miami, FL 33131                                                                 Pay Date:                    10/25/2019



                  De osited to the account                                                                                                                    amount
                 Checking Directoeposit                                                                                                  xxxxxxxxx            593.66




                                 Erik Chavez
                                 2130 SW 122 Ave
                                 Miami, FL 33175
    Case 1:20-cv-22603-JG
      Case                 Document
           1:20-cv-22603-MGC        98-765-7
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                                                             Docket 08/23/2021Page 8181
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          EMPLEADO                     SEMANA1 SEMANA2                                   TOTAL                    $HORA
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  _eJANDRO C CHEF                              39.72                   39.68                         79.4 $                  16.00 $                        1,270.40
 CONSULTORA LATIN...                           34.44                   34.52                   68.96 $                       11.50 $                            793.04
 jJACOB SUPPLY                                 24.26                   16.93                    41.1ij $                     9.50 $                             391 .f.l          3q1 .~
 rLUX PRO DETAIL                                 22.9                  22.76                   45.66 $                       9.50 $                             433.77
 GOBLAL CASTEL                                 26.23                   31.21                   57.44 $                       9.50 $                             545.68
 AT YOUR FINGRTIPS 81                          33.251                  46.94                   80.19 $                       10.00 $                            801.90
 HEDIXON BUENO                          f      45.93
                                                             1
                                                                 ,f    41.88                   87.81 V$                   10.00 $                               878.1 0
 CASTRO ALEXANDER                                22.9                  24.25                   47.15 ~                       9.50 $                             447.93
 CHAVEZ ERIK
 YONATHAN
                     ---------------
                                          -      0.03
                                               30.59
                                                                       31.48
                                                                       33.41
                                                                                               31 .5(
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 LEONEL DIAZ                                     aoa                                                              -
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 JAIME DIAZ (SERVER)                                   • : '.,
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 JAIME DIAZ (BUSRR)                         .:,.:..·w-.-:.--1,•. , _ - :,i -· _:\ 1:,~·T'.-~i~?<..:.::.-/;~f.:J-:?-"~ ~:·,'%°.i~                 0

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 GERARDO F. (BARTENDER)
 GERARDO F. (SERVER)
 GUSTAVO FERNANDEZ                             <JV• ...,..             vv.ur..                                                                                   f~v.UV


 GALARZA GABRIEL                                 39.7            .. 45.11                                                                   $                1,526.58              3.!S      0
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JOSE HERNANDEZ                                   39.7                  39.36                                                                $                    672.01
ROGER                                         43.87              1t    44.15                                                                $                    748.17                                    /4\
                                                                                                                                                                                                           I
MAVAREZ TIRSON                                   35.2                  32.67                                                                 $                   644.77
MORENO IDELFONSO
MIGUEL NAVA ( SERVER)
PINTO MARIANA
PROENZA AUGUSTO
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SANCHEZ ANGEL                                 25.44                    29.91                                                 17.00 $                             940.95
                                                                                                                TOTAL                         $       14,589.45
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       Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 82 of 128
         Case 1:20-cv-22603-MGC
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                                                            1:20-cv-22603-MGC
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                                                                    AUGUSTO ' ERIK      MIGUEL IDELFONSO LEONEL GERARDO JAIME \TOTAL
                       /JOSER                                       $  221.00 $   30.00 $   65.00 $  30.00 $ 20.00 $  113.50 $   -    \s  479.50
                      1.JOSEH                                       $  178.00 $ 119.00 $ 205.00 $   155.00    55.00 $  78.00 $ 36.00 \ S  826.00           s
                      IJAIME                                        $     -   $     -   $     - $      - $ 60.00 $      4.00 $    -   \ $   64.00
                       MIGUELN                                      $     -   $     - $           $        $  70.00 $ -       $    -   \$   70.00  -
                       YONATHAN                                     $  220.00 $     - $ 165.00 $     90.00 $ 115.00 $   18.50 $     - \s   608.50


                                                                    $     20.00            $      20.00        $     70.00         $           50.00       $       100.00 $         $ 15.00 \ S          1'75.00
                      GERARDO
                                                                         130.00            $      50.00        $     55.00         $       · 95.00         $        85.00 $   100.00 $   -   \$          515.00
                      ROGER                                         $
                                                                                                                                                                                             \S             45.00
                      MARIANA                                       $     35.00            $           -       $       -           $               -       $        10~00 $          $   -

                                                                                                               $    560.00         $
                                                                                                                                           1
                                                                                                                                               420,.00'    S   i   515:00 S   314.00 $ 51.00 \ $        2,883.0~
                      TOTAL                                         $    804.00            $     219.00

                     NOTA #1:ESTA QUJNCENA AUGUSTO Y ERIK COBRAN POR SEPARADO SUS TIPS
                     NOTA #2: SE LE DEBEN AL PARRILLERO GABRIEL GALARZA $73.21

                    AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

                                                                                               ERIK                TOTAL             50¾ C/U
                              FECHA                                 ,AUGUSTO
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 84 of 128
  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 84 of
                                       128
                       Company Code           Loe/Dept         Number Page                        Earnings Statement
                       RA/ 46A 22303671 01/                    3523760 1 of 1
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                               Period Starting:     10/24/2019
                       Miami , FL33131                                                            Period Ending:       11/06/2019
                                                                                                  Pay Date:            11/06/2019




                 Taxable Marital Status:        Single
                 Exemptions/Allowances:            Tax Override:                                              Erik Chavez
                       Federal:   o                   Federal:
                                                                                                              2130 SW 122 Ave
                       State:     0                   State:
                       Local:     0                   Local:                                                  Miami, FL 33175
                 Social Security Number:        XXX-XX-XXXX


Eamings                        rate       hours/units              this period     year to date           Other Benefits and
                                                                                                          lnfonnalion                            this period     year to date
Tipped hours                5.4400              66.13                 359.75          8408.58
Cash tips                                                               0.00          1988.94             Tip Credit                                 199.71         4761. 52
Cash Tips owed                                   o.oo                1443.10         32969.49             Total Hours Worked                          66 . 13       1556.75

                  Gross Pay                                        $1,802.85       $43,367 . 01
                                                                                                          Deposits
                                                                                                          account number                         transiVABA          amount

                        Stahl!!!): Deductions                      this l!!lriod   year to date           XXXXXX0207                            xxxxxxxxx           1459.76
                        Federal Income                                -205.18         5199.30
                        Social Security                               - 111. 77       2688.75
                        Medicare                                       -26.14          628.82

                        Net Pay                                    $1,459.76




                                                                                                         Your federal taxable wages this period are $1,802.85




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080                                                    Pay Date:
                  Miami, FL 33131
                                                                                                                               11/08/2019




                  De    iled to the account                                                                                                                     amount
                  Checking DirectDeposit                                                                                                                        1459.76




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
               Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 85 of 128
                 Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 85 of
                                                      128



          E_MPLEAOO              SEMANA1      SEMANA2          TOTAL         $HORA            TOTAL
ALEJANDRO C CHEF                     37.25        33.04           70.29 $       16.00 $
CONSULTORA LATIN...
JACOB SUPPLY
LUX PRO DETAIL
GOBLAL CASTEL
                                     24.68
                                     25.38
                                      22.64
                                      36.51
                                                  36.05
                                                  26.03
                                                  22.92
                                                  33.18
                                                                  60.73 $
                                                                  51.41 $
                                                                  45.56 $
                                                                  69.69 $
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                                                                                11.50 $
                                                                                        $
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AT YOUR FINGRTIPS 81                  37.13       32.94           70.07 $               $          700.70

Hl!DIXON BUENO                        40.69   ~   40.48    f      81:17 $               $   to.so. 811.70
CASTRO ALEXANDER                      26.21       17.52           43.73 $               $

                                                   30.4           66.13 $        5.50   $          363.72
                                                                                                                  I! /t; (•~-
CHAVEZ l!RIK                          35.73
YONATHAN                              35.92       34.68            70.6 $        8.50 $            600.10
                                                                                                            .,,
LEONEL DIAZ                           31.24           0           31.24 $        5.50 $

JAIMI! DIAZ (SERVER)                                                   0 $       5.50 $

JAIME DIAZ (BUSSER)                                                11.99 $       8.50 $
                                                                   55.93 $       8.50 $
GERARDO F. (BARTENDER)
                                                                       0 $       5.50 $
GERARDO F. (SERVER)
                                      39.39       39.55            78.94 $      10.00 $
GUSTAVO FERNANDEZ
                                      35.75       37.24            72.99 $      18.00 $
GALARZA GABRIEL
                                       39.7       39.17            78.87 $       8.50 $
JOSE HERNANDEZ
                                      39.63                                 $     8.50 $
ROGER
                                      35.47                                      10.00 $
MAVAREZ TIRSON
                                      40.25                                 $     5.50 $
MORENO IDELFONSO
                                      19.64       20.39            40.03 $        5.50 $
MIGUl!L NAVA ( Sl!RVER)
                                       6.38         0.03            6.41
MIGUEL NAVA ( BUSSER)
                                                  30.26            45.64 $        9.50 $
                                      15.38
PINTO MARIANA
                                                   30.04         _.AS:18 $        5.50 $
PROENZA AUGUSTO

                                ).\..,\,o~                      'Jt,\ 110
     Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 86 of 128
       Case 1:20-cv-22603-MGC
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                                                          SblR/Brtak Total             43.73                                 s.oo        s.oo         s.oo        $.00

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                                                                        JobTol■l       43.7.J
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                    CUAVl:Z, ERIK                                                  Payroll TO:
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        NOTA ##1:ESTA QUINCENA AUGUSTO Y ERIK COBRAN POR.SEPARADO SUS TIPS
        NOTA #2: ROGER CAMBIO DE NUMERO DE CUENTA
        NOTA #3: LEONEL TRABAJO BASTA EL 10-30-2019
        AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

                          FECHA          AUGUSTO                      ERIK                TOTAL                      50%C/U
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  Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 88 of
                                       128
                       Company Code
                       RA/ 46A 22303671
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                                                              Number ~a~e
                                                              3548142           01
                                                                                                    Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                 Period Starting:      11/07/2019
                       Miami, FL 33131                                                              Period Ending:        11/20/2019
                                                                                                    Pay Date:             11/22/2019




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                                 Erik Chavez
                       Federal:   o                  Federal:
                                                                                                                2130 SW 122Ave
                       State:     o                  State:
                      Local:      0                  Local;                                                     Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                       rate       hours/units             this period        year to date           Other Benefits and
                                                                                                            Information                            this period     year to date
Tipped hours               5.4400              69 . 77                379 . 55          8788.13
Cash tips                                                               o.oo            1988.94             Tip Credit                                 210. 71        4972. 23
Cash Tips owed                                   0.00               1627.29            34596.78             Total Hours Worked                          69 . 77       1626.52

                  Gross Pay                                       $2,006.84          $45,373 . 85
                                                                                                            Deposits
                                                                                                            account number                        transit/ABA          amount

                        Statutory Deductions                      this period        vearlo date
                                                                                                            XXXXXX0207                            xxxxxxxxx           1603.25
                        Federal Income                              - 250.06            5449.36
                        Social Security                             -124.43             2813.18
                        Medicare                                      -29 .10            657 . 92

                        Net Pay                                   Sl,603.25




                                                                                                           Your federal taxable wages this period are $2,006.84




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                                                                                                    Pay Date:                    11/22/2019
                  Miami, FL 33131




                  De   sited to the account                                                                                                                       amount
                 Checking DirectDeposlt                                                                                                                           1603.25




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
          Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 89 of 128
            Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 89 of
                                                 128


                               SEMANA1     SEMANA2       TOTAL          $HORA          TOTAL
                                    42.7        34.89        77.59 $      16.00 $        1,241.44
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                                                 22.8        48.82 $      10.00 $          488.20
GOBLAL CASTEL                                   40.92        84.84 $      10.00 $
AT YOUR FINGRTIPS 81               38.76        39.94         78.7 $      11 .00 $         865.70
Hl!DfXON BUENO                     39.31         6.03        45.34 $      11.00 $          453.40
CASTRO ALEXANDER                   18.42        17.38         35.8 $      10.00 $          358.00
CHAVEZ ERIK                        35.02    .   34.75        69.n   $      5.50 $          383.74
YONATHAN
JAIME DIAZ
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GERARDO F. (BARTENDER)             30.55         33.9        64.45 $       8 .50   $       547.83
GERARDO F. (SERVER)                    0            0            0 $       5.50 $
GUSTAVOFl!RNANDEZ                  38.84        39.11        77.95 $      10.00 $          779.50
JOSI! HERNANDEZ                                 39.52               $      8.50 $          699.30· ~                  33 8'~ _oi
ROGl!R                             34.71        33.13        67.84 $       8.50 $          576.64         -

MAVAREZ TIRSO.N                    35.51        35.54        71.05 $      10.00 $          710.50     I

MORENO IDELFONSO                   39.91        37.06        76.97 $       5.50 $          423.34 I.........--

MIGUEL NAVA ( Sl!RVER)             38.33        39.27         77.6 $       5.50 $          426.80

PEREZ PEDRO                         9.68        30.17        39.85 $      13.00 $          518.05

PINTO MARIANA                      24.93        24.43        49.36 $      11.00 $          542.96

PROENZA AUGUSTO                    36.36        34.73        71 .09 $      5.50 $          391.00

                                                41 .98       82.35 $      18.00 $        1,482.30
RnEEMMANUl!L
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ROMERO JOSI!
SANCHEZ ANGl!L           ?         26.27        29.33         ~ $        17.00     $      945.20          ?
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                   Case 1:20-cv-22603-JG
                     Case                 Document
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                    AUGUSTO ERIK
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                                         MIGUEL
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                                                                   IDELFONSO        GERARDO        JAIME rfOTAL
JOSER               $
JOSEH
                       180.00 $      - $ 135.00                     $    20.00      $     -       $   -   $    335.00
                     $
JAIME
                        90.00 $ . 323.00 $   50.00                  $   250.00      $     -       $   - $      713.00
                     $    -   $             -
                                         $ 130.00                   $   220.00      $     -       $   -   $    350.00
1MIGUELN            $        -     $        -     $        -       $          -     $     -       $     -    $
\YONATHAN           $    175.00    $    159.00 $        205.00 $           100.00 $       -       $     -    $       639.00

GERARDO
ROGER
                    $  100.00
                    $ . 60.00
                                   $
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,MARIANA             $       -     $        -     $        -       $          -   $       -       $     -    $
ITOTAL               s   605.00    $    682.00    s     755.00     $       880.00   $     -       $     -    $   2,922.00

NOTA #1: HEDIXON BUENO SE RETIRO TRABA.JO BASTA EL 11-14-19
NOTA #2: EMMANUEL RETE TIENE LA CUENTA BLOQUEADA,
NECESITA RECIBIR EL CHEQUE EN FISICO
AJUSTE DE AUGUSTO PROENZ~ Y ERIK CHAVEZ

 -                   AUGUSTO       ERIK       TOTAL                    50%C/U
         FECHA
           11/7/2019 $    315.32 $   205.73 $    521.05            $       260.53
           11/8/2019 $    642.88 $   350.75 $    993.63            $       496.82
 -
           11/9/2019 $    497.92 $   233.31 $    731.23            $       365.62
          11/14/2019 $    354.70 $   424.52 $    779.22            $       389.61
          11/15/2019 $    537.09 $   282.61 $    819.70            $       409.85
          11/16/2019 $    284.95 $   552.31 $    837.26            $       418.63
     .   TOTAL       $ 2,632.&.6 S 2,049.i3- $ 4,682.09            s     2,341.05

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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 92 of 128
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                                       128
                       Company Code               Loe/De t     Number Page                      Earnings Statement
                       RA/ 46A 22303671           01           3573050 1 of 1
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                             Period Starting:      11/21/2019
                       Miami, Fl 33131                                                          Period Ending:        12/04/2019
                                                                                                Pay Date:             12/06/2019




                 Taxable Marital Status:        Single
                 Exemptions/Allowances:            Tax Override:                                            Erik Chavez
                       Federal:   O                   Federal:
                       State:     0                   State:                                                2130 SW 122Ave
                       Local:     0                   Local:                                                Miami, FL 33175
                 Social Security Number:        XXX-XX-XXXX


Earnings                          rate    hours/units              this period   year to dale           Other Benefits and
                                                                                                        Information                             this period     year to date
lipped hours               5.4400               44.76                 243.49        9031.62
Cash tips                                                               0.00        1988.94             lip Credit                                  135.18         5107.41
Cash lips owed                                   0.00                1018.80       35615.58             Total Hours Worked                           44.76         1671. 28

                  Gross Pay                                        $1,262.29     $46,636 . 14
                                                                                                        Deposits
                                                                                                        account number                         transil/ABA          amount

                        S1atuto    Deductions                      this   riod   year to dale           XXXXXX0207                            xxxxxxxxx            1039.26
                        Federal Income                               -126 .47       5575.83
                        Social Security                               -78.26        2891.44
                        Medicare                                      -18 .30        676.22

                        Net Pay                                    $1,039 .26




                                                                                                       Your federal taxable wages this period are $1 ,262.29




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080
                 Miami, FL 33131
                                                                                                Pay Date:                    12/06/2019



                  De   sited to the account                                                                                                                    amount
                 Checking DirectDeposit                                                                                                                        1039 .26




                                   Erik Chavez
                                   2130 SW 122Ave
                                   Miami, FL 33175
  Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 93 of 128
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                                         128




                      EMPLEADO                   SEMA.NA1 8EIIANA2          TOTAL              .&HORA              TOTAL
             ALEJANDRO C CHEF                        39.03         32.62         71.65 ($         16.00        $     1146.40
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             CONIULTORA LATIN...                     39.93       • 47.35         87.28            11.50        $     1,003.72


   -         LUX PRO DETAIL
             AT YOUR FINGRTIPI 81
             CASTRO ALEXANDER
             CHAVEZ ERIK
                                                     38.15
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             YONATHAN                                36.61         26.73         63.54    's       8.50 $             540.09
             JAIME DIAZ                              23.55         31.75          55.3    's       8.50        $      470.05
             GERARDO F. (BARTENDER)                  34.12         18.34        52.46 r's          8 .50       $      445.91
             GEIIARDO F. (SERVER)                        0             0            0 $            5.50        $         -
             GUSTAVO FERNANDEZ                       38.n           20.6        59.37    "s       10.00        $      593.70
             JOSE HERNANDEZ                           39.33       23.43 ~:ff~            ..s       8.50    $          533.46
             ROGER                                    37.86       29.26            67.1 214        8 .50   $         570.52
              MAVAREZ TIRSON                           35.3       21 .41           56.71  vs     10.00     $         567.10
              MORALES RANDY                         ! 46.8        40.51            87.31 $       10.00     $         873.10
              MORENO IDELFONSO                        39.81       31.66 1/fili 71.47     r$       5.50     $         393.09
              MIGUEL NAVA ( SERVER)                   39.89       32.06            11.9sVs        5.50     $         395.73
              PEREZ PEDRO                             33.07       21.85            54.92 Vs      13.00     $         713.96
              PINTO MARIANA                           25.02       16.72           41.74 $        11.00     $        -459.14
              PROENZA AUGUSTO                        33.09        11.12 11:l; J).,,44.21 $        5.50     $        243.16
              RETE EMMANUEL                          39.26        35.34          74.6 $          18.00 $           1,342.80
              ROMERO JOSE                            20.74        26.93         47.67 S           8.50     $         405.20
              SANCHEZ ANGEL                          35.59 ---    21.25.        62.84 $          17.00     $       1.068.28
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            Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 94 of 128
              Case 1:20-cv-22603-MGC Document 65-7 Entered on FLSD Docket 08/23/2021 Page 94 of
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                                                                    Job Total        41.44                      $393.68                                        S.90

                                                              Employee Total         41.44                      $.393.68        S.00      S.00      S.80       S.00
,00
                    CHAVU. ERIK                                                  Payroll ID:
                         Server
.00                          Shifts
                   38229        ll/21/2019 10:39:Sl I 1/2112019 S:26:S7               6.78     $1.00
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                   38238        11121/2019 5:27:00  ll1211201910:S9:19                S.54     $1.00
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                    AUGUSTO ERIK                     MIGUEL IDELFONSO GERARDO JAIME TOTAu =-
   JOSER             $       207.00       $      - $ 120.00 $       - $    - $ - .$ -- --- ;3~'1..00 1
   JOSEH             $        46.00       $   107.00 $ 49.00 $   310.00 $  - $ - ::.s< _ - -~n.oo-.:
   JAIME             $             -      $     -    $ 210.00 $  280.00 $  - $ - $ . ~· ~ 90;0@:
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   MIGUELN           $             -      $     -             $           -            $                -       $     -      $                  -                                                   -           • .'f,



   YONATHAN           $           98.00 $      79.00          $      210.00 $                       105.00      $   66.00 $                                       ,., .,.                          ,.
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       GERARDO        s           20.00   $    20.00 $                100.00 $                      150.00      $     -      $                  - ..S:-~ y.2-9'0,.~         ~.l                                              259.36   $ 549.36
       ROGER          $           80.00   $    80.00 $                l 15.00 $                     140.00      $   20.00    $                  - ·s,  ~·· · ··os;oo:
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                                                                                                    2,491.48 $      259.36   $ 6,196.89 $                                               2,612.00 $ 8,808.89
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            11/21/20191 $
            11/22/20191 $         279.96 $     139.01          s
                                                          41s.91 I                     s              209.49
                                  382.82 i     106.98 $   489.SQ I $                                  244.90
            11/23/20191 $
                                  647.07 $     279.72 $   926.79 I $                                  463.40

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        CONSULTORA LATINOAMBRICANA TIENE 7 HORAS ADICIONALES QUE LAS TRABAJO EL SABADO
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        RANDY ES NUEVO YES DISWHASHER, EN ESTAS HORAS ESTAN INCLUIDAS UNAS QUE TIENE PENDIENTE
        om. PAYROlL PASAOO QUE NO TEN1A PAPELES
                                                                                                                                                                                                                                      ' '1 to l/Cj. .!a:
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 96 of 128
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                       Company Code          Loe/Dept                                         Earnings Statement
                       RA 146A 22303671 01/
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                           Period Starting:      12/05/2019
                       Miami, FL 33131                                                        Period Ending:        12/1812019
                                                                                              Pay Date:             12/20/2019




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                           Erik Chavez
                       Federal:   o                  Federal :
                       State:     0                  State:                                               2130 SW 122Ave
                       Local:     o                  Local :                                              Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                       rate       hours/units             this period   vearto date           Other Benefits and
                                                                                                      Information                              this period     year to date
Tipped hours                S. 4400            75.52                 410.83        9442 .45
Cash tips                                                              0.00        1988.94            Tip Credit                                   228.07         5335.48
Cash Tips owed                                  0.00                1977 .92      37593.50            Total Hours Worked                            75.52         1746.80

                  Gross Pay                                       $2,388.75     $49,024.89
                                                                                                      Deposits
                                                                                                      aC00Unt number                          transit/ABA          amount

                        Statutory Deductions                      this period   vearto date           XXXXXX0207                             xxxxxxxxx            1871.93
                        Federal Income                              - 334.08       5909.91
                        Social Security                             -148.10        3039.54
                        Medicare                                      - 34.64       710.86

                        Net Pay                                   $1,871.93




                                                                                                     Your federal taxable wages this period are $2 ,388 .75




                 Grill Enterprises LLC
                 1450 Brickell Ave Su~e 2080
                 Miami, FL 33131
                                                                                              Pay Date:                    12/20/2019



                  De    'led to the aocount                                                                                                                   amount
                 Checking DirectOeposit                                                                                                                       1871. 93




                                  Erik Chavez
                                  2130 SW 122 Ave
                                  Miami, FL 33175
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                              SEMANA1      SEMANA2      TOTAL         $HORA                 TOTAL
                                  ~           i .Q}t~     84.91 $            16.00 $          1,358.56
CONSULTORA LATIN, ••               38.88      38.59        TT.47 $           11.50 $           890.91    I
jAT YOUR FINGRTIPS 81             39.27       39.66        78.93 $           11 .00 $          868.23    I.,.. zge =- 1. , 5 4, -z.3
CASTRO ALEXANDl!R                 16.94       32.12       49.06 $            10.00 $           490.60
                        -
CHAVl!ZERIK                         36.8      38.72       75.52 $             5.50 $           415.36
YONATHAN
                                  ~il         as~~        87.75 $             8.50 $            745.88
JAIME DIAZ                        31.37       31.18       62.55 $             8.50 $            531.68
GERARDO F. (BARTl!NDER)           33.98       lisJjtt      79.12 $            8.50 $            672.52
GERARDO F. (SERVER)                4.29            0        4.29 $            5.50 $             23.60
GUSTAVO FERNANDEZ                 39.27       35.63         74.9 $           10.00 $            749.00
JOSE HERNANDEZ                      39.5       39.6         79.1 $            8.50 $            672.35
ROGER                             38:52       26.76        65.28 $            8.50 $            554.88
MAVAREZ TIRSON
MORALES RANDY
MORENO IDE.LFONSO
                                  35.22
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                                              39.44
                                                           70.73 $
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                                                                                                             fl   /io/14
MIGUEL NAVA ( SERVER)              39.5       39.28        78.78 $            5.50 $            433.29
PEREZ PEDRO                        39.1       27.64        66.74 $           13.00 $            867.62
PINTO MARIANA                     20.97       20.76        41 .73 $          11.00 $             459.03
POZO VICTOR                       33.51       21 .73       55.24         i    \01«>0
PROENZA AUGUSTO                   36.47        38.7        75.17 $            5.50 $             413.44
RETE EMMANUl!L                    ~·~         Z2.:45       91 .59 $          18.00 $           1,648.62
ROMl!ROJOSE                       35.42       37.24        72.66 $            8.50 $             617.61
SANCHEZ ANGEL                     37.53       36.46        73.99 $           17.00      $      1,257.83
                                                                   TOTAL                $    15,639.72
                                      Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 98 of 128
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                                         AUGUSTO ERIK       MIGUEL IDELFONSO GERARDO TABERNA                                                                        TOTAL
                                JOSER    $  413.00 $  58.00 $ 110.00 $
                                JOSEH    $   11.00 $ 323.00 $ 148.00 $
                                                                         45.00 $ 22.00 $    -                                                                       $    648.00
                                                                        223.00 $   -   $    -                                                                       $    705.00
                                JAIME    $     - $      - $ 203.00 $    203.00 $   - $ -                                                                            $    406.00
                                MIGUELN· $     -   $    -   $    - $           $   - $ -                                              -                             $       -
                                YONATHAN $  169.00 $ 157.00 $ 194.00 $  197.00 $ 37.00 $ 168.00                                                                     $    922.00

                                GERARDO                               $         80.00         $     80.00     $   180.00 $         170.00 $        -     $    -     $     510.00
                                                                                                                                                                                   ,, 5. =t-'l •   t 8Z.3. ~
                                ROGER                                 $        105..00        $    105.00     $   120.00 $          65.00 $      40.00   $    -     $     435.00   ,z.(t-30•       f 6'Sl- i
                                MARIANA                               $                -      $           -   $      -     $          -     $      -     $    -     $        -
                                TOTAL                                 $         778.00        s    723.00     s   95S.00   $       903.00 $      99.00   S 168.00   $   3,626.00
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                                 AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ                                                                                            ~
                                        FECHA                         AUGUSTO      ERIK                        TOTAL           SO% C/U
                                          12/5/2019                   $   322.94 $    686.70                  $ 1,009.64 $         504.82
                                          12/6/2019                   $   471.89 $   467.82                   $    939.71 $        469.86
                                          12/7/2019                   $   543.14 $   412.09                   $ 955.23 $           477.62
                                         12/12/2019                   $   630.22 $   224.78                   $ 855.00 $           427.50
                                         12/13/2019                   $   626.52 $   642.93                   $ 1,269.45 $         634.73
                                         12/14/2019                   $   439.06 $   157.52                   $    596.58 $        298.29
                                        TOTAL                         S 3,033.77 S 2,591.84                   $ S,62S.61 $       2,812.81




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  Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 100 of
  Case 1:20-cv-22603-MGC Document 65-7 Entered
                                        128    on FLSD Docket 08/23/2021 Page 100 of
                                        128
                       Company Code               Loe/Dept     Number ~                         Earnings Statement
                       RA/ 46A 22303671           01/          3622093 Ton
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                             Period Starting:     12/19/2019
                       Miami, FL33131                                                           Period Ending:       01101/2020
                                                                                                Pay Date:            01/03/2020




                 Taxable Marital Status:        Single
                 Exemptions/Allowances:            Tax Override:                                            Erik Chavez
                       Federal:   o                   Federal:
                       State:     0                   State:                                                2130 SW 122 Ave
                       Local:     o                   Local :                                               Miami, FL 33175
                 Social Security Number:        XXX-XX-XXXX


Earnings                          rate    hours/units              this period   year to date           Other Benefits and
                                                                                                        lnfonnation                            this period     year to date
Tipped hours                S.4400              70 . 16               381.67         381. 67
Cash Tips owed                                   0 .00               1792.24        1792 . 24           Tip Credit                                 218 . 90        218. 90
                                                                                                        Total Hours Worked                          70.16           70.16
                  Gross Pay                                        $2,173.91     $2,173.91
                                                                                                        Deposits
                                                                                                        account number                         transit/ASA         amount
                        Statute    Deductions                      this   riod   year to data
                                                                                                        XXXXXX0207                            xxxxxxxxx           1723 .43
                        Federal Income                               -284.18         284 . 18
                        Social Security                              -134.78         134. 78
                        Medicare                                      -31.52          31. 52

                        Net Pay                                    Sl,723.43




                                                                                                       Your federal taxable wages this period are $2.173.91




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080                                                  Pay Date:                    01/03/2020
                  Miami, FL 33131




                  De   sited to the account                                                                                                                   amount
                  Checking DirectDeposit                                                                                                                      1723.43




                                   Erik Chavez
                                   2130 SW 122Ave
                                   Miami, FL 33175
           Case
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                                                                       08/23/2021 Page 101 of
                                                                                  Page 101 of
                                                  128
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          EMPLEADO            SEMANA1      SEMANA2       TOTAL
ALEJANDRO C CHEF                   22.76      31.38           54.14 $           16.00 $
CONSULTORA LATIN...                24.85      22.86           47.71      l/4    11.(>0 $
AT 'YOUR FINGRTIPS 81              35.17      30.76           65.93 ~           11.00 $
CASTRO ALEXANDER                   10.59       11.25          21.84 ~           10.00 $
                                                                                              -
CHAVEZ l!RIK                       36.28      33.88           70.16      1       5.50 $            385.88
                                                                 50.1 ~
                                                                                              -
YONATHAN                           23.37       26.73   5\\.(1\                   8.50 $            425.85
JAIME DIAZ                           8.2        7.17          15.97      i-'     8:50   $          135.75
GERARDO F. (BARTENDER)             26.21      27.45    I.Jlrf~ i                 8.50 $            456.11
GERARDO F. (Sl!RVER)
GUSTAVO FERNANDEZ
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JOSE HERNANDl!Z                    28.47       30.34          58.81 /4           8.50   $ ·        499.89

ROGER                              30.31       24.63          54.94 '$           8.50 $            466.99
MAVAREZ TIRSON                     21.11       21.24          42.35      4      10.00 $            423.50

MORALES RANDY                      ~63         39.48 ~-l{~ $_                   10.00 $            741.10
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, MOHNO IDELFONSO                  26.59       27.66
                                                        l '
                                                              54.25 i            5.50 $       -    298.38

MIGUEL NAVA ( SERVER)              20.41       19.92          40.33 i            5.50 $            221 .82

PEREZ PEDRO                        22.87       30.17          53.04 ~           13.00   $          689.52

PINTO MARIANA                      16.95        16.6          33.55      1      11.00 $            369.05

POZO VICTOR                        18.23          0           18.23 /4          10.00 $            182.30

1PROENZA AUGUSTO                   36.33      "33.53          69.86 ~            5.50 $            384.23

RETE EMMANUEL                       30,2       30.32          60.52 4  .        18.00 $           1,089.36

IROMl!RO JOSE                      36.28       32.13          68.41 4 .,,        8.50 $            581 .49

SANCHEZ ANGEL                      27.04       25.77             52.81   ~      17.00   $          as1.n
                                                                             TOTAL      $     11,08$.97
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                                              Employee Total                 21.84 ✓                      $201,45      $,00       s.oo        S.00       S.00

    CHAVEZ. ERIK                                                         Payroll ID:
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                12/20/2019 10:37:29 12/20/2019 7:Sl:21                       9.26               $1.00
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       39017          12/27/2019 10:Sl:06 12/27/2019 3:29:23                    -4.64       Vs1.oo
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                                                             Job Total         70,1'                         $78.16      S.00 $2,081.17 $2,081.17 S11,427.
                                                      Employee Total           70,16                         S,0.16      $.00 $2,081.17    $1,081.\7 Sll,427.



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                                                       I                                      AUGtJSTO ERIK       MIGUEL                           IDELFONSO     GERARDO       TABERNA TP'
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                ~IC\                                               JOSEB                      $   143.00 $ 172.00 $ 140.00                          $    81.00   $     -       $   -   $
                   ~                                               JAIME                      $      - $      - $ 50.00                             $   165.00   $     -       $   -    $       21S.OO
                 JSl!l                                             MIGUELN                    $        -      $          -       $       -         $         -   $     -       $   -    $
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                                                           II!'-   YONATHAN                   $     223.00    $          -       $     35.00 $             70.00 $   40.00     $   -    $      368.00 I          /
    adAL J:) ~q SUO\P~l!Jl ::JJ                                                                                                                                                                          I   /   1J.
o·~                                                                GERARDO                    $      80.00 $            80.00 $        55.00 $             85.00 $       -     $   -   $       300.00
~'SZ$                                   ·-                 ll lROGER                          $      85.00 $            85.00 $       ·so.oo       $      120.00 $     40.00   $   -   $       410.00
                    "Sitl                                                                                                                                                          -
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                                                               MARIANA                        $        -      $           - $            -         $         -     $     -     $       $
ltS$
52'8$                   JSlO                               '       TOTAL                      $     845.00        $    400.00 s       535.00       $      677.00   $   100.00 $    -   $     2,557.00
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    e ..SJI.XJoJs    imu~ 1e:                                                   12/19/2019    $      594.22   $        562.26    $ 1,156.48        $      578.24
                                                                                12/20/2019    $      648.76   $        560.25    $ 1,209.01        $      604.51
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                                                                                                                        61.55        826.19        $      413.10
          l                                        00'                          12/21/2019    $      764.64   $                  $
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3d,{1 i<q s~111oos,a           teooeu                                                                                                                     352.18
                                                                                12/27/2019    $      198.88   $        505.48    $   704.36        $
                 i1WN                                                           12/28/2019    $      440.80   s        217.23    $   658.03        $      329.02
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                                                                                                                                                  ~
                       Company Code           Loe/Dept        Number Pa~e                        Earnings Statement
                       RA / 46A 22303671 01 /                 ~101
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                              Period Starting:     01/02/2020
                       Miami, FL 33131                                                           Period Ending:       01/15/2020
                                                                                                 Pay Date:            01/17/2020




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                              Erik Chavez
                       Federal:   o                  Federal:
                       State:     o                  State:                                                  2130 SW 122Ave
                       Local:     o                  Local:                                                  Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                        rate      hours/units             this period     year to date           Other Benefits and
                                                                                                         lnfonnation                             this period      year to date
Tipped hours                5. S400            6S .GS                363 . 87         745.S4
Cash Tips owed                                   0.00               1382 . 83        3175 . 07           Tip Credit                                  198 . 3S         417. 25
                                                                                                         Total Hours Worked                           6S.68           13S .84
                  Gross Pay                                       $1,746.70       $3,920.61
                                                                                                         Deposits
                                                                                                         account number                         transit/ASA           amount
                        Staru     Deductions                      this   riod     year to date
                                                                                                         XXXXXX0207                            xxxxxxxxx             1422.87
                        Federal Income                              - 190. 20         474.38
                        Social Security                             - 108 . 30        243 . 08
                        Medicare                                      - 25 . 33        56 .85

                        Net Pay                                   $1,422.87




                                                                                                        Your fede ral taxable wages this period are $1,746.70




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                 Pay Date:                    01/17/ 2020



                  De   sited to the account                                                                                                                      amount
                  Checking Direc\Deposit                                                                                                                        1422 . 87




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
              Case 1:20-cv-22603-JG r,.-1Document 98-7 Entered on FLSD Docket 02/11/2022             ..-.vu ;,,w
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              Case39437
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                                                                                    Job Total          43,13
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                                                                          Employee Total               43.13                                s.oo        s.oo
                    CHAVEZ, ERIK
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                    39119    11212020 10:40:41 'l                     1/2/2020 5:11:08 PM               6.51     $1 .00
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                      39151        1/312020 5:40:49 PM                  i/3/2020 10:31 :IOPM            4.84     Sl.00
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                                                                                     Job Total         65,68               $65.68          $.00                             510,286.

·1111                                                                         Employee Total           65,68               $65.68          s.oo                52,070.71 $10,286.


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    o o oc:             DELVALLE, VONATHAN                                                         Payroll ID:
                                 BUSSER
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                       39112        112/2020 10:39:07                   1/2/2020 4: 17:56 PM            5.65     $1.00
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        Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 106 of
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                                         SEMANA2      TOTAL               $HORA        TOTAL         ~
jALl!JANDRO C CHEF
CONSULTORA LATIN...
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                                 30.61       39.57         70.18            11.50 $                  ~
LUX PRO DETAIL
AT YOUR FINGRTIPS 81
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CASTRO ALEXANDl!R                22.17       20.96         43.13 $          10.00 $       431.30
CHAVEZ ERIK                      33.08       32.59         6567 $            5.50 $       361 .19
YONATHAN                         34.94       33.81         68.75 $           8..50 $      584.38
JAIME DIAZ                       25.84        24.2         50.04 $           8.50 $       425.34
GERARDO F. (BARTENDER)            9.39       21 .22        30.61 $           8.50 $       260.19
GERARDO F. (SERVER)                5.3           0               5.3 $       5.50 $        29.15
GUSTAVO FERNANDEZ                39.18       39.46         78.64 $          10.00 $       786.40
JOSE HERNANDEZ                   39.88        39.8         79.68 $           8.50 $       677.28
ROGER                            54.95          iJ         99.48 $           8.50 $       845.58
MAVAREZ TIRSON                   35.47       34.41         69.88 $          10.00 $       698.80     1/      n-/Zo
MORALES RANDY                     40.3       39.96         80.26 $          10.00 $       802.60

MORENO IDELFONSO                 36.96        39.2         76.16 $           5.50 $       418.88

MIGUEL NAVA                      37.93        37.4         75.33 $           5.50 $       414.32

PEREZPl!DRO                      29.76       29.72         59.48 $          13.00 $       773.24

PINTO MARIANA                    18.54       18.27         36.81 $          11.00 $       404.91

                                 33.06       32.73         65.79 $           5.50 $       361.85
PROENZA AUGUSTO
RETE EMMANUEL
ROMEROJOR
                                  40.6
                                 28.54
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                                            33.54
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                                                           62.08 $
                                                                            18.00 $
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                                                                                           527.68

                                  19.8        33.4               53.2 $     17.00 $        904.40
SANCHEZ ANGEL
                                            38.41          66.74 $           10.00 $       667.40
SOTOLIBRADO                      28.33
                              Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 107 of
                              Case 1:20-cv-22603-MGC Document  65-7 Entered       on FLSD         Docket 08/23/2021 Page       107   of
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                                    2. ~6) .c:::
                         AUGUSTO IERIK                        GUEL    IDELFONSO GERARDO TABERNA TOTAL
JOSER                     $ 260.00 I $  70.00             $     90.00 $     72.00 $ 40.00 $ -    $   532.00
JOSEH                     $  129.00 I $ 87.oo             $    220.00 $    173.00 $   -   $ -    $   609.00
JAIME                     $     -   I$                    $     50.00 $    260.00 $   -   $ -    $   310.00
MIGUELN                  $          -     I$              $       -    $      -   $   -   $ -    $
YONATBAN                 $        s2.oo I $    216.00     $    200.00 $     15.00 $   -   $ -         483.00         s
GERARDO                   $       50.00 I$       50.00I s 40.00 I $               50.00 I$                  $
ROGER                     $      140.oo I$      140.00I $ 210.00 I $             175.oo I$         20.00   I$                              315.~-                         f 1001
MARIANA                   $         -   I$         -. I $    -   I$                       $                 $
TOTAL                     $      631.00 I s     563.00 $ 810.00 £ $              745.00 J $        60.00   J$




       FECHA              AUGUSTO
                                  .I 36 Z o--'
AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ
                                               ·-
                                               ERIK
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                                                              TOTAL          50% C/U
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                                                          s
                                                                                                     ,~~~
              1/2/2020    $      170.03    $    344.60          514.63   $       257.32
              1/3/2020    $      351.94    $    428.75    $     780.69   $       390.35
              1/4/2020    s      427.71    $    129.56    $     557.27   $       278.64
                                                                                                       CQ.M/0.~
              1/9/2020    $      243.59    $    497.04    $     740.63   $       370.32
             1/10/2020    $      315.40    $    489.04    $     804.44   s      402.22
             1/11/2020    $      502.77    $    181.72    $     684.49   $       342.25
        TOTAL             $    2,011.44    $ 2,070.71     $ 4,082.tS     s     2,041.08




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 Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 108 of
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                                       128
                       Company Code
                       RA/ 46A22303671 01/
                                             Loc/Depl         Number Pa~e
                                                              3668983 1 o 1
                                                                                                   Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                Period Starting ·     01/16/2020
                       Miami, FL 33131                                                             Period Ending:        01/29/2020
                                                                                                   Pay Date:             01/31/2020




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                                Erik Chavez
                       Federal:     o                Federal:
                       State:       o                State:                                                    2130 SW 122Ave
                      Local:      0                  Local:                                                    Miami, FL 33175
                 Social Security Number:       XXX-XX-XXXX


Earnings                          rate    hours/units             this period       year to date           Other Benefits and
                                                                                                           lnfonnation                               this period     year to date
Tipped hours                5.5400             71.06                  393.67           1139.21
Cash Tips owed                                   0 .00               1712.74           4887.81             Tip Credit                                    214.60          631.85
                                                                                                           Total Hours Worked                             71.06          206.90
                  Gross Pay                                       S2,106.41         $6,027 .02
                                                                                                           Deposits
                                                                                                           account number                           transit/ABA          amount
                        ~tatutoo: Deductions                      this !!!!ri!l!!    e rtodats
                                                                                                           XXXXXX0207                              xxxxxxxxx            1675.94
                        Federal Income                               - 269 . 33         743.71
                        Social Security                              -130 . 60          373.68
                        Medicare                                       - 30 . 54         87 . 39

                        Net Pay                                   U,67S.94




                                                                                                           Your federa l taxable wages this period are $2 ,106.41




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                   Pay Date:                     01/31/2020




                  De   sited to the account                                                                                                                         amount
                  Checking DirectDeposil                                                                                                                            1675.94




                                   Erik Chavez
                                   2130 SW 122Ave
                                   Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 109 of
Case 1:20-cv-22603-MGCSblft/Break
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                                                           FLSD Docket
                                                        $380.13  s.oo  08/23/2021
                                                                        S.00   $.00
                                                                                    Page
                                                                                     $.00
                                                                                          109 of
                                                 128
                              Job Total  40.017'        $380,13  S.00   S.00   s.oo  $.OD
                       Employee Total    40.01 J        $380.13  s.oo   S.00   s.oo  s.oo
     CHAVEZ, ERIK                                                 Payroll ID:
          Server
           Shifts
     39462    1116/2020 10:47:38         1/1612020 5:12:03 PM          6.41        $1.00
                AM
                1116/lOlO 10:47:38       1/1612010 5111:0l             6.41                  $6,41        s.oo     $116.12    $126.1.2    $696.30
                AM                       PM
     39470      1/16/2020 S:12: 19 PM 111612020 10:26:20               5.23        $1.00
                                      PM
                lll6/lt20 S:U: 19     111612010 10:26:10               5.23                  $:5.23        S.00      $80.51    $80.51     $199.45
                PM                       PM
     39493      1/17/2020 11:00:49       1/1712020 4:S3:17 PM          S.87        $1.00
                AM
                1/17/lOlO 11:00:49 1/17/l020 4:53:17                   5.87                  $5.87         s.oo    $142.59    S142.59     $511.30
                AM                  PM
      39499     1117/20204:S3:47 PM 111712020 11:22:47                 6.48        $1.00
                                    PM
                1/1711010 4:53:47   1/1711010 11:22:47                 6.48                  $6;48        S.00     $191.88    $191.80     $854.70
                PM                       PM
      39517     1/18/2020 11:4!>:0S   1118/2020 11:S0:44               12.03       $1.00
                AM                    PM
                1/18/lOl0 I 1149:0S 1/1812020 U:50:44                 12.03                 SJ:2.03       $.00      $341.SJ   $341.53 $1,633.0
                AM                    PM
      39617     1/23/2020 10:32:29    1/23/2020 5:47:08 PM              7.24       $1.00
                AM
                                                                                                          $.00      $164.81    $164.81    $858.95
                1/2312020 10:31:29 1/2312010 S:47:08                    7.24                 $1.24
                AM                    PM
      39629     1123/2020 5:47: 11 PM 1123/2020 6:19:49 PM                 .54     Sl.00
                 1/13/lOll 5:47:11        1/2311120 6:19:49                                   $.54        $.00       $83.31     $83.31     $386.55
                                                                           .54
                 PM                       PM
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      nm          SbiflStart               Shift End                1lsw.a         Bm       tu          Ii».a
                  1/23/20206:19:SS PM 1/231202010:24:36                . 4.08       Sl.00
       39631
                                      PM                                                                                                                       ..
                  1/13/llJO Ii:19155  1/ZJ/2112-0 10:14:36                 4,08               54.08        $.00     $105.38    $105.38    $566.25
                  PM                       PM
                                           1/24/2020 3:29:07 PM                     $).00
                                                                                                                                                      -.
       39646      J/24/202() 10:3-':06                                     4.90
                  AM
                  l/l4lltlO 11135:061/24/2020 3:29:07                      4.90               S4.90        S.00     S197.36    $197.36 SJ,057.l
                  AM                PM
      39651       laA/20203:29:16PM l/24/20206:38:22 PM                    3.IS     $LOO
                  1/24Jl020 3:29:16     lJZ,C/2820 6:38:22                 3.15               $3.15        $.OD      ~5.48      $35.48 ' S178.75
                  PM                    PM
      39658       l/24l2020 6:41 :45 PM 1/24/2020 IO:S8:S6                 4.29     $1.00
                                          PM
                  11241211lt 6:41 :4S     1/24/2020 10;$8:56               4.29               54.29        s.oo     S224.86    $224.86 Sl,ll06.0
                  PM                      PM
       39672      ins/2020 12:19:39        1125!2020 11 :09:23         10.83        Sl.00
                  PM                      PM
                  l/M/'1010 12:19:311      1./25/lOl0 UtO!l:2J         10.13                 $!10.83       $.00     $396.32    $39'.32 $1,9825
                  PM                      PM
                                              Shift/Break Total        71.06                 $71.06        $.OD Sl,090.07 $2,090,07 S10,9.Jt.
                                                      Job Total        71.06                 $71.06        $.00 $2,090.07 $2,090.07 $16,931;
                                                Employee Tola!         71.06                S71.06         s.oo    $2,090.07 $2,090.07 $10,931.           ,.
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       DELVALLE,YONATHAN
              BUSSER
                                                                   Payroll lD:
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               Shifts
      39460       111612020 10:43:08       1/16/2020 3:S6:25 PM            5.22     $1.00
                  AM
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                 1/16/102t 10:43:Cl,8     1/16/1010 3:56:25            1
                                                                           S.2:Z              55.22        s.oo        S.00       S.OD       $.00




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                 AM                       PM
      39489      J/ 17/2020 10:45:05      J/17/20203:41:18 PM              4.94     Sl.00
                 AM
                 1/17/2020 10:45:05       1/17/lOlO 3141:18                4.94               54,94        s.oo        S.00       $.OD       $.OD    '\!
                 AM                       PM
      39525      1118/2020 5:42:10 PM     l/19/2020 12:02:44               6.34     $1.00
                                          AM
                 I /lWZO 5:41110          l/19/202011:02:44                6.34               56.34        S.119       S.00       !UICI      •oo
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         , EMPJ.EADO       -' . I   16AL22       23AL 29       TOTAL         $HORA       TOTAL
                                       32.47        17.43          49.9 $      16.00 $      798.40              (Oqq_
                                       37.14        34.69         71.83 $      11.50 $      826.05                      ~t..
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AT YOUR FINGRTlPS 81
CASTRO ALl!XANDl!R
                                       19.01
                                       39.21
                                       19.45
                                                    39.73
                                                    20.57
                                                           0     19.01 $
                                                                  78.94 $
                                                                 40.02 $
                                                                               10.00 $
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                                                                               10.00 $
                                                                                            190.10
                                                                                            868.34
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CHAVEZ ■RIK
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                                       36.03        35.03         71 .06 $      5.50 $      390.83
YONATHAN                               26.72                                    8.50 $      493.68      vJ -"2.,
                                                    31 .36       58.08 $
                                                                                                                    ft
!JAIME DIAZ
GERARDO F. (BARTENDER)
                                       18.41
                                       25.59
                                                    24.12
                                                     33.64
                                                                 42.53 $
                                                                  59.23 $
                                                                                8.50 $
                                                                                8.50 $
                                                                                            361.51
                                                                                            503.46         1 ~ ol 6-~
GERARDO F. (Sl!RVER)                         0             0           0 $      5.50 $
GUSTAVO FERNANDEZ                      34.92        38.74         73.66 $      10.00 $      736.60
JOSE HeRNANDEZ                         39.99         39,56        79.55 $       8.50 $      676.18
ROGER
MAVAREZ TIRSON
MORALES RANDY
                                       31 .12
                                       28.57
                                       39.61
                                                     36.13
                                                     34.89
                                                      39.3
                                                                 67.25 $
                                                                 63.46 $
                                                                  78.91 $
                                                                                8.50 $
                                                                               10.00 $
                                                                               10.00 $
                                                                                            571.63
                                                                                            634.60
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                                                                                                      I /7 1   /w
MORl!NO IDELFONSO                      36.73         39.57         76.3 $       5.50 $      419.65
MIGUEL NAVA                            36.27         39.16        75.43 $       5.50 $      414.87
Pl!REZPl!DRO                           29.71         13.92        43.63 $      13.00 $      567.19
TROXX                                  16.17         19.46        35.63 $      11.00 $      391 .93
PROENZA AUGUSTO                        35.54          35.4        70.94 $       5.50 $      390.17
RETE EMMANUEL                          41 .96         39.5        81.46 $      18.00 $     1,466.28
ROMERO JOSI!                           33.23        27.15         60.38 $       8.50 $      513.23
SANCHEZ ANGEL                          27.76        33.55        61 .31 $      17.00 $     1,042.27
SOTO LIBRADO                           26.38        16.56        42.9¢ $       10:00 $      429.40
                                                                         TOTAL       $   13,875.64
                Case
                Case 1:20-cv-22603-JG
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                                                                            08/23/2021 Page 111 of
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            AUGUSTO           ERIK           MIGUEL         IDELFONSO        GERARDO TABERNA
JOSER       $  188.00         $   66.00      $ 100.00        $   117.00      $     - $
JOSEH       $  355.00         $   87.00      $ 125.00        $   148.00      $     - $
JAIME       $     -           $     -        $   50.00       $   160.00      $     - $
MIGUELN         $     -       $     -        $       -      $         -      $      -    $
YONATHAN        $     -       $ 281.00       $    115.00    $       55.00    $      -    $   -       I   .i,     't~J..UU   I"             ,1
                                                                                                                              ~j i' C
GERARDO         $   120.00 $       150.00 $        80.00 $         115.00 $         -    $   -           $       465.00~ 132. - 5'1 .
!ROGER          $    60.00 $        60.00 $       120.00 $         135.00 $         -    $   -           $
MARIANA         $     -       w$      - ~s           - I $            -/     $      -    $   -           s
TOTAL           $   723.00 $       644.oo" $      590.00 $         730.156   s      -    $   -           $     2,687.00
                    17 l"t\L. ~ Vt(eO ~~ l t,tt, l..
AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ

  FECHA         AUGUSTO            ERIK          TOTAL          50% C/U
    1/16/2020   s   387.35     $    206.63   $     593.98   $      296.99                                       ~W-~"'
    1/17/2020   $   264.67     $    334.19   s     598.86   $      299.43
    1/18/2020   $   612.91     $    341.53   $     954.44   $      477.22                        0
    1/23/2020   $   524.06     $    353.50   $     877.56   $      438.78                                                        ~o3~,38
    1/24/2020   $   387.52     $    457.70   $     845.22   $      422.61
    1/25/2020   $   674.'?3$        396.32   $   1,071.05   $      535.53
  TOTAL         S 2,851.24 $ 2,089.87 $ 4,941.11            $    2,470.56



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  Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 112 of
  Case 1:20-cv-22603-MGC Document 65-7 Entered
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                                        128

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                      Company Code               Loe/De I
                      RA/ 46A 22303671           01/
                                                             Number Pa~e
                                                             3692757 1 o 1
                                                                                              Earnings Statement
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                            Period Starting:     01/30/2020
                      Miami, FL 33131                                                         Period Ending:       02/12/2020
                                                                                              Pay Date:            02/14/2020




                 Taxable Marital Status:      Single
                 Exemptions/Allowa nces:         Tax Override:                                            Erik Chavez
                      Federal :   o                 Federal :
                       State:     o                 State:                                                2130 SW 122 Ave
                       Local:     0                 Local:                                                Miami, FL 33175
                 Social Security Number:      XXX-XX-XXXX


Earnings                       rate      hours/units             this period   year to date           Other Benefits and
Tipped hours               5.5400                                                                     Information                            this period     year to date
                                                70 . 58             391.01        1530.22
Cash Tips owed                                   0 . 00            1678.38        6566.19             Tip Credit                                 213.15          845.00
                                                                                                      Total Hours Worked                          70.58          277.48
                  Gross Pay                                      $2,069.39     $8,096.41

                                                                                                      Deposits
                                                                                                      account number                         tran!lil/ABA        amount
                       Statutory Deductions                      this period   veartodate
                       Federal Income
                                                                                                      XXXXXX0207                            xxxxxxxxx           1649 . 89
                                                                   - 261.19       1004.90
                       Social Security                             -128.30         501. 98
                       Medicare                                      - 30.01       117.40

                       Net Pay                                   $1,649.89




                                                                                                     Your federal taxable wages this period are $2,069.39




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2080
                 Miami. FL 33131
                                                                                              Pay Date:                    02/14/2020



                 De    sited to the account                                                                                                                 amount
                 Checking DirectDeposit                                                                                                                     1649.89




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 113 of
Case 1:20-cv-22603-MGC
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        40076 2/11/2020 S:06:43 PM l/11'2020 11:10:44            128
                                                              6.07  $9.S0
                                            PM
                      Vll/1020 5:06:43      1/11/ltlO 11:10144             6.07                  SS7.~
                      PM
                                                                                                              S.00           $.00         S.00        $.00
                                            PM
          40099       2/12/2020 3:39:44 PM 2/12/2020 II :IS:00             7.59      $9..50
                                           PM
                      Z/1211020 3:39:44    2/U/2010 11:15:90               7.59                   $72.08      S.00            $.00        S.00        S.00
                      PM                    PM
                                              Sblft/lhuk Tobi             47.74                  $453.53      S.00            S.00        S.IO         S.00
                                                        Job Total         47.74
                                                                                    I            $453.53      S.00            $.IO         $.00        s.eo
                                                   Employee Total         47.74 \/               $4S3.53      S.00            S.00         s.oo        S.00
           CHAVEZ, ERIK                                               Payroll ID:
                  Server
                    Shifts
           39783       1/30/2020 10:49:48    1/30/2020 J :11:Sl PM         4.47         $1.00
                      AM
                      1/30/1920 10:49141     1/J0/2020 3:17:51             4.47                    $4.47       $.00         $288.65      $288.65 $1,150.4
                      AM                    PM
           39785       t/30/21l20 3:17:S4PM 1/30/2020 9:'46:11 PM          6.47         $1.00
                                                                                                               S.00         $126.60      $116.6()     $566.75
                       113M010 3 :17:54     J/30/2020 9:.U,11              6.47                    $6.47
                      PM                    P!\l
          39797        1/30/2020 9:-%:14 PM 1/30/2020 10:4S:Oll              .98        $1.0Q
                                            PM                                                                                                        $889.45
                                                                                                               $.00         S171.97       $1'71.9'7
                      1/30/2020 9:46:14     1/30/2010 10:45:08               .98                     S.98
                      PM                    PM
          3981 1      1/3112020 10:39:40     113112020 4:23:53 PM           5.14        $1.00
                      AM
                                                                                                                                                  Page 7 of 24
                       First Data




           n.m.        Sblft:Slla             Shtn End                  IIA1&tt
                       I/Jl/2110 10:39:40     lll lJ2010 4:Zl:53             5.74                    s.5.74     S.00          $275.19      $275.19 $1,065.9 ....
                       AM                     PM
           39817       1/3112020 4:24:00 PM 1/3 L/2020 6:54:52 PM            2.51        Sl.00
                       1/3ll2020 4:24:00   1/31/2020 6:54151                 2.51                    Sl.Sl      $.00          Sl17.30      $117.30 $911.20
                       PM                  PM
           39827       1/31120206:54:59 PM I/J l/2020 10:38:SS               3.73        Sl.00
                                           PM
                       1/3112020 6:54:59     l/311202010:38:55               3.73                    $3.73      $.00          $190.lf      5190.19 $806.65
                      P.M                     PM
          39841       2/II.Z020 12:08: I 2 PM 2/112020 II :04:2S PM        l0.94         $1.00
                      "2.ll/l01012:08:ll     2/112020 11:04:15             10,94                    $10.94       S.00         S139'.57      5139.57 $1,scMA
                      PM                     PM
          39947       2/6/2020 10:22:49      2/612020 5:05:50 PM            6.72         $1.00
                      AM
                      2/612020 10:22:,9      2/6120UJ 5:05:50 PM            6,72                     $6.72       s.oo         $195,10       $19S.10 $1,233.9
                      AM
          39956       2/612020 5:06:01 PM 2/6/2020 11:24:22 PM              6.31         Sl.00
                      l/"10205:06:01 PM 2/61%02011:14:ll                    6.31                     $6.31       S.00         $123.,88      $)23.88 $836.80
                                         PM
         39979       2n/2020 10:48:04    217/2020 3:05:35 PM                4.29         $1.00
                     AM
                     1/1/ztJO 10:48:04   217/2020 3:0S:35 PM                4.29                     $4.29       s.oo         $170.60       S170.60 $919.80
                     AM
         39983       217/2"20 3:05:38 PM 2/7/2020 6:41:)8 PM                3.59         Sl.00
                    ·2/'7/2020 3:0S:38 PM 2/7/2020 6:41 :18 PM              3.59                     $3.59       s.oo          $149.54       S149..54 $651.15
         39992       217/2020 6:41 :21 PM 2/712020 I I: I 0:28 PM           4.49         Sl.00
                    l/7/2020 6:41r21 PM 2/7/20.20 lltt0,28                  4.49                     $4.49       S.00          $163.73       $163.73 $746.90
                                            PM
         40005      2/8/2020 12:26:52 PM 2/8/2020 10:47:43 PM              10.35         $1.00
                    2/8/ZO~O 12:26:52       2/&'1020 10:47:43              10.35                    $10.35           $.00      S139.17       $139.17 "$878.50
                    PM                      PM
                                              Shift/Break Total            70.58                    S70.58       s.oo        Ut451.49 SZ,451.49 $12,171.
                                                        lobTo.-1           70.58                    $70.58           $.00 52,45.J.49       $2,451.49 $12,171.

                                                 Employee Total            70.58                    570.58       s.oo·       $2,451.49     $.2,451.49 512,171.

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         DEL VALLE, YONATHAN                                          Payroll JD:
             BUSSER
                  Shifts
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                     AUGUSTO ERIK
                     .                   .                                                                  MIGUEL              IDELFONSO                   GERARDO TABERNA TOTAL
            JQSER                            ,.
                     $  271 .00 $
            JOSE-B
                                   10:00                                                                    $    108.00          $    20.00                 $    -   $   -       s     469.00 ·
                      $ 264.00 $   99.00                                                                    $     83.00          $ ' 200.00                 $    -   $   -       $     646.00
            JAlME     $         $    -                                            -                         $     90.00          $   190.00                 $    -   $   -       $     280.00 ,,      ,;:. J l
            MIGUEL N  $     - $      -                                                                      $       -           $                    -      $    -   $   -       s        -
            YONATHAN $      -   $ 251.00                                                                    $ ·-_150.00         $.             100.00 $          -   $   -       $     601.00 "
                                                                                                ,
             GERARDO                                               $            90.00 $        120.00 $           130.00 $                     1°30.00 $         -   $   -       $     470.00 i-    4Z, l'i
             ROGER                                                 $            80.00 . $      120.00 $           140.00 s·                    115.00 $          -   $   -       $     455.00 .    oe,, t 3
             MARIANA                                               $                 -   $          -        $      -       .   $                    -      $    -   $   -       $        -
             TOTAL                                                 s            705.00   s     660.00 $           801.00 $                     755.00       $    -   s --        $   2,921.00
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               AJUSTE DE AUGUSTO
                         .
                                 PROENZA Y ERIK CHAVEZ
                                                    .                                                                                                                            ~ 'i
                     FECHA                                         AUGUST O                  ERIK                TOTAL              50% C/U
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                             1/30/2020                             $            231.56   s..
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                      TOTAL
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  Case 1:20-cv-22603-MGC Document 65-7 Entered
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                       Company Code
                       RAJ 46A22303671
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                                                                                                    Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                 Period Starting :    02/1312020
                       Miami. FL33131                                                               Period End ing :     02126/2020
                                                                                                    Pay Date:            02/2812020




                 Taxable Marital Status:        Single
                 Exemptions/Allowances:            Tax override:                                                Erik Chavez
                      Federal : O                     Federal :
                       State:     0                   State:                                                    2130 SW 122 Ave
                      Local:      0                   Local:                                                    Miami, FL 33175
                 Social Security Number:        XXX-XX-XXXX


Earnings                       rate       hours/units              this period       year to date           Other Benefits and
                                                                                                            Information                            this period     year to date
Tipped hours                S.5400              70 .20                388.91            1919.13
Cash Tips owed                                   0 .00               2121. 92           8688.11             Tip Credit                                 212.00         1057 . 00
                                                                                                            Total Hours Worked                          70.20          347 . 68
                  GmssPay                                          $2,510.83         $10,607 . 24
                                                                                                            Deposits
                                                                                                            account number                        transiVABA           amount
                        §tatuto!): Deductions                      this period        ear to date
                                                                                                            XXXXXX0207                            xxxxxxxxx           1960.45
                        Federal Income                               -358.31            1363 . 21
                        Social Security                              - 155 .67           657.65
                        Medicare                                       - 36.40           153.80

                        Net Pay                                    Sl,960.4S




                                                                                                           Your federal taxable wages this period are $2,510.83




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2060                                                      Pay Date:                    02/28/2020
                  Miami, FL 33131




                  De   sited ID the account                                                                                                                       amount
                  Checking OirectOeposit                                                                                                                          1960.4S




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
    Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 116 of
    Case 1:20-cv-22603-MGC
                 212612018 4:to:39
                                      Document 65-76.66Entered
                                   2116/Wl0 11:40:06    128    on FLSD Docket 08/23/2021 Page 116 of
                 PM                PM                   128     563..25 $.00  S.00   $.00 s.oo
                                                    Shift/Bruk Total               44.61                 $423.84        s.oo            s.oo         $.00       $.00
                                                             Job Total             44.61                 $423.114       s.oo            $.00         $.00       S.00
                                                       Employee Total              44.61                 $42-3.84        uo              s.oo        $.00       s.oo
                CHAVEZ, l!:RlK                                                 Payroll ID:
                    Server
                     Shi&

I   J       40120         2/1312020 10:30: I9
                          AM
                          l/13/lOlO 10:30:19
                                                  2/1312010 3: 14:41 PM

                                                  l/13/1810 3,14:41 I
                                                                                    4.74

                                                                                    4.74
                                                                                               $1.00

                                                                                                           $4.74         S.00         $205.62      $205.62 $1,099.4
                          AM                      PM
            40125         2/13/2020 3: 14:43 PM   2/13/2020 5:15:12 PM              2.01       $1.00
                          2113/lOlO 3114:-0       2/13/1020 5119:ll                 2.01                   $2.01         $.00          545,61       S4S.61    Sl31AO
                          PM                      PM
            40130         2/1312020S:IS:l6 PM 2/1312020 ll:06:47                    S.86       Sl.00
                                              PM
                          2/1312010 S:15: H   2/13/JtlO 11:'6:47                    S.86                   $5,86         $.00          S76.S1       $76..SJ   $363.45
                          P!\f                    PM
            40151        2/1412020 11:46:07       2114120206:14:46 PM               6.48       Sl.00
                         AM
                         Z/1412120 11:46:07       2/1412010 6:14:<I&                6.48                   $6.48         $,00         $499.06      $499.06 $2,047.7
                         AM                       PM
            40161        2/14/2020 6:14:49 PM 2/IS/2020 12:07:17                    5.87       $1.00
                                              AM
                         2/1412010 6:14:49    2/15/2920 l2:'1:17                    S.87                   S5.87         $.00         $427.33      5427~3 $2,184.2
                         PM                   AM                          \'
                         First Data                                                                                                                      Page 7 of24




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                                                    Shift End                     BIW1 .       Ba,ll       bl'.        .DIil           nm                        Saka
                40174'     2115/2020 12:21:09
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                           Y~t2:Jl:t,               Z/IM9Zllllln:u                   11.02                  $11.0l         $.00 , $293.19            $193,19 SJ,694.8
                           PM                       PM
                40268      2/20/2020 10:45:00       2/20/2020 3:28:49 PM              4.73      $1.00
                           AM
                           lr.lMOJO 10:45:eo    J/20/1020 3::U:49                     4.73                   $4.73         S.00         $116.59    . $116.59 $702.65
                           AM                   PM
                40271      2120/2020 3:28:56 PM 2120/2020 7: 16:30 PM                 3.79      $1.00
                           212112,20 3:28:56     2/2411020 7:16!30                    3.79                   $3.79         s.oo          $37.94        $37,94   $SOUS
                           PM                    PM
                40281      2120/2020 7: 16:33 PM 2/2012020 9:36:12 PM                 2.33       $1.00
                           l/JOl2020 7: 16:33      2/20/2010 9:36:ll                  2.33                   Sl.33         s.oo         $133.50      $133.50 $647.80
                           PM                      PM
                40298     2/21/2020 11:02:49       2/21/2020 4: 16:45 PM              5.23      $1.00
                          AM
                          2/ll/202ll l1:82:49  2/21/1020 4:16:45                      5.23                    $5.23        $,00         $214.03        $214.03 $859.55
                          AM '                 PM
            40301         2/21/20204: 16:47 PM 2/21/2020 7:12:19 PM                   2.93       $1.00
                          2/21/1020 4zl6:'7        l/21/20207:1%:19                   2.93                    $2.93         S.00         $192,60       $192.60 $755.80
                          PM                   PM
            40311        2121/2020 7: 16:34 PM 2121/7020 11:12:37                     3.93       $1.00
                                                   PM
                         2/ll~20 7:"16:34         2/21/2020 ll:12:37                  3.93                    $3.93            s.oo       $82.24        $82.14 $360.05
                         PM                        PM
            40322        212212020 12:28:09       2122/2020 11:44:55                 11.28      $1.00
                         PM                       PM
                         2/22/2020 12:28:09       2/2212010 11:44:55                11.28                    Slt.28            S.00      $322.56        $322.56 Sl,'162.0
                         PM                       PM
                                                    Shift/Break Total               70.20                    S70.20            s.oo     S2,646.78 $2,646.78 $13,1 \ 1.
                                                              Job Total             70.20                    $70.20            s.oo     $2,646.78 $1,646.78 $13,111.
                                                       Employee Total               70.20                    $70.20             $.00 $1,646.78 $2,646.78 $13,111.
          DEL VALLE, YONATHAN                                                  Payroll ID:
                 BUSSBR                                                                                                ~ :i.. \ 2...\C\-i..
                  Shifts
         40122      2/13/2020 10:12: 12         2/ll/2020 J:l8: 17 PM                4.77        Sl.00
                    AM
                    l/Jl/202010:Jl:12           2/JJ/2010 3:18:17                    4.77                      $4.77            $.00            S.00            S.00     S.00
                    AM                          PM
        40149      1/J.112020 10:43:0S          2/1 S/2020 12:SO: I3                14.12        $1.00
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        -   EMPLEADO   .
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ALl!JANDRO C CHEF
CONSULTORA LATIN...
AT YOUR FINGRTIPS 81
                                      39.3
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CASTRO ALEXANDl!R                    23.51            24.22         47.73 $         10.00                     477.30

CHAVEZ ERIK                          34.84            35.74          70.58 $            5.50 $                388.19

YONATHAN                             36.95            35.14         72.09 $             8.50 $                612.77
                .
JAIME DIAZ .                         26.52            26.63        . 53.15 $            8.50   s·             45-1.78

GERARDO F. (BARTENDER)               35.07            27.86 1       62.93 $             8.50 $                534.91
Gl!RARDO F. (5eRWR)                      0                 0             0 $            5.50 $                   -
GUSTAVO FERNANDEZ
JOSE HERNANDl!Z        .
                              -
                                     38.75
                                     39.29
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ROGER                                31.47            37.46          68.93 $            ._8 :50 $             585.91
                                                                                -
MAVAREZ TIRSON                       34.76        · 35.78            70.54 $        10.00 _$
                                                                                    ~
                                                                                                              705.40
MEJIAS MANUEL                        20.25             19.1          39.35 $        11.00 $                  432:85
MORALES RANDY                        35.23              39.9         75.13 $        10.00 $                   751 .30
MORENO IDELFONSO                     39.73              39.9         79.63 $            5..50 $               437.97
MIGUEL NAVA                          39.11            38.58          77.69 $            5.50- $ -.            427.30
PEREZPJ!DRO                          29.55            31.12          60.67 $        13.00 $                   788.71
PROl!NZA AUGUSTO                     34.94            34.26           69.2 $            5.50 $                380.60
RETE EMMANUEL                        39.07            ,...42.5       81 .57 $       18.00 $                 1,46~26
ROMERO JOSE                          30.23            ~ -02\         64.25 $            8.50 $ ·              546.13
SANCHEZ.ANGEL                        19.79       ~ 45.02     \       64.81 $        17.QO $                 1,101.77
SOTO LIBRADO                         20.29        \    29.16 J       49.45 $        10.00 $                   494.50
~YMARTINl!Z                                 0          ~             25.61 $        10.00 $                   256.10
                                                                            ·TOT~L                 $     15,112.58
                              ~
                           Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 118 of
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                                  AUGUSTO ERIK       MIGUEL                  IDELFONSO                 GERARDO TABERNA TOTAL
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    ~.:.t    JOSER                $  265.50 $ 138.00 $ 167.50                 $   190.00               $    - $ - $         761.00
             JOSEH                $  426.50 $ 101.00 $ 167.50                 $   130.00                    $               -          $   -   s            825.00
             JAIME                $     - $      - $ 90.00                    $   300.00                    $               -          $   -   $            390.00                        .2 :5G9•"
             MIGUELN              $          -      $       -     $      - $         -                      $               -          $   -   s                    -
             YONATHAN             $       80.00 $        303.00   $   175.00 $     35.00                    $               -          $   -   $            593.00

             GERARDO              $      180.00 $        170.00 $     160.00 $       15S.OO $                               -          $   -   s            66S.00 ·                    :?e   = 9 .LO ,8
                                                                                                                                                                                                     I

             ROGER                $       75.00 $         75.00 $     150.00 $       140.00 $                               -          $   -   $            440.00 ·                    &J;, = f,G~ I '97;
             MARIANA              $          -      $       -     $      w    $             ~
                                                                                                            $               -          $   -   s                    -
             TOTAL                S 1,027.00        s    787.00 $ 910.00 $            950.00                s               - s -              $       3,674.00
                                  :l. J .'.2) qz.   j...lZ) qi,. ..l....':)21 z.t 2 L\Bb/~°\                                                           f)                     ,-

             ·AJUSTE DE AUGUSTO PROENZA Y ERIK CHAVEZ
                                                                                                                                                       o,-1 e. 2
               FECHA                AUGUSTO             ERIK        TOTAL      50%C/U
                   2/13/2020      $       377.84    $      327.74 $   70S.58 $    352.79
                   2/14/2020      $     1,045.55    $     926.39 $ 1,971.94 $     985.97
                                                          293.19 $ 1,247.97 $
                                                                                                                                                                                          ,i
                   2/15/2020      $       954.78    $                             623.99
                   2/20/2020      $       292.05    $     288.03 $    580.08 $    290.04
                   2/21/2020      $       403.26    $     488.87 $    892.13 $    446.07                                                   T\fS                         12312-
                   2/22/2020      $       524.94    $     322.56 $    847.50 $    423.75
                                                                                                                                           ,AJ,                          I 3°1r_ ~o
               TOTAL                $   3,598.42    $   2,646.78 S 6,245.20 $ 3,122.60

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                                        128
                      Company Code
                      RA/ 46A 22303671 017
                                            Loe/Dept         Number Pa~e
                                                             3740585 1 o 1
                                                                                              Earnings Statement
                      Grill Enterprises LLC
                      1450 Brickell Ave Suite 2080                                            Period Starting:     02/27/2020
                      Miami, FL 33131                                                         Period Ending:       03/11/2020
                                                                                              Pay Date:            03/13/2020




             Taxable Marital Status:          Single
             Exemptions/Allowances:              Tax Override:                                            Erik Chavez
                  Federal:    O                     Federal:
                  State:      0                     State:                                                2130 SW 122Ave
                  Local:      0                     Local:                                                Miami, FL 33175
             Social Security Number:          XXX-XX-XXXX


Earnings                      rate       hours/units             this period   year to date           Other Benefits and
                                                                                                      Information                            this period      iearto date
Tipped hours              5.5400                71..03              393.51        2312. 64
Cash Tips owed                                   0.00              1787.26       10475.37             Tip Credit                                 214.51          1271.. 51
                                                                                                      Total Hours Worked                             71.03        418.71
                 Gross Pay                                       $2,180.77     $12,788.01
                                                                                                      Deposits
                                                                                                      account number                        transit/ASA           amount
                       Statutory Deductions                      this period   year to date
                                                                                                      XXXXXX0207                            xxxxxxxxx            1728 . 24
                       Federal Income                              -285.69        1648.90
                       Social Security                             - 135.21        792.86
                       Medicare                                      - 31.63       185 .43

                       Net Pay                                   $1,728.24




                                                                                                     Your federal taxable wages this period are $2,160.77




                 Grill Enterprises LLC
                 1450 Brickell Ave Suite 2060
                                                                                              Pay Date:                    03/13/2020
                 Miami, FL 33131




                 De    ited to the s=unt
                                                                                                                           teC~
                                                                                                                           ~           lransil/ABA           amount
                 Checking OirectOeposlt                                                                                               xxxxxxxxx              1728. 24




                                 Erik Chavez
                                 2130 SW 122Ave
                                 Miami, FL 33175
    Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 120 of
    Case 1:20-cv-22603-MGC
                3111/2020 ! :27159      Document
                                   3/11/2020 10:41 :54 65-75.23 Entered
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                PM                 PM                            128
                                                         Sb.In/Break Total                         S381.06         s.oo       s.oo       s.oo      $.00
                                                                 Job Total                         5381 .06        s.oo       $.00       $.00      S.00
                                                          Employee Total                           $381.06         s.oo       $.00       s.oo      $.00
           CHAVEZ, ERJ.K
                  Sc , ,      I
                   Shlft:sl
          40422          2/27/2020 10:2S:IS          2/2712020 4:23:22 PM       5.97    $1.00
                         AM
                         2/27/2020 10:15:15    2/2712020 4:23:12                5.97                   $5.97        $.00    $428.13   $428.13 $1,988.1
                         AM                    PM
          40429          2127120204:23 :28 PM 212712020 10:42:10                6.31    $1.00
                                              PM
                         2/2712020 4:23:28
                         PM
                                              2/27/2020 10:42:10
                                              PM
                                                                               6.31                    $6.31        s.oo     S70,31     S70.32    $651.65
          40452         2128/2020 10:54:36    2/28/2020 7:31 :43 PM             8.62    $1.00
                        AM
                        2/2812820 l 0:54 :36  2/lS/2020 7131:43                8.62                    $8.62        $,00    $169.71     5169.71   S726.55
                        AM                    PM
         40464          2/28/2020 7:31 :SOPM 2128/2020 8:19:16-PM                .79    $1.00
                       lil812020 7:31:50            2/2812020 8:19:16            .79                    $.79        $.00     S28.38      $28.38   5169.05
                       PM                           PM
         40475         2129/2020 11 :S6:06          '1129/2020 11 :48:SS       11.88    $1.00
                       AM                           PM
                   I ~9/2020 11:56:06               l/29/lOlO 11:48:58         11.88                S11.88          $.00    $274.29     $274.29 Sl,630,0

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         40609         3/S/2020 .5:26:S6 PM 3/S/2020 6:20:58 PM                  .90    $1.00
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         40613         3/S/2020 6:21 :02 PM         3/S/2020 I 1:43 :21 PM      5.37    Sl.00
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         40642          3/612020 6:29:46 PM         3/ 6/2020 II :27:36 PM      4.96    $1.00
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                                                                  Job Total                          $71.03         S.00 $2,607.48    $2,607.48 513,391.    •l

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            40538            313/1020 8:00:36 AM 313/2020 4: 11 :03 PM           8.17    S9.50
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            40562            3141'l020 7:46:08 AM 3/412020 4:05:56 PM            8.33    $9.50
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 CONSllJLTORA LATIN...                     30.8                    36.17      66.97 $             11.50 $        770.16
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 AT YOUR FINGRTIPS 81                      35.6                    39.37      74.97 $            11.00 $         824.67
 CASTRO ALl!XANDER                        18.78                    25.84      44.62 $            10.00 $         446.20
 CHAVEZ ERIK                              35.98                    34.22       70.2 $             5.54 $
                               -                                                                                 388.91
 YONATHAN                                 35.35                    35.92      71.27 $             8.54 $         608.65
 JAIME DIAZ                               20.28                    26.53      46.81 $             8.54 $         399.76
 GERARDO F. (BARTENDER)                   25.97                    35.06      61 .03 $            8.54 $        521.20
 GERARDO F. (SERVeR)
 GUSTAVO RRNANDl!Z
 JOSE HERNANDEZ
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 ROGER                                    31.65                    32.56      64.21 $            ·8.54 $        548.35
 MAVAREZTIRSON                            29.36                    35.91      65.27 $            10.00 $        652.70
 MEJIAS MANUEL                            18.93                     18.6      37.53 $            11.00 $        412.83
 FRAMKLOPEZ                               40.95                     41 .3     82.25 $            10.00 $        822.50
 MORENO IDELFONSO                          38.9                    38.63      77.53 $            5.54 $         429.52

 MIGUEL NAVA                              36.65                    38.73      75.38 $            5.54 $         417.61

 PEREZ PEDRO                              31.41                    32.94      64.35 $            13.00 $        836.55

 PROENZA AUGUSTO                          36.19                    34.24      70.43 $            5.54 $         390.~8

 RETE EMMANUEL                            38.65                    29.43      68.08 $            18.00 $      1,225.44

                                          35.21                    34.73      69.94 $            8.54 $        597.29
 ROMERO JOSE
                                          27.37                    34.14      61.51 $            17.00 $      1,045.67
 SANCHEZ ANGEL
                                           30.8                     4.38      35.18 $            10.00 $       351.80
 SOTO UBRADO
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  Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 122 of
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                       Com§anv Code
                       RA/ 6A22303671 011
                                             Loe/Dept           Number Pa~e
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                                                                                                     Earnings Statement
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite 2080                                                  Period Starting:     03/12/2020
                       Miami, FL33131                                                                Period Ending:       03/25/2020
                                                                                                     Pay Date:            03/27/2020




                 Taxable Marital Status:         Single
                 Exemptions/Allowances:             Tax Override:                                                Erik Chavez
                      Federal : O                      Federal:
                       State:     0                    State:                                                    2130 SW 122Ave
                      Local :     O                    Local:                                                    Miami, FL 33175
                 Social Security Number:         XXX-XX-XXXX


Earnings                          rate    hours/units               this period       year to dale           Other Benefits and
                            5 . 5400                                       114.57        2427. 21            lnfonnation                            this period   year to date
Tipped hours                                     20.68
Cash Tips owed                                    0 . 00                   367.78       10843 .15            Tip Credit                                  62.45       1333.96
                                                                                                             Total Hours Worked                          20.68        439.39
                  Gross Pay                                           $482 . 35       $13,270.36
                                                                                                             Deposits
                                                                                                             account number                        transil/ABA        amount
                        Statute     Deductions                      this      "od      ear to date
                                                                                                             XXXXXX0207                           xxxxxxxxx           411.84
                        Federal Income                                     - 33.62       1682. 52
                        Social Security                                    -29 . 90       822 . 76
                        Medicare                                             -6.99        192.42

                        Net Pay                                       $411.84




                                                                                                            Your federal taxable wages this period are $482.35




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                     Pay Date:                    03/27/2020




                  De   sited to the account                                                                                                                       amount
                  Checking DirectDeposit                                                                                                                          411.84




                                   Erik Chavez
                                   2130 SW 122Ave
                                   Miami, FL 33175
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                         3/1612020 4:55:38 PM 3116/2020 9 :15:21 PM              4.33        $9.50
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                                                              Job Total
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            CHAVEZ, ERIK                                                     Payroll ID:
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         40776             3112/2020 10:30:24      3/12/2020 12:00:03             1.49           Sl.00
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         40784             3/12/2020 5:31:06 PM 3/12/20209:37:50 PM               4.11           $1.00
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            40801
                           AM
                           3/13/lOlO 10:17:S7       3/U/2020 3 :33:28              S.26                    SS.26           $.00    $163.45    $163.45    $775.70
                           AM                       PM
            40819          3113/2020 7:13:34 PM 3113/2020 9:19:37 PM               2.10          $1.00
                           311311020 7; U;,H     l/13/2010 9:19:37                 Z,10                     $2.10          $.0()    $74.26     $74.26    $259.70
                           PM                    PM
             4083S         3/14/2020 l :00:0S PM 3/14/2020 8:43:14 PM              7.72          $1.00
                           3/14/2020 I :00:0S       l/14/1020 8:43:14              7.72                     $7.72          $.00    $164.88    $164.88    $753.30
                           PM                       PM
                                                       Shift/Break Total          10.68                    $1-0.68          s.oo   $441.71    $442.71 S3,53B.6
                                                                Job Total         20.68                    $20.68           $.00   $442.71    5442.71 53,530.6
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                 CORTES         tis
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                                                          Employee Total          20,68
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                                                                                            iJ             $20.68           $.00   $442.71

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                         Shifts'
             40771          3/12/2020 8:37:41        J/12/2020 3:31 :49 PM           6.90         $9.50
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                                                                                     6.90                  $65.S7           s.oo      $.00       s.oo       $.00
             40800          3/13/2020 8:46:05        3113/2020 2:09:34 PM            S.39         $9.50
                            AM
                            3/13/1020 8:46:0S        3/1311010 2:09:34               S.39                  $51.22
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                 40864      3/16/2020 7:49:46        3/16/2020 l :35:40 PM           5.11         $9.SO
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                 40881        3/1712020 8:49:02      3/17/2020 12:20:S?              3.53         $9.S0
                              AM                     PM
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                                  ,,I                    Sbllt/Break Total         21.S9                   $205,11          $.00       $.00       s.oo      s.oo
                           !lPil                                 Job Total         21.59                   $2,05.11         s.oo       S.00       s.oo      s.oo
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Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 124 of
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 ...     CONSULTORA LATIN...                                    21 .76                   21 .76 $       11.50 $             250.24
         AJ ·Y OUR FINGRTIPS 81                                  30.8                      30.8 $       11 .00 $            338.80
         D   & V Gl!Nl!RAL Sl!RVICl!S                           13.26                    13.26 $        10.00 $             132.60
       '/ ARMA,S NORKYANITI                                      2.56                      2.56 $       12.00 $              30.72
          C:JlR1111UHl:W.. VANl!. SA              . 1 ••        ··•·Mu:   ,/•~~~~. l~,a,-~V.!ftJ: ~      tlt.¾!1l :~ ~i~
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          CASTRO ALEXANDER                                       9.83                     9.83 $        10.00 $              98.30
          CHAVl!Z ERIK                                          20.86                    20.86 $         5.54 $            115.56
          CORTl!ZLUIS                                           21 .59                   21 .59 $       10.50 $            226.70
          YONATHAN                                               13.8                     13.8 $         8.54 $            117.85
          JAIME DIAZ                                             5.21                     5.21 $         8.54       $       44.49
          GERARDO F. (BARTENDl!R)                               27.16                   27.16 $          8.54 $            231 .95
          Gl!RARDO F. (Sl!RVER)                                  4.98                     4.98 $         5.54 $             27.59
          GUSTAVOFERNANDl!Z                                     28.52                   28.52 $        10.00 $            285.20
             JOSI! Hl!RNANDl!Z                                  18.66                   18.66 $         8.54 $            159.36
             ROGE,t LAHOUD                                      20.03                   20.03 $         8.54 $            171.06
                                                                27.01                   27.01 $        10.00 $            270.10
             Ml!JIA.81MANUEL                                     9.58                     9.58 $       11.00    $         105.38
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             MORENO IDl!LFONSO                                   18.6                     18.6 $        5.54 $            103.04
             MIGUl!L NAVA                                       10.15                   10.15 $         5.54 $             56.23
             Pl!Rl!Z PEDRO                                      16.31                   16.31 $        13.00 $           212.03

             PROENZA AUGUSTO                                    21 .03                  21 .03 $        5.54 $           116.51
             RETI! EMMANUEL                                     22.23                   22.23 $        18.00 $           400.14

             RODRIGUEZ ELENA                                     8.17                    8.17 $        11 .00 $           89.87
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             ROMERO JOSI!                                       21 .51                  21 .51 $        8 .54   $        183.70

              SANCHEZ ANGl!L                                    23.6~                   23.63 $        17.00 $           401 .71
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        Case 1:20-cv-22603-JG Document 98-7 Entered on FLSD Docket 02/11/2022 Page 125 of
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                                       128
                       Compa~ Code                Loe/Dept    Number Pa~e                        Earnings Statement
                       RA/46 22303671             011         3854380101
                       Grill Enterprises LLC
                       1450 Brickell Ave Suite     2080                                          Period Starting:      05/15/2020
                       Miami, FL 33131                                                           Period Ending :       05/28/2020
                                                                                                 Pay Date:             05/29/2020




                 Taxable Marital Status:       Single
                 Exemptions/Allowances:           Tax Override:                                              Erik Chavez
                      Federal :   0                  Federal :
                       State:     0                  State:                                                  2130 SW 122Ave
                       Local:     0                 local:                                                   Miami, Fl 33175
                 Social Security Number:       XXX-XX-XXXX



Earnings                       rate       hours/units             this period     year to date           Other Benefits and
                                                                                                         lnronnation                            this period   year to dais
Regular                    8.5600                21.25               181.90          181.90
Tipped hours                                                           0.00         2427. 21             Total Hours 1/\k>rked                       21.25        460.64
Cash Tips owed                                   0.00                211 . 44      11054. 59

                  Gross Pay                                         S393.34       $13,663.70
                                                                                                         Deposits
                                                                                                         account number                        transit/ASA        amount

                        Statutory Deductions                      this period     year to date           XXXXXX0207                           xxxxxxxxx            338. 53
                        Federal Income                                - 24 . 72      1707.24
                        Social Security                               - 24.39         847.15
                        Medicare                                        -5 . 70       198.12

                        Net Pay                                     $338.53




                                                                                                        Your federal taxable wages this period are $393,34




                  Grill Enterprises LLC
                  1450 Brickell Ave Suite 2080
                  Miami, FL 33131
                                                                                                 Pay Date:                       05/29/2020



                  De    ited to the account                                                                                                                   amount
                  Checking DirectDeposit                                                                                                                      338.S3




                                  Erik Chavez
                                  2130 SW 122Ave
                                  Miami, FL 33175
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                   PM                   PM
        42574      S/27/2020 3:53:SS PM S/27/2rt1.0 8:39:36 PM            4.76       S9.50
                                                                                                                                  s.oo          $.00               $.00
                   S/27/1810 3:53:SS        5/l7/l020 8:39°:36            4.76                 $4S.23             S.00
                   PM                       PM
                                                                                               $311.94            s.oo            $.00          $.00               s.oo
                                              Shift/Break Total          32.84
                                                                                               $311.94            $.00            $.(HI         s.oo               $.00
                                                       Job Total         32.84
                                                 Employee Total          32.84                 $311.94            s.oo            s.oo          s.oo               $.00
         CHAVEZ, ERIK                                                Payroll ID:
             Server
                 Shifts
        42320       S/15/2020 12:39:32      5/15/2020 7:17:00 PM          6.62       $1.00
                    PM
                    Sll5Jlll0 12:39:32
                    PM
                                            5115/2020 '7:17:00            6.62                   56.62            s.oo            s.oo          S.00                $.00
                                            PM
        42441       S/21flrtl.O II :02:29   Sfll/2020 4:40:03 PM          5.63       Sl.00
                    AM
                    S/1111020 11:02:29      SJ2l/2020 4:411:03             S.63                  $5.63             S.00         $60,71        $60.71        $464.SO
                    AM                   PM
        42449       S121/2020 4:40:38 PM S/21/2020 4:41 :42 PM              .02       $1.00
                    Sfll/20214:40:38
                    PM
                                            5111/2020 4:41:42
                                            PM
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        42453       S/21/2020 9:40:17 PM S/21/2020 9:-40:41 PM              .01       $1.00
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        42467       S/l212020 II: 13:02      5/22/2020 4:08:14 PM          4.92       $1.00
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        42490       5/23/2020 1:OS:29 PM S/23/2020 5:09: 11 PM             4.06       $1.00
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                    PM                       PM                                                                                                $62.00 $S13.20
                                               Shift/Break Total          21.26                  $11.26            S.00         5246.:Sl      $246.52 S1,721.S
                                                         Job Total        21.26                  S21..26            $.00        S246.52       5246.S2 Sl,721.S
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         CORTES, LUIS                                                 Payroll ID:
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                     First Data                                                                                                                    Page 6 of 21
                      Case 1:20-cv-22603-JG Document 98-7- ..Entered
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                                                     ALEJANDRO C CHEF         25.82   30.14  55.96                                                                 ·16.00    $    895.36 '
                                                     MANUEL BRAVO                15   23.27  38.27                                                                  11.50    $    440.11
                                                     CASTRO ALEXANDER         17.55    15,29 32.84                                         I                        10.00    $    328.40
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                                                     CORTEZ LUIS              37.42   19.62  57.04                                                                  10.50    $    598.92
                                                     YONATHAN                12.34    26.57  38.91                                                                   8.54    s·   332.29           ·ro~
                                                     JAIME DIAZ              26.87         0 26.87                                                                   8.54    $    229.47            '10          I


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                                                     LLAMERA AIDA                                                                  23.45       31.31               11.00     $          602.36
                                                     FRANK LOPEZ                                                                    31.5       37;35               10:00     $          688.60    . -...        II
                                                     MEJIAS MANUEL                                                                 27.15        19.84              11.00     $          516.89    ~~--~)
                                                     MORENO IDELFONSO                                                              21.98         14.3               5.54     $          200.99    .!.~'·~
                                                     MIGUEL NAVA                                                                   18.67        16.24               5.54     $          193.40     i~:t~6
                                                     PEREZ PEDRO                                                                    27.8       .37.21              13.00     $          845.13
                                                     PROENZA AUGUSTO                                                                5.92        19.02               5.54     s          138.17    :1-1, . ~
                                                     RETI! EMMANUEL                                                                22.14       '34.98              1e:oo     $        1 028.16
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